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  1                     UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
  2                         FORT MYERS DIVISION

  3   UNITED STATES OF AMERICA,    )                Fort Myers, Florida
                                   )
  4                                )                No. 2:15-cr-149-FtM-38MRM
      Plaintiff,                   )
  5                                )
                  vs.              )                April 6, 2016
  6                                )
      NORRIS WILLIAMS,             )                8:30 a.m. to 4:41 p.m.
  7                                )
                                   )                Courtroom 5D
  8   Defendant.                   )
      _____________________________)                Volume 1 of 3
  9

 10                 TRANSCRIPT OF JURY TRIAL - DAY 1
              BEFORE THE HONORABLE SHERI POLSTER CHAPPELL
 11                   UNITED STATES DISTRICT JUDGE

 12
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 24
      (Proceedings reported by Stenotype; Transcript produced
 25   by computer-aided transcription.)



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  1                  * * * P R O C E E D I N G S * * *

  2               COURTROOM DEPUTY:              Calling case

  3   2:15-cr-149-FTM-38MRM, United States of America versus

  4   Norris Williams.

  5               MR. SCHMITZ:          Good morning, Your Honor,

  6   Charles Schmitz representing the United States.

  7               MR. JOFFE:        Your Honor, good morning, David

  8   Joffe on behalf of Norris Williams who is present

  9   before the Court.

 10               THE COURT:        We have more or less a final

 11   pretrial conference scheduled for this morning just to

 12   go over a few things in regard to the case.                           I have

 13   received the witness list from the government, voir

 14   dire questions, proposed jury instructions, proposed

 15   verdict form.     Mr. Joffe, I believe you indicated you

 16   had no additional witnesses other than those listed by

 17   the government?

 18               MR. JOFFE:        That's correct, Your Honor.

 19               THE COURT:        And no objection to the voir dire

 20   questions that the government submitted, as well as the

 21   verdict form.

 22               MR. JOFFE:        That's correct, Your Honor.

 23               THE COURT:        We'll go through the verdict form

 24   and the proposed jury instructions at a later time.                            I

 25   don't believe there were any other -- any motions in



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  1   limine that were filed; is that correct?

  2               MR. SCHMITZ:          That's correct, Your Honor.

  3               MR. JOFFE:        That's correct, Your Honor.

  4               THE COURT:        And there are no stipulations

  5   that the Court has to concern itself with at this time?

  6               MR. SCHMITZ:          That's also correct, Your

  7   Honor.

  8               MR. JOFFE:        That's correct, Your Honor.

  9               THE COURT:        The trial is still supposed to

 10   last probably throughout this week, so if I tell the

 11   jurors two to three days, is that --

 12               MR. SCHMITZ:          Yes, Your Honor.

 13               MR. JOFFE:        That sounds right, Your Honor.

 14               THE COURT:        All right.            So I'll indicate to

 15   them today, tomorrow, and Friday.                     Obviously this is a

 16   criminal case.      Mr. Williams has been indicted on a

 17   four-count indictment.            If you want to look at the

 18   screen, I have Count 1 and Count 2 on this slide and

 19   then the other two counts on the next slide.                          So if you

 20   want to look to make sure that this is accurate.

 21               MR. JOFFE:        It appears to be, Your Honor.

 22               MR. SCHMITZ:          Yes, Your Honor.

 23               THE COURT:        Counts 3 and 4 on the next slide.

 24               MR. JOFFE:        It appears to be accurate, Your

 25   Honor.



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  1               MR. SCHMITZ:          Yes, Your Honor, that's

  2   accurate.

  3               THE COURT:        All right.            It doesn't appear

  4   that there's going to be any interruptions in the

  5   trial, so we'll go straight through, through Friday or

  6   whenever the jury would get the case.                        Counts in the

  7   indictment we've reviewed based upon the slide.                        It's

  8   my understanding that there's not going to be an issue

  9   with the forfeiture.          At this point we're not

 10   discussing anything with the forfeiture during the

 11   course of the trial; correct?

 12               MR. SCHMITZ:          That's correct, Your Honor, we

 13   have redacted that from the indictment.

 14               MR. JOFFE:        That is correct, Your Honor.

 15               THE COURT:        All right.            Both parties have

 16   been with the Court for voir dire examination, you'll

 17   get brief follow-up questions after the Court has asked

 18   the voir dire questions.             Any objection to the jurors

 19   taking notes?

 20               MR. SCHMITZ:          No objection, Your Honor.

 21               MR. JOFFE:        No, Your Honor.

 22               THE COURT:        All right.            Mr. Joffe, would you

 23   like the defendant not testifying preliminary

 24   instruction?

 25               MR. JOFFE:        Yes, Your Honor.



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  1               THE COURT:        Okay.        I have received, I

  2   believe, the government's electronic exhibit binder.

  3   Any joint exhibits?

  4               MR. SCHMITZ:          No, Your Honor.

  5               MR. JOFFE:        No, Your Honor.

  6               THE COURT:        Okay.        How long does the

  7   government need for its opening statement?

  8               MR. SCHMITZ:          15 minutes, Your Honor.

  9               THE COURT:        Mr. Joffe?

 10               MR. JOFFE:        That's sufficient, Your Honor.

 11               THE COURT:        All right.            I don't believe we

 12   need interpreters for any of the witnesses, unless

 13   something has changed.            It doesn't seem that we do.

 14   Any other issues we need to discuss then that we have

 15   not discussed?

 16               MR. SCHMITZ:          Your Honor, just a couple

 17   issues here.     In terms of, I wanted to inform the Court

 18   and opposing counsel that we have made some redactions.

 19   The first one I want to tell the Court about was -- the

 20   backstory is the first three counts in the indictment

 21   were controlled purchases from the defendant in this

 22   case.   There was actually a controlled purchase that

 23   occurred before the first count in the indictment.

 24   During that transaction, the defendant fronted some

 25   drugs to the undercover.             During the first charged



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  1   transaction in November, the undercover paid

  2   essentially for the drugs he was fronted.                             There's

  3   reference to that.

  4                We have actually redacted out a portion of

  5   the transcript that refers to the previous deal.                                We

  6   don't believe the previous deal is relevant, and it may

  7   well be prejudicial.          But we've redacted that out.

  8   Now, I intend to ask the witness if the transcript is

  9   true and accurate.         I've instructed the witness not to

 10   say that the transcript has been redacted, and I just

 11   wanted to front that issue to the Court and to defense

 12   counsel, just in case there was any objection to that.

 13               THE COURT:        Mr. Joffe?

 14               MR. JOFFE:        I'm sorry, Your Honor.

 15               THE COURT:        Sure.        Go ahead.

 16               MR. JOFFE:        Your Honor, I would agree with

 17   the government's assessment.

 18               THE COURT:        All right.            Then maybe prior to

 19   when we're going to play that particular excerpt, if

 20   you want to even just show Mr. Joffe just so it's

 21   clear.    But it sounds like there should be no objection

 22   to that being redacted because clearly that could be

 23   prejudicial to the defendant.

 24               MR. SCHMITZ:          Right.        And we have disclosed

 25   the transcript in its redacted form to defense counsel



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  1   before today.

  2               THE COURT:        Okay.        Thank you.

  3               MR. SCHMITZ:          In addition, there's an

  4   additional redaction.           During the Count 4 there were

  5   several -- first there was a meeting at the wing house,

  6   then there was a flash, and then there are a bunch of

  7   telephone calls.       On one of these telephone calls, the

  8   defendant mentioned something about doing something

  9   with his bail bondsman.             We have redacted that

 10   transcript as well to eliminate the reference to his

 11   bail bondsman.

 12               THE COURT:        Okay.

 13               MR. SCHMITZ:          So the same thing, we wanted to

 14   front that to the Court and to defense counsel just in

 15   case there's any objection now, and we have also

 16   instructed the witness not to mention that redaction

 17   when we ask him if the transcript is a true and

 18   accurate transcription.

 19               THE COURT:        Mr. Joffe, any objection to that?

 20               MR. JOFFE:        No, Your Honor.

 21               THE COURT:        Clearly that would also be

 22   prejudicial to the defendant, so that should be

 23   redacted.

 24               MR. SCHMITZ:          Okay.        And then one last

 25   matter -- or I guess two last matters.                         I believe the



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   1   Court is going to go over the verdict form, and we'll

   2   discuss the verdict form at a later date.                             We filed an

   3   amended verdict form.           In addition, we just wanted to

   4   note up front that the government proposed the

   5   entrapment instruction in its proposed jury

   6   instructions.     We don't believe that jury instruction

   7   should be given here.           We'll make the argument when the

   8   time is appropriate that it should not be given here.

   9   We want to front the issue that we do not believe that

  10   that entrapment instruction is warranted under the law

  11   or the facts.

  12               THE COURT:        Okay.        All right.            And that will

  13   be something we will have a charge conference, and if

  14   the facts appear to support that, then the Court will

  15   give it.    If not, then the Court will not give that

  16   instruction.     Certainly I'll listen to arguments of

  17   both counsel prior to that time.

  18               MR. SCHMITZ:          One more issue, Your Honor,

  19   agent Mark Strang from the DEA, we intend to have him

  20   at counsel table, notwithstanding whether or not the

  21   rule is invoked here.

  22               THE COURT:        All right.            Mr. Joffe, any

  23   objection as he is the case agent?

  24               MR. JOFFE:        I think the rules allow him to be

  25   present, Your Honor.



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   1                THE COURT:       They do.          All right.            Thank you.

   2   Any other issues from the government?

   3                MR. SCHMITZ:         Your Honor, we have copies of

   4   the redacted indictment.             May I approach and provide

   5   those to the Court?

   6                THE COURT:       Yes, thank you.

   7                And that will go back with the jury,

   8   obviously.    If we get to that point, the redacted

   9   indictment goes back with the jury instructions and the

  10   verdict form.

  11                MR. SCHMITZ:         Your Honor, may we explain the

  12   redactions for the Court and for the record?

  13                THE COURT:       Yes.

  14                MR. SCHMITZ:         Assistant United States

  15   Attorney David Lazarus, who is also assigned to this

  16   case, has joined me at counsel table, as well as Mark

  17   Strang from the DEA.

  18                MR. LAZARUS:         Good morning, Your Honor, if I

  19   may.   I prepared the redactions of this.                         What I did

  20   was I took Document 12, which is the filed indictment

  21   here, and at the top of each page ordinarily to the

  22   right of the date that says filed 10/28/15 there are

  23   some unique identifiers that give away the number of

  24   pages, basically, so I redacted those just for

  25   continuity on every page.              And then more in terms of



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   1   substance what I did was there had been a page

   2   containing forfeiture allegations, I took that page

   3   out.    There was some -- the forfeiture allegations that

   4   spilled over onto the last page of the indictment, the

   5   page with the foreperson and the United States

   6   Attorney's Office signatures, so I just redacted that

   7   in white, so it does not, at least in my opinion, even

   8   appear as though anything has been redacted.

   9               It was only a few lines on that page, so it

  10   doesn't look odd to my eye, anyway.                      And certainly

  11   counsel is free to weigh in if he sees it differently.

  12   But it doesn't look like a redacted indictment, that's

  13   what I tried to do.

  14               On the last page which contains the

  15   violations listed, right now the last violation is 21

  16   U.S.C. Section 846.          Immediately below that was the

  17   section for the forfeiture, and so I redacted that as

  18   well.    In looking at this now I see on the first page

  19   it does still say 21853 forfeiture on the very first

  20   page.    We don't intend to make reference to that.                      We

  21   can either redact it before it goes back, if the Court

  22   prefers, or proceed however anybody would like.                       It's

  23   easy enough to redact that before the jury gets this,

  24   if that's the Court's preference.

  25               THE COURT:        Mr. Joffe, do you have a



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   1   preference?

   2               MR. JOFFE:        Your Honor, I've reviewed the

   3   redacted indictment.          It appears to be sufficient.               I

   4   would just ask that the portion that references

   5   forfeiture on the top be removed before it goes to the

   6   jury, but we have some time for that.

   7               THE COURT:        Then, Mr. Lazarus, if you would

   8   go ahead and take that provision off under the case

   9   number, everything else appears to be good.

  10               MR. LAZARUS:          And I'll circulate additional

  11   copies to everybody.

  12               THE COURT:        Okay.        Perfect.          Anything else

  13   that we need to discuss from the government's

  14   standpoint?

  15               MR. LAZARUS:          Nothing more from the

  16   government, Your Honor.

  17               THE COURT:        Mr. Joffe, anything from the

  18   defense?

  19               MR. JOFFE:        Your Honor, I think for purposes

  20   of the appellate record I should reraise my issue of my

  21   request for a continuance based on the government's

  22   late notice of filing its expert witness notice.                       The

  23   Court has already ruled on that, but I'll reraise that

  24   issue.

  25               THE COURT:        All right.            The Court took note



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   1   of the defense objection, the government filed a

   2   response.    The Court is in agreement with the

   3   government's response that these witnesses were not

   4   surprise witnesses, they had been listed on the witness

   5   list based upon what the government indicated they were

   6   going to elicit from the officers, it does not appear

   7   that that was expert testimony, and, therefore, the

   8   Court did not find that a continuance was warranted

   9   under the circumstances, so that would be denied.

  10               Mr. Williams, let me just advise you that

  11   during the course of the voir dire examination, after

  12   the Court does the voir dire examination, counsel is

  13   going to have an opportunity to do follow-up

  14   questioning.     Then after that we'll have an opportunity

  15   to do any challenges, either challenges for cause or

  16   peremptory challenges because you just don't want a

  17   certain person on the jury.                You have an opportunity,

  18   if you would like, to come up to sidebar with your

  19   attorney to exercise those challenges, but you don't

  20   have to.    Certainly he's going to discuss with you who

  21   you think you want on your jury versus who you don't

  22   want, so you can either let him come to sidebar and

  23   make that determination further.                    He is welcome to come

  24   back and forth to counsel table if you want to stay

  25   there, or you can come up for the sidebar of voir dire



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   1   challenges.     It's up to you.

   2                THE DEFENDANT:           All right, ma'am.

   3                THE COURT:       We'll wait for the jury to come

   4   up, unless someone has anything else.

   5                MR. JOFFE:       Nothing further from the defense,

   6   Your Honor.

   7                THE COURT:       We'll be in recess until the

   8   jurors come up.      It should be about 9:00 hopefully.

   9                (A break was taken.)

  10                THE COURT:       Let me just ask one more

  11   question.     Mr. Schmitz, were there any plea offers that

  12   were extended to the defendant in this case?

  13                MR. SCHMITZ:         Your Honor --

  14                THE COURT:       I know you took over for another

  15   counsel.

  16                MR. SCHMITZ:         Right.        Perhaps the defense

  17   attorney could speak to this.

  18                THE COURT:       Did you extend any offers to the

  19   defendant?

  20                MR. SCHMITZ:         No, Your Honor, and none that

  21   I'm aware of, but like I said, I inherited this case

  22   about two weeks ago.

  23                THE COURT:       Mr. Joffe?

  24                MR. JOFFE:       Yes, Your Honor.                 Throughout the

  25   course of my appointment in this case, I had discussed



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   1   with my client the amount of heroin that he believed he

   2   was responsible for.          Mr. Williams' position is, or

   3   it's the position of the defense that we're responsible

   4   for half a kilo or less of heroin, no more than half a

   5   kilo of cocaine.       I have discussed that with AUSA

   6   Robert Barclift.       Mr. Barclift, he was I guess amenable

   7   to my position, went to Mr. Casas for permission,

   8   Mr. Casas said, no, that if Mr. Williams wanted to

   9   plea, he would have to plea to the entire amount and

  10   that we could argue the amount at sentencing.

  11               I discussed that with Mr. Williams at least

  12   twice if not three times, and it was our position that

  13   if Mr. Williams pleas to what's in the indictment that

  14   he's locked into an amount, and it makes it very

  15   difficult for sentencing purposes to argue that it

  16   theoretically should be less.

  17               I think in the vein of trying to work it out,

  18   Mr. Barclift created the jury instructions with an

  19   entrapment instruction, as well as with the amounts of

  20   heroin that the government may or may not be able to

  21   prove, so that's where we are.                  I discussed that with

  22   Mr. Williams, and Mr. Williams' position was I'm not

  23   going to plea to a full kilo of heroin, so that's where

  24   we are.   And really the only issue at trial for us,

  25   well, one of the issues is the amount.



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   1               THE COURT:        Understood.             And, Mr. Williams;

   2   that's correct?

   3               THE DEFENDANT:            Yes.

   4               THE COURT:        You've had those discussions with

   5   your counsel and you feel comfortable and confident

   6   that you wish to go to trial in this case?

   7               THE DEFENDANT:            If they would have gave me

   8   the plea, I would have pled out.

   9               THE COURT:        All right.            But you do have a

  10   dispute with the amount, so it's your choice to go to

  11   trial and make them prove the amount?

  12               THE DEFENDANT:            Yes, they kept pushing more

  13   drugs on me.

  14               THE COURT:        Okay.        Just wanted to make sure

  15   that you were extended whatever offers or no offer at

  16   all; just so that you've made an informed decision to

  17   go to trial and it appears that you have.                             So that's

  18   where my question was going.

  19               MR. SCHMITZ:          Your Honor, I have a corrected

  20   redacted indictment.          May I approach?

  21               THE COURT:        Yes, you may.              Thank you.

  22               MR. LAZARUS:          Just for the record, I took out

  23   the one reference to forfeiture that I had

  24   inadvertently left in the caption on the first page.

  25   The rest of the redaction is exactly as stated a few



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   1   minutes ago.

   2                MR. JOFFE:       I've received that, Your Honor,

   3   and it appears correct.             Thank you.

   4                MR. SCHMITZ:         Your Honor, one more just minor

   5   housekeeping issue that I want to make the Court aware

   6   of.     We have three chemists that are going to testify

   7   in this case, they're coming from Miami, they are going

   8   to be here at 12:00.          If for some miraculous reason we

   9   get to them before 12:00 I want to let the Court know

  10   that.     I don't see that happening, but just so the

  11   Court is aware, as of 12:00 or 1:00 at the latest we

  12   will have all of our witnesses here.

  13                THE COURT:       All right.            I would anticipate

  14   that voir dire examination will be concluded right

  15   around that time, lunchtime, and we'll take our lunch

  16   break, and then go from there.                  Or if anything we'll

  17   get openings before lunch, but that hasn't been my

  18   experience so far.

  19                MR. SCHMITZ:         Your Honor, a couple questions

  20   before the jury comes in.              In terms of strikes, is it

  21   ten and six and the Court's, again, the Court's

  22   position on back striking?

  23                THE COURT:       Yes, it is ten and six, and I

  24   allow very limited back striking, so if we get through

  25   the first panel and you've kind of selected those



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   1   jurors, unless they say something during the second

   2   round of selection that throws you off in some way,

   3   then I would entertain a back strike, but otherwise if

   4   you've kind of accepted them during the first round,

   5   you've accepted them.

   6                MR. SCHMITZ:         Thank you.

   7                THE COURT:       Does that make sense?

   8                MR. JOFFE:       Your Honor, I see page 3 of 6 of

   9   the names of the potential jurors, number 26, Benjamin

  10   Eugene Crotteau, so I don't know if they're related to

  11   Ronald Francis Crotteau.             It's an unusual name.

  12                THE COURT:       I guess we'll see.                  He's not in

  13   the first round.

  14                MR. JOFFE:       Okay.        Very good.

  15                THE COURT:       We'll go ahead and bring the

  16   jurors in.

  17                (Potential jury in at 9:10 a.m.)

  18                THE COURT:       Good morning, ladies and

  19   gentlemen.     My name is Judge Chappell, and I'm a

  20   district court judge here in the Middle District of

  21   Florida.     On behalf of the judges here in the middle

  22   district, I do want to thank you for being here with us

  23   today.     We do appreciate your presence and we're fully

  24   aware that many of you would probably much rather be

  25   somewhere else than with us here today.                         But we do



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   1   appreciate that you're here.                 We understand that jury

   2   service is not always convenient, but I hope that

   3   you'll realize that the service you perform is

   4   extremely important.          One of our most cherished

   5   constitutional rights that we have is the right to a

   6   trial by a jury, so if you or I or anyone else becomes

   7   involved in a criminal case, we have an absolute right

   8   to have the charge heard and decided by a jury, a

   9   completely impartial group of our fellow citizens.                         I

  10   hope that when you finish your jury service that you

  11   will have had an interesting, a challenging, and an

  12   informative experience, as well as the satisfaction

  13   that comes with a job well done.

  14                I would like to give you a brief overview of

  15   the jury selection process that we're going to go

  16   through here.     Madam clerk, has the jury been generally

  17   qualified?

  18                CLERK:    Yes, Your Honor.

  19                THE COURT:       All right.            Thank you.        Each of

  20   you have been found to have the requisite

  21   qualifications to serve as a juror of this court.                         No

  22   one should avoid fulfilling that obligation, except for

  23   the most pressing of circumstances.                      The demand upon

  24   your time for this jury duty will not be unreasonable

  25   or unduly prolonged.          Every effort will be made to see



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   1   that your time is not wasted.

   2               You have been placed in random order, and 24

   3   of you have been seated here in the jury box.                         You've

   4   been placed under oath, and I'll ask those of you in

   5   the jury box a series of questions as to your

   6   qualifications to serve as a juror in this particular

   7   type of case.     Voir dire means to speak the truth, and

   8   under your oath as a prospective juror, you agree to

   9   truthfully answer questions concerning your

  10   qualifications.      Please understand that this

  11   questioning is not for the purpose of prying into your

  12   personal affairs, but it's only for the purpose of

  13   determining if your decision in this case would in any

  14   way be influenced by opinions which you now hold or by

  15   some personal experience or special knowledge which you

  16   may have concerning the subject matter to be tried.

  17   The object of the jury selection is to get a jury which

  18   will impartially try the issues in this case upon the

  19   evidence and the law presented in this courtroom,

  20   without being influenced by any other factors.

  21               Now, a certain number of jurors will be

  22   excused, and if you are excused, please do not be

  23   offended or feel that your honesty or your integrity is

  24   being questioned in any way.                 It's simply part of the

  25   jury selection process.             The purpose of the questioning



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   1   is to make sure that those finally selected to sit on

   2   the jury are the most impartial persons available in

   3   relation to the issues being tried in this case.                            Those

   4   of you not seated in the jury box should listen

   5   carefully to the questions as well because in my

   6   experience many of you will find yourselves up in the

   7   jury box being questioned at a later time.                            So please

   8   listen carefully to the questions as well.

   9               When I finish with my voir dire examination,

  10   the attorneys will be allowed to ask brief follow-up

  11   questions, and then when the questioning is completed,

  12   the attorneys will be given a chance to review their

  13   notes and will approach sidebar to exercise any

  14   challenges they may have as to individual jurors.                            The

  15   attorneys do have a right to excuse a certain number of

  16   jurors for any reason that they think is appropriate,

  17   so, again, if you should happen to be excused, please

  18   don't take that personally; it's part of the selection

  19   process.

  20               If you're selected and seated on this jury,

  21   you'll normally be expected to be here around 9:00 in

  22   the morning, we'll take a morning break, a lunch break,

  23   and then one break in the afternoon.                       Usually we

  24   conclude around 5:00.           The only exception to that is if

  25   at some point you're given the case to deliberate, then



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   1   you may be asked to stay a little bit longer to

   2   deliberate on the case.             The attorneys expect the trial

   3   in this case to take between two and three days.

   4               All right.         At this time we're going to find

   5   out a little bit about each and every one of you, so

   6   you've been provided with a questionnaire, or if you

   7   would like to look at the screen, please stand and tell

   8   us a little bit about yourselves.                     Mr. Akrami, we're

   9   going to start with you, so if you would stand and tell

  10   us about yourself, please.

  11               POTENTIAL JUROR AKRAMI:                   Hello.          Jason

  12   Akrami.   I have lived in Naples, Florida, I have lived

  13   there for about one year and a half, lived in Florida

  14   for about a year and a half.                 I'm a physician.                 Marital

  15   status, single.      No children.             Education is medical

  16   school, no military service.                 I have been sued in the

  17   past, but that was dismissed without prejudice.                                And no

  18   jury service in the past.

  19               THE COURT:        Okay.        What type of medicine do

  20   you practice?

  21               POTENTIAL JUROR AKRAMI:                   Neuroradiology.

  22               THE COURT:        Okay.        Thank you very much.

  23               Mr. Wynne.

  24               POTENTIAL JUROR WYNNE:                  My name is Randy

  25   Wynne, I'm from Bonita Springs, Florida, been there for



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   1   five years, been in Florida for 40.                      I'm in the office

   2   equipment sales business, and divorced.                         No children,

   3   some college, no military, no court and no jury.

   4               THE COURT:        What did your wife do prior to

   5   your divorce?

   6               POTENTIAL JUROR WYNNE:                  Real estate.

   7               THE COURT:        Okay.        Thank you very much.

   8               Mr. Stevens.

   9               POTENTIAL JUROR STEVENS:                    Bruce Stevens, I

  10   live in Naples, Florida.             I have lived there for three

  11   years and I have lived in Florida for three years.                         I'm

  12   a dentist and a managing partner of multiple Dairy

  13   Queens.   I'm married and she's a retired homemaker.                           We

  14   have three children, a 34-year-old daughter who is a

  15   dentist, 30-year-old son who is an engineer, a

  16   28-year-old son who is a teacher.                     Dental school, DDS,

  17   no military service, no court experience, and no jury

  18   experience.

  19               THE COURT:        Okay.        Am I the only one that may

  20   see a conflict of interest between being a dentist and

  21   owning some Dairy Queens?

  22               POTENTIAL JUROR STEVENS:                    You are.

  23               THE COURT:        Ms. Squatrito.

  24               POTENTIAL JUROR SQUATRITO:                     Renee Squatrito,

  25   I live in Cape Coral, I've been there for 13 years,



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   1   I've been in Florida for 43 years.                     My husband and I

   2   own a martial arts school in Cape Coral.                          I am married.

   3   His day job he works for the post office.                             I have two

   4   children, 23-year-old, she's in banking and a

   5   20-year-old who is in automotive accessory

   6   installation.     High school graduate, never been in the

   7   military.    I have been in the court before for a

   8   divorce, and never been on a jury before.

   9               THE COURT:        All right.            Thank you very much.

  10               Ms. Galvan, can you tell us about yourself.

  11               PROSPECTIVE JUROR GALVAN:                    My name is Noelia

  12   Galvan, I live in Naples for four years now and I've

  13   been in Florida for 20 years.                 I'm a preschool teacher,

  14   and I'm married and my husband he works in

  15   construction.     I have two children, my daughter is 11

  16   and my son is 16, middle school and high school.                             First

  17   time -- I have no military and I have no court

  18   experience, and my first time on jury duty.

  19               THE COURT:        Thank you very much.                     Welcome.

  20               Mr. Clark, tell us about yourself.

  21               POTENTIAL JUROR CLARK:                  My name is Jeremy

  22   Clark, I'm from Arcadia, Florida, I was born and raised

  23   there, so I've been there all of my life, which is

  24   23 years.    My occupation is an order selector for a

  25   warehouse, and I'm also a retail data auditor for chain



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   1   stores.     I'm single.       I have one daughter, she's five

   2   years old.     My highest level of education is high

   3   school.     I have no military service, no court

   4   experience, and no jury service.

   5                THE COURT:       All right.            Thank you, Mr. Clark.

   6                We're going to pass the microphone down then

   7   to Ms. Kelly.

   8                POTENTIAL JUROR KELLY:                 My name is Michelle

   9   Kelly, I live in Lehigh Acres, Florida, I have lived

  10   there for eight and a half years, I have also lived in

  11   Florida for eight and a half years.                      I am a church

  12   administrator, I am married to a minister.                             We have two

  13   children, 12 and 14.          I have an associate's degree, I

  14   haven't served in the military, I have no previous

  15   court experience, and I have not had any jury service.

  16                THE COURT:       All right.            Thank you, Mr. Kelly.

  17                Mr. Everling.

  18                POTENTIAL JUROR EVERLING:                   My name is Kenneth

  19   Everling.     I've been in Cape Coral for 22 years, been

  20   in Florida for 25 years.             I'm retired surveyor, I'm

  21   married, my wife is in retail management.                             We have no

  22   children, high school level education, no military

  23   service.     I was a defendant in reckless driving charge,

  24   and I've been called up to Lee County numerous times

  25   but never served on a jury.



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   1               THE COURT:        The reckless driving charge, did

   2   you go to trial on that case?

   3               POTENTIAL JUROR EVERLING:                    Yes.

   4               THE COURT:        Okay.        Thank you, Mr. Everling.

   5               Ms. Johnson.

   6               POTENTIAL JUROR JOHNSON:                    My name is

   7   Elizabeth Johnson.         I live in Bonita Springs, Florida,

   8   and I have lived there for 15 years, and I have lived

   9   in Florida for 15 years.             I'm in sales for a group of

  10   hotels.   I'm divorced, and I have two children, a son

  11   age 40 who is in property management and a daughter who

  12   is 37, and she's a wedding photographer.                          I was

  13   educated in England to college level.                         No military

  14   service, no previous court experience, and I did serve

  15   on a jury in October 2014 here in Fort Myers.

  16               THE COURT:        Was that in state court?

  17               POTENTIAL JUROR JOHNSON:                    Yes.

  18               THE COURT:        Criminal or a civil case?

  19               POTENTIAL JUROR JOHNSON:                    It was a criminal,

  20   and we did return a verdict.

  21               THE COURT:        All right.            Were you the

  22   foreperson?

  23               POTENTIAL JUROR JOHNSON:                    No.

  24               THE COURT:        All right.            And what did your

  25   husband do prior to the divorce?



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   1               POTENTIAL JUROR JOHNSON:                    He was an

   2   anesthesiologist technician.

   3               THE COURT:        All right.            Thank you.

   4               Mr. Schrader.

   5               POTENTIAL JUROR SCHRADER:                    I'm David

   6   Schrader, resident of Estero, Florida.                         We've been here

   7   now for three years, bought property.                        I'm retired.   I

   8   was a quality engineer with Ford for 23 years, with

   9   Mazda and we went after 147 suppliers to make sure all

  10   the data was correct, the product was correct.                         Marital

  11   status, yes, I'm married.              My wife is a homemaker and

  12   retired.    Education level I have an engineering degree

  13   from State in Michigan.             I was in the Air Force for

  14   four and a half years, honorably discharged, I am a

  15   40 percent disabled Vietnam vet.                    Previous court

  16   experience, I had a divorce and I have never served --

  17   yes, in Michigan I was up on a civil case up there and

  18   a verdict was not delivered.

  19               THE COURT:        All right.            In regard to the

  20   civil case, you'll probably hear -- well, I know you'll

  21   hear a different standard for this particular case

  22   because it is a criminal case.                  Will you be able to

  23   follow the difference between the case that you had in

  24   Michigan and this case?

  25               POTENTIAL JUROR SCHRADER:                    Oh, yes.



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   1               THE COURT:        Okay.        Thank you.

   2               Ms. Shade.

   3               POTENTIAL JUROR SHADE:                  Yes, my name is

   4   Debbie Shade, I am from Cape Coral, I have lived there

   5   for 15 years, 20 in Florida.                 I'm an account -- I'm

   6   sorry, I'm in the finance department, I'm an accounting

   7   clerk.   I'm single, I have two children, 13 and 6, both

   8   in school, no jobs.          High school education, I have

   9   never been in the military, no previous experience in

  10   court, but I was on a civil jury in '99 in Pennsylvania

  11   where it settled.

  12               THE COURT:        All right.            Thank you very much.

  13               Mr. Durfee.

  14               POTENTIAL JUROR DURFEE:                   My name is Dennis

  15   Durfee, I'm in Lehigh Acres, I lived there for

  16   12 years, lived in Florida for 12 years, I'm retired

  17   operating engineer.          Yes, I'm married.                 She was a

  18   supervisor in electronics.               I have two children, one is

  19   49, he's in automotive and sales, and my daughter is a

  20   supervisor for Comcast.             12th grade.            Yes, I have

  21   military experience.          I served on a jury and I was the

  22   foreman; that's about 30 years ago, 40 years ago.

  23               THE COURT:        Was that a civil or a criminal

  24   case?

  25               POTENTIAL JUROR DURFEE:                   Criminal case.



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   1                THE COURT:       Okay.        Thank you, Mr. Durfee.

   2                Ms. Shadaram, we'll pass the microphone to

   3   you.

   4                POTENTIAL JUROR SHADARAM:                   My name is Jeannie

   5   Shadaram, I live in Lehigh Acres, I've been there six

   6   years, moved to Florida six years ago.                         I am a 911

   7   dispatcher for fire and EMS here in Lee County, I am

   8   married, my husband is a semiretired computer

   9   programmer, business analyst.                 We have a combined

  10   family of seven children total.                   I have a 30-year-old

  11   daughter who is in Ohio and she's a psychiatric

  12   resident at Cleveland Clinic, 29-year-old stepdaughter

  13   who is a student, 26 and 25-year-old daughters who are

  14   both office administrators, 24-year-old son who is a

  15   student and we have two children at home that are nine

  16   and seven.    I have an associate's degree, no previous

  17   military experience.          I did divorce, and I also have a

  18   bankruptcy in '92.         And I have never been on a jury

  19   before.

  20                THE COURT:       Okay.        Thank you, Ms. Shadaram.

  21                Mr. Davis, tell us about yourself.

  22                POTENTIAL JUROR DAVIS:                 Good morning, my name

  23   is Christian Davis, I'm from Naples, Florida, lived

  24   there for 38 years, lived in Florida for 38 years.                          I

  25   am currently a construction manager, single.                          I have a



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   1   17-year-old daughter who is a high school student,

   2   although I wish she would get a job.                       I have a college

   3   degree, I am a U.S. Navy vet of submarines.                           And I was

   4   a defendant in a reckless driving case, and no prior

   5   jury duty experience.           Oh, and I was a witness in a

   6   civil case.

   7                THE COURT:       All right.            Did you actually

   8   testify in that civil case?

   9                POTENTIAL JUROR DAVIS:                 No.

  10                THE COURT:       Did you take the willful, wanton,

  11   and reckless driving charge to court?

  12                POTENTIAL JUROR DAVIS:                 No.

  13                THE COURT:       Okay.        And what is your college

  14   degree in?

  15                POTENTIAL JUROR DAVIS:                 Math.

  16                THE COURT:       Okay.        Thank you very much.

  17                Ms. Demello.

  18                POTENTIAL JUROR DEMELLO:                   Hi, my name is

  19   Kelly Demello, I live in Cape Coral, Florida.                           I have

  20   lived there for 15 years.              Lived in Florida 38.               My

  21   occupation is deputy clerk with Lee County Clerk of

  22   Courts.   I am married.           Married to a deputy sheriff for

  23   Lee County.    I have two children, one is 28, one is 30.

  24   My 28-year-old is customer service for Comcast, and my

  25   31-year-old is a shipping clerk for private.                           I do have



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   1   education to 12th grade, no military experience or no

   2   service at all.      Court experience, I did sue, oh, gosh,

   3   probably 15 years ago, but it didn't go to court.

   4   Okay.     I just served in county court as a juror, but I

   5   wasn't selected, in January.

   6                THE COURT:       Okay.        And what part of the

   7   clerk's office do you work in over.

   8                POTENTIAL JUROR DEMELLO:                   Criminal,

   9   misdemeanor, felony, traffic.

  10                THE COURT:       Do you go to court actually?

  11                POTENTIAL JUROR DEMELLO:                   No.

  12                THE COURT:       Okay.        So you're down in the

  13   clerk's office --

  14                POTENTIAL JUROR DEMELLO:                   Right.

  15                THE COURT:       -- looking through the files and

  16   things.

  17                POTENTIAL JUROR DEMELLO:                   Right.

  18                THE COURT:       Okay.        Thank you very much.

  19                POTENTIAL JUROR DEMELLO:                   You're welcome.

  20                THE COURT:       Ms. Mitchell.

  21                POTENTIAL JUROR MITCHELL:                   My name is Cheryl

  22   Mitchell, I live in Estero, Florida, I have lived there

  23   for three and a half years, I've been in Florida for

  24   14 years.     I'm currently retired, married, my husband

  25   is retired.     We have three children, 46, 44, 42.                   One



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   1   is a floor installer, one is a child care worker, and

   2   the other one is a consultant for the state board of

   3   education in Illinois.            I have a master's degree, I

   4   have no military experience, I have no court

   5   experience.     I previously served on a jury trial in the

   6   state of Illinois approximately 35 years ago.

   7               THE COURT:        Okay.        Let me ask you this, you

   8   said you and your husband are retired.                         What did you

   9   retire from?

  10               POTENTIAL JUROR MITCHELL:                    We're in the

  11   automotive industry.

  12               THE COURT:        Okay.        What did you get your

  13   master's in?

  14               POTENTIAL JUROR MITCHELL:                    Science

  15   technology.

  16               THE COURT:        And was it a civil or criminal

  17   case that you served on the jury?

  18               POTENTIAL JUROR MITCHELL:                    Civil.

  19               THE COURT:        Were you the foreperson of the

  20   jury?

  21               POTENTIAL JUROR MITCHELL:                    I think I was.       I

  22   can't remember.

  23               THE COURT:        It's been awhile back.

  24               POTENTIAL JUROR MITCHELL:                    Yes, it has.     A

  25   lot of years.



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   1                THE COURT:       All right.            I'll be instructing

   2   you on the burden of proof in this particular case,

   3   which is different from that in a civil case.                         Will you

   4   be able to follow those instructions?

   5                POTENTIAL JUROR MITCHELL:                   Yes, ma'am.

   6                THE COURT:       Okay.        Thank you.

   7                Ms. Dickens.

   8                POTENTIAL JUROR DICKENS:                   My name is Karen

   9   Dickens, I'm from North Fort Myers, Florida, but I have

  10   lived in Florida for 48 years.                  I'm unemployed

  11   presently.     I'm a former senior executive assistant, I

  12   am married to a building contractor.                       I have a

  13   33-year-old son who is a professional charter boat

  14   captain, and a 30-year-old daughter who is a nursing

  15   student.     I have an associate's degree, I have no

  16   military service, and I have been a plaintiff or I have

  17   sued someone in court, and I have no prior jury

  18   service.

  19                THE COURT:       All right.            Thank you.

  20                POTENTIAL JUROR STIDAM:                  My name is Kevin

  21   Stidam, I am in Lehigh Acres, been there three years,

  22   been in Florida seven and a half years, I'm a retail

  23   supervisor, I'm married, my spouse is in retail as

  24   well.   No children, high school education, no military.

  25   I was a witness in an auto accident case, and no jury.



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   1               THE COURT:        All right.            Thank you very much,

   2   Mr. Stidam.

   3               Ms. Beck.

   4               POTENTIAL JUROR BECK:                 My name is Sandra

   5   Beck, I live on Marco Island.

   6               THE COURT:        Could you speak up for us,

   7   please?

   8               POTENTIAL JUROR BECK:                 My name is Sandra

   9   Beck, I live on Marco Island, lived there for 30 years,

  10   been in Florida for 30 years.                 I am a waitress.        My

  11   marital status, I'm a widow.                 I have two children, a

  12   48-year-old son and a 40-year-old son -- 44-year-old

  13   son, excuse me, 48 and 44.               The 48-year-old is a chef,

  14   and the 44-year-old does things with computers.                       I'm a

  15   high school graduate, no military service, no

  16   experience as a witness, plaintiff, or defendant.                          A

  17   long time ago I was on a jury in Naples, but I really

  18   don't remember the particulars about it.

  19               THE COURT:        Okay.        What did your husband do,

  20   Ms. Beck?

  21               POTENTIAL JUROR BECK:                 Pardon me?

  22               THE COURT:        What did your husband do?

  23               POTENTIAL JUROR BECK:                 His last occupation

  24   was taxi driver.

  25               THE COURT:        Okay.        Thank you very much.



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   1               Mr. Bennett.

   2               POTENTIAL JUROR BENNETT:                    Hi, my name is Don

   3   Bennett.    I'm from Naples, Florida.                    I've been there

   4   16 years, lived in Florida 16 years.                       I'm a

   5   homebuilder.     I am married.             My wife is in property

   6   management.    I have one child, 24 years old, she's a

   7   pharmacy tech at Walgreens.                I graduated high school

   8   and a carpenter apprenticeship program.                         No military

   9   experience, did get divorced, and have not served on a

  10   jury.

  11               THE COURT:        All right.            Thank you,

  12   Mr. Bennett.

  13               Ms. Alonzi.

  14               POTENTIAL JUROR ALONZI:                   I'm Kim Alonzi, I

  15   live in Fort Myers, I've lived there for the whole

  16   20 years that I've been in Florida.                      I'm a pharmacist.

  17   I'm married to a teacher, we have no children, I have a

  18   bachelor's degree, never served in the military.                         I was

  19   a plaintiff against a veterinarian, and I have never

  20   served on a jury.

  21               THE COURT:        All right.            Thank you very much.

  22               Mr. Franklin.

  23               POTENTIAL JUROR FRANKLIN:                    Mark Franklin.       I

  24   live in Punta Gorda.          I have lived there 23 months,

  25   I've been in Florida 23 months.                   Occupation was retired



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   1   United States Air Force and Red Cross.                         Married, my

   2   wife is a paralegal.          I have two children, daughter 47,

   3   pharmaceutical rep, son, IT, 44.                    I have a two-year

   4   degree.   Yes, military.            No court, no jury.

   5                THE COURT:       Does your wife work in the civil

   6   or criminal field as a paralegal?

   7                POTENTIAL JUROR FRANKLIN:                   It would be

   8   personal injury.

   9                THE COURT:       Okay.        Civil.        Thank you.

  10                Mr. Hunter.

  11                POTENTIAL JUROR HUNTER:                  Hi, my name is

  12   Andrew Hunter, I live in Naples, Florida, been there

  13   for five years, lived in Florida for five years.                         I'm a

  14   restaurant chef.       I am married, my wife is a

  15   stay-at-home mother.          We have four children, ten, five,

  16   and two four-year-olds, none of them have jobs.                         I have

  17   an associate's degree.            I have no military service.                I

  18   was involved in one lawsuit that did not go to court.

  19                THE COURT:       Were you the plaintiff or the

  20   defendant?

  21                POTENTIAL JUROR HUNTER:                  I was the plaintiff.

  22                THE COURT:       Okay.

  23                POTENTIAL JUROR HUNTER:                  And I do not have

  24   any jury service.

  25                THE COURT:       All right.            Thank you,



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   1   Mr. Hunter.

   2               Mr. Boyd, could you tell us about yourself.

   3               POTENTIAL JUROR BOYD:                 It's my turn?

   4               THE COURT:        Yes, it is your turn.

   5               POTENTIAL JUROR BOYD:                 My name is Ronald Boyd

   6   Senior.   I live in Clewiston, Florida.                        I've lived

   7   there for 32 years, I've lived in the State of Florida

   8   for 52 years.     I am presently employed by the U.S. Army

   9   Corps of Engineers as a lock and dam operator leader,

  10   and I'm the one that releases the murky water from Lake

  11   Okeechobee.     I am married, been married for 42 years to

  12   the same woman.      My wife she's retired, she worked for

  13   the State of Florida, human resources.                         We have four

  14   children, the oldest one is a son, he's 40, he's a

  15   floorcovering salesperson.               Our 39-year-old, she's a

  16   schoolteacher in Orlando.              I have a 37-year-old son

  17   he's a FedEx driver.          I have a 32-year old, the baby,

  18   she's a part-time salesperson.                  I have the equivalent

  19   of two years of college.             I served in the U.S. Army, an

  20   honorable discharge.          Previous experience in court was

  21   a character witness back in 1979.                     I served on jury

  22   duty in West Palm Beach federal in the early '80s, and

  23   I served on jury duty in Hendry County in the mid '90s,

  24   and that's it.

  25               THE COURT:        All right.            And were those



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   1   criminal or civil cases?

   2               POTENTIAL JUROR HUNTER BOYD:                       One was civil

   3   and one was criminal.

   4               THE COURT:        Okay.        So you'll be able to

   5   follow the Court's instructions on the law in regard to

   6   this case and the burden of proof and the like?

   7               POTENTIAL JUROR BOYD:                 Yes, ma'am.

   8               THE COURT:        Okay.        Thank you very much,

   9   Mr. Boyd.

  10               In order for you to know the court personnel

  11   with whom you'll be dealing with, the courtroom deputy

  12   is Leslie Freedman, and as long as she doesn't give

  13   birth she'll be here for the rest of the trial.                           She is

  14   the Court's administrator in the courtroom.                           The court

  15   reporter is Lori Bundy, and she transcribes, takes down

  16   everything that is said in the courtroom, including the

  17   statements I'm making now, those that you've made, any

  18   questions, answers that come up during the course of

  19   the case.    The court security officer right now is

  20   Jake, but you'll be seeing a number of court security

  21   officers come in and out.              They enforce the Court's

  22   orders, they're in charge of the jury while away from

  23   the courtroom.      At any time if there's anything that

  24   you need, any questions you need answered, go ahead and

  25   ask those questions of the Court security officer.                           If



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   1   there's anything that you need to get information to

   2   me, please tell the court security officer, and then he

   3   will immediately give me whatever information I need in

   4   regard to that.

   5                This is a criminal case.                   It's the United

   6   States of America versus Norris Williams.                             It's Case

   7   Number 15-cr-149.        At this time I'm going to have the

   8   attorneys identify themselves to you.

   9                MR. SCHMITZ:         Thank you, Your Honor, my name

  10   is Charles Schmitz, I represent the United States.                                I'm

  11   Assistant United States Attorney in the U.S. Attorney's

  12   Office.

  13                MR. LAZARUS:         Good morning, Your Honor, good

  14   morning, ladies and gentlemen, my name is David

  15   Lazarus, I'm also an Assistant United States Attorney

  16   in the United States Attorney's Office, and I'm

  17   representing the United States.

  18                THE COURT:       If you would go ahead and

  19   introduce your case agent.

  20                MR. SCHMITZ:         Thank you, Your Honor, this is

  21   agent Mark Strang for the Drug Enforcement

  22   Administration.

  23                THE COURT:       All right.            Thank you very much.

  24   Mr. Joffe.

  25                MR. JOFFE:       Thank you, Your Honor.



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   1                Ladies and gentlemen, good morning, my name

   2   is David Joffe, and I represent Mr. Norris Williams who

   3   is seated to my right.            Thank you.

   4                THE COURT:       All right.            Thank you.        Are any

   5   of you related by blood or marriage to any of the

   6   attorneys?

   7                ALL JURORS:        No.

   8                THE COURT:       Do any of you know the Court?

   9   No.   All right.

  10                I will now read to you the pertinent portions

  11   of the indictment, which sets forth the charges against

  12   the defendant.      The indictment is not to be considered

  13   as evidence; it's a mere formal accusation against the

  14   defendant.    You must not consider it as evidence of the

  15   defendant's guilt, and you must not be influenced by

  16   the fact that the indictment has been filed against the

  17   defendant.    The indictment reads as follows:                        The grand

  18   jury charges in Count 1 that on or about November 18th

  19   of 2014 in Lee County in the Middle District of

  20   Florida, the defendant herein, Norris Williams, did

  21   knowingly possess with intent to distribute and

  22   distribute a quantity of a mixture or substance

  23   containing a detectable amount of heroin, a Schedule I

  24   controlled substance in violation of Title 21 United

  25   States Code sections 841(a)(1) and 841(b)(1)(c).



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   1               Count 2, on or about December 17th of 2014 in

   2   Lee County in the Middle District of Florida, the

   3   defendant herein, Norris Williams, did knowingly

   4   possess with intent to distribute and distribute a

   5   quantity of a mixture or substance containing a

   6   detectable amount of heroin, a Schedule I controlled

   7   substance, in violation of Title 21 United States Code

   8   Section 841(a)(1) and 841(b)(1)(c).

   9               Count 3, on or about February 11, 2015, in

  10   Lee County, in the Middle District of Florida, the

  11   defendant herein, Norris Williams, did knowingly

  12   possess with intent to distribute and distribute a

  13   quantity of a mixture or substance containing a

  14   deductible amount of heroin, a scheduled one controlled

  15   substance in violation of Title 21, United States Code,

  16   Section 841(a)(1) and 841(b)(1)(c).

  17               Count 4, on or about October 20th, 2015, in

  18   Lee County, in the Middle District of Florida, the

  19   defendant herein, Norris Williams, did knowingly

  20   attempt to possess with intent to distribute a kilogram

  21   or more of a quantity of a mixture or substance

  22   containing a detectable amount of heroin, a Schedule I

  23   control substance, in violation of Title 21 United

  24   States Code sections 841(a)(1), 841 (b)(1)(a)(1), and

  25   846.



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   1               The defendant denies the allegations and has

   2   entered a plea of not guilty to each of the counts

   3   contained within the indictment.

   4               Do any of you know anything about this case,

   5   either through your own personal knowledge or by

   6   discussions with anyone else or reading or hearing

   7   about this case in the news media?

   8               ALL JURORS:         No.

   9               THE COURT:        All right.            Thank you.        Is there

  10   anything about the nature of this case which would in

  11   any way prevent you from acting fairly or impartially?

  12   Obviously this is a case involving drugs, specifically

  13   heroin.   Is there anything about the nature of the case

  14   that would concern you, prevent you from acting fairly

  15   or impartially?

  16               Mr. Durfee.

  17               POTENTIAL JUROR DURFEE:                   Yes, ma'am.

  18               THE COURT:        Go ahead.           Tell me, if you can --

  19               POTENTIAL JUROR DURFEE:                   Well, my son has had

  20   problems with drugs, so I'd just assume not.

  21               THE COURT:        Would the fact that your son has

  22   had problems with drugs, you believe that would enter

  23   into your ability to be --

  24               POTENTIAL JUROR DURFEE:                   Yep.

  25               THE COURT:        -- fair or impartial in this



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   1   case?

   2                POTENTIAL JUROR DURFEE:                  Yes, ma'am.

   3                THE COURT:       Would that affect your ability to

   4   listen to the evidence as it came forward and follow

   5   the Court's instructions on the law?

   6                POTENTIAL JUROR DURFEE:                  I believe so.

   7                THE COURT:       Okay.        Thank you very much,

   8   Mr. Durfee.

   9                Anyone else?          I will now read to you the

  10   names of possible witnesses who may testify in this

  11   case.   If you know or think you know any of these

  12   individuals in any capacity, if you would just raise

  13   your hand after I've read the name.                      Samuel Gonzalez

  14   from the Lee County Sheriff's Office, Carlos Diaz, who

  15   is a senior forensic chemist, Deepa Vanmali, Alexandra

  16   Gongora, Victor Chica from the DEA, Mark Strang, Teresa

  17   Browning, Steve Duquette, Courtney Allen, Adam

  18   Heinlein, and Candice Petaccio, anyone recognize any of

  19   the names I just read?

  20                Do any of you know any of the other jurors on

  21   the panel?

  22                Have you or members of your family ever

  23   worked for the United States government?                          Okay.

  24   Mr. Boyd, you do; correct?

  25                POTENTIAL JUROR BOYD:                Yes, ma'am.



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   1               THE COURT:        Would the fact that you work for

   2   the government in any way enter into your ability to be

   3   fair or impartial in this case?

   4               POTENTIAL JUROR BOYD:                 No.

   5               THE COURT:        Okay.        Mr. Franklin, did you have

   6   your hand raised, too?

   7               POTENTIAL JUROR FRANKLIN:                    United States Air

   8   Force.

   9               THE COURT:        Okay.        Would that in any way

  10   affect your ability to be fair or impartial in this

  11   case?

  12               POTENTIAL JUROR FRANKLIN:                    No.

  13               THE COURT:        All right.            Anyone else?      All

  14   right.   Mr. Davis.

  15               POTENTIAL JUROR DAVIS:                  U.S. Navy.

  16               THE COURT:        And the same question to you,

  17   would that in any way affect your ability to be fair or

  18   impartial in this case?

  19               POTENTIAL JUROR DAVIS:                  Your Honor, it's

  20   possible.    We did do counter drug ops when I was in the

  21   Navy.

  22               THE COURT:        As part of your duties?

  23               POTENTIAL JUROR DAVIS:                  Yes, ma'am.

  24               THE COURT:        Would you be able to listen to

  25   the facts and evidence as they came -- as they came



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   1   forward in this case and just judge this case based

   2   upon the evidence that came forward?

   3               POTENTIAL JUROR DAVIS:                  Probably not.

   4               THE COURT:        You think that your experience

   5   would enter into your ability to be fair or impartial

   6   in this case?

   7               POTENTIAL JUROR DAVIS:                  When you're staring

   8   down the business end of a rifle, I believe so.

   9               THE COURT:        All right.            Thank you.

  10               Anyone else?           Yes.

  11               POTENTIAL JUROR DEMELLO:                    I know one of the

  12   other jurors.

  13               THE COURT:        Okay.        They aren't up here yet --

  14               POTENTIAL JUROR DEMELLO:                    No.

  15               THE COURT:        -- but you recognize someone?

  16               POTENTIAL JUROR DEMELLO:                    Yes.

  17               THE COURT:        Who would that be?

  18               POTENTIAL JUROR DEMELLO:                    Isabella, she's got

  19   her hand raised.       I used to work with her.

  20               THE COURT:        All right.            Well, I'm sure if

  21   Isabella makes her way up here, then we'll ask that

  22   same question a little later.                 Thank you.

  23               Anyone have any previous litigation with or

  24   against the United States government?                         Any present

  25   litigation pending, anticipated litigation?                           All right.



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   1               Anyone here who has a close friend or family

   2   member who works in the U.S. Attorney's Office or the

   3   State Attorney's Office?

   4               ALL JURORS:         No.

   5               THE COURT:        Ms. Demello, I know that you work

   6   for the clerk's office, so I'm sure you have some

   7   familiarity with some of the prosecutors, as well as

   8   defense attorneys in cases; is that right?

   9               POTENTIAL JUROR DEMELLO:                    Right.

  10               THE COURT:        Would that in any way affect your

  11   ability to be fair or impartial here?

  12               POTENTIAL JUROR DEMELLO:                    No.

  13               THE COURT:        Anyone have any matters pending

  14   before the United States Attorney's Office in this

  15   district or anywhere else?               Anyone studied the law?

  16               ALL JURORS:         No.

  17               THE COURT:        Ms. Demello, I know you indicated

  18   that your husband works for the sheriff's department.

  19   Do you believe that the fact that your husband works

  20   for the sheriff's department, that would enter into

  21   your ability to be fair or impartial in this case?

  22               POTENTIAL JUROR DEMELLO:                    No.

  23               THE COURT:        If a law enforcement officer

  24   testified in this case, as it's expected that there

  25   will be officers testifying, would you be able to judge



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   1   that officer's credibility like you would any other

   2   witness?

   3                POTENTIAL JUROR DEMELLO:                   Right, I would.

   4                THE COURT:       Okay.        You would not give them

   5   any special treatment because they were a law

   6   enforcement officer.

   7                POTENTIAL JUROR DEMELLO:                   No.

   8                THE COURT:       Okay.        Let me ask the rest of you

   9   then, have any family members or close friends that are

  10   in law enforcement?          All right.           Ms. Alonzi.

  11                POTENTIAL JUROR ALONZI:                  My brother is a

  12   police officer.

  13                THE COURT:       Your brother?              And would that

  14   affect your ability to be a fair or impartial juror in

  15   this case?

  16                POTENTIAL JUROR ALONZI:                  No.

  17                THE COURT:       Do you believe that you would be

  18   able to listen to the testimony of law enforcement

  19   officers if they testified and judge their credibility

  20   like you would any other witness?

  21                POTENTIAL JUROR ALONZI:                  Yes, but I also do

  22   work with the DEA.

  23                THE COURT:       Okay.        That's through your job as

  24   a pharmacist?

  25                POTENTIAL JUROR ALONZI:                  Correct.



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   1                THE COURT:       Did you recognize any of the

   2   agents that were listed?

   3                POTENTIAL JUROR ALONZI:                  No.

   4                THE COURT:       And would the fact that you have

   5   worked with the DEA because of being a pharmacist,

   6   would that affect your ability to be fair or impartial

   7   in this case?

   8                POTENTIAL JUROR ALONZI:                  It could.

   9                THE COURT:       Can you tell me why you think

  10   that's the case?       Can you explain that a little bit

  11   more?

  12                POTENTIAL JUROR ALONZI:                  Well, we work with

  13   people that are abusing drugs and selling drugs and

  14   doctors that are misprescribing and trying to

  15   prosecute.

  16                THE COURT:       Okay.        All right.            Have you ever

  17   had to testify in any of those cases?

  18                POTENTIAL JUROR ALONZI:                  I have not had to

  19   testify in court.

  20                THE COURT:       Were you listed as a witness?

  21                POTENTIAL JUROR ALONZI:                  No, I don't think it

  22   went to trial.

  23                THE COURT:       Okay.        Thank you very much.

  24   Anyone else, close family members -- close friends,

  25   family members?



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   1               POTENTIAL JUROR MITCHELL:                    How close of a

   2   family members, like a niece?

   3               THE COURT:        That's fine.              The whole point is

   4   if, in fact, you would be able to listen to the

   5   evidence as it came forward here.                     If your niece is a

   6   law enforcement officer, we can note that.

   7               POTENTIAL JUROR MITCHELL:                    She's Homeland

   8   Security.

   9               THE COURT:        Okay.        Would the fact that she

  10   works for Homeland Security in any way affect your

  11   ability to be fair in this case?

  12               POTENTIAL JUROR MITCHELL:                    No, ma'am.

  13               THE COURT:        Okay.        Thank you.            Anyone have

  14   any particularly strong feelings for or against law

  15   enforcement officers?           Mr. Davis.

  16               POTENTIAL JUROR DAVIS:                  I have strong

  17   feelings for law enforcement.

  18               THE COURT:        All right.            And you've kind of

  19   indicated to us your situation with work.                             Are you

  20   saying that you would not be able to listen to a law

  21   enforcement officer's testimony then without giving an

  22   officer more credibility than any other witness?                                I

  23   don't want to put words in your mouth.                         What do you

  24   mean by that?

  25               POTENTIAL JUROR DAVIS:                  I mean, it's



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   1   possible.    I moonlight with a lot of off-duty officers.

   2               THE COURT:        Okay.        Thank you very much.

   3               Have any of you, family members, or close

   4   friends ever been investigated by any federal, state,

   5   or local law enforcement agency?

   6               ALL JURORS:         No.

   7               THE COURT:        Anyone here who's had a family

   8   member or a relative, close friend that's been

   9   arrested, charged or convicted of a felony?

  10   Mr. Durfee, was that with your son?

  11               POTENTIAL JUROR DURFEE:                   Yes, ma'am.

  12               THE COURT:        Okay.        Thank you.            And Mr. Davis.

  13               POTENTIAL JUROR DAVIS:                  I've had two uncles

  14   arrested on drug and alcohol charges, felony charges.

  15   I'm not close to them at all, but I did completely

  16   forget, my cousin is FDLE.

  17               THE COURT:        Okay.        Thank you, Mr. Davis.

  18               Anyone here who has not told us but have you

  19   ever been a victim of a crime?                  Ms. Squatrito, you have

  20   been a victim before?

  21               POTENTIAL JUROR SQUATRITO:                     I have,

  22   carjacking, yes.

  23               THE COURT:        Would that situation enter into

  24   your ability to be fair or impartial in this case?

  25               POTENTIAL JUROR SQUATRITO:                     I don't believe



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   1   so.

   2                THE COURT:       Okay.        You would be able to put

   3   that situation aside, listen to the facts and evidence

   4   as they came forward here, and then just judge this

   5   case based on the facts and evidence that are presented

   6   in court and the law that I instruct you on?

   7                POTENTIAL JUROR SQUATRITO:                    I believe so,

   8   yes.

   9                THE COURT:       Okay.        Thank you.            Anyone else in

  10   the first row?      Second row, anyone else been a victim

  11   of a crime?

  12                Ms. Demello, you had something else that you

  13   wanted to.

  14                POTENTIAL JUROR DEMELLO:                   Yeah, I wanted to

  15   mention to you, I don't know if it has anything to do

  16   with this, but the sheriff's department and everything,

  17   I'm right in the middle of an investigation because

  18   I -- I don't know if you've read in the paper, the

  19   other day --

  20                THE COURT:       Is this something you want to

  21   approach the bench and tell me about?

  22                POTENTIAL JUROR DEMELLO:                   Yeah, I better.

  23                THE COURT:       Okay.        Counsel, if you would

  24   approach.

  25                (Bench conference was held within the



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   1   presence of the jury.)

   2               POTENTIAL JUROR DEMELLO:                    I'm in the middle

   3   of an investigation because the other day I was opening

   4   mail at the justice center and I opened it and it

   5   contained substance, so they're --

   6               THE COURT:        So you're working with the

   7   sheriff's department, between that --

   8               POTENTIAL JUROR DEMELLO:                    I don't know if you

   9   need to know that, with the postal service, everything,

  10   fire department.

  11               THE COURT:        Okay.

  12               POTENTIAL JUROR DEMELLO:                    Yeah, because I was

  13   exposed, but everything was fine.

  14               THE COURT:        Okay.

  15               POTENTIAL JUROR DEMELLO:                    But it's in the

  16   middle of a big investigation for that.

  17               THE COURT:        Would you be able to put that

  18   situation aside and just base your verdict here on the

  19   evidence and facts that came forward here?

  20               POTENTIAL JUROR DEMELLO:                    Oh, yeah.

  21               THE COURT:        Okay.        It's just something you

  22   wanted to let us know.

  23               POTENTIAL JUROR DEMELLO:                    I just wanted to

  24   let you know about it.

  25               THE COURT:        Counsel, do you have any further



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   1   questions for her?

   2               MR. JOFFE:        I don't, Your Honor.                    Thank you.

   3               THE COURT:        Thank you.

   4               (Bench conference concluded and proceedings

   5   continued as follows:)

   6               THE COURT:        Is there anything -- let me ask,

   7   anyone been a witness to a crime who has not told us

   8   that before?

   9               Does anyone have any personal beliefs,

  10   religious beliefs, or other mental reservations such

  11   that you could not in good faith and in good conscience

  12   sit as a juror in this criminal case and return a

  13   verdict of guilty if you believed from all the evidence

  14   that the government proved its case beyond a reasonable

  15   doubt?   All right.

  16               Anyone here who feels that for any moral or

  17   religious reasons that they would not be able to sit in

  18   judgment of another?

  19               This is Tony.            Tony is now our new court

  20   security officer.        See, I told you they would switch

  21   out.

  22               Will all of you follow the Court's

  23   instructions when I tell you that in reaching your

  24   verdict in this case that you must not be influenced in

  25   any way by either sympathy or prejudice for or against



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   1   the government or the defendant?

   2                Is there anyone here who believes that heroin

   3   or any other controlled substance like heroin should be

   4   legalized in this country under the laws of this

   5   country?     Go ahead, Mr. Franklin.

   6                POTENTIAL JUROR FRANKLIN:                   My sister is an RN

   7   in the emergency room.            She advocates heroin for

   8   terminally ill patients, and I agree with her strongly.

   9                THE COURT:       And given the fact that you may

  10   have that belief, would you still be able to listen to

  11   the evidence in this case and follow my instructions on

  12   the law?

  13                POTENTIAL JUROR FRANKLIN:                   I believe so.

  14                THE COURT:       Okay.        All of the evidence that

  15   you may consider in this case will come from this

  16   courtroom.     One of the things that means is that during

  17   the course of the trial you cannot discuss this case

  18   amongst yourselves until the very end, but you also

  19   cannot discuss this case outside of court.                            So you

  20   can't conduct any independent research about the case,

  21   the matters in the case, the individuals, the

  22   individuals involved.           In other words, you should not

  23   consult with dictionaries, reference materials, search

  24   the Internet, websites, blogs, or other -- using any

  25   other electronic means.



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   1                Many of you have smartphones that you use on

   2   a regular basis or tablets, electronic devices which

   3   you use to communicate every day.                     You're not going to

   4   be allowed to talk to anyone about this case or use

   5   these tools to communicate electronically with anyone

   6   about the case.      This includes your family and friends.

   7   You may not communicate with anyone about the case on

   8   your cell phone, through e-mails, texts, text messages,

   9   Twitter, blogging, chat rooms.                  You can't communicate

  10   with anyone through social media networking, websites,

  11   including Facebook, Myspace, LinkedIn, or YouTube.                             If

  12   you do, this case would have to be retried.                           So the

  13   reason I'm telling you about this is that it is a

  14   serious violation to discuss this case with anyone

  15   else.

  16                Will all of you be able to follow the Court's

  17   instructions on the law and that instruction

  18   specifically?     All right.           Thank you.

  19                Do any of you have any physical impairments,

  20   anything that we need to know so that we can

  21   accommodate you during the course of this service?

  22   Mr. Davis.

  23                POTENTIAL JUROR DAVIS:                 I'm deaf in my left

  24   ear.

  25                THE COURT:       Have you been able to hear my



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   1   questions -- you've answered a lot of questions, so I

   2   assume you've been able to hear the Court.

   3                POTENTIAL JUROR DAVIS:                 Yes, ma'am.

   4                THE COURT:       And if everyone uses the

   5   microphone, you're able to hear that.

   6                POTENTIAL JUROR DAVIS:                 Yes, ma'am.

   7                THE COURT:       Okay.        Thank you.

   8                You as jurors will be required to calmly,

   9   fairly, and dispassionately consider all of the

  10   evidence of this case and from the evidence and from

  11   the law which the Court will give you arrive at your

  12   verdict.     You should not be swayed in the performance

  13   of your duty by prejudice, sympathy, or any other

  14   sentiment.     With that instruction as background, if

  15   you're selected as a juror in this case, can and will

  16   each of you render a fair or impartial verdict based on

  17   the evidence presented in this courtroom?

  18                ALL JURORS:        Yes.

  19                THE COURT:       Given the anticipated length of

  20   trial, which is, as I told you, two to three days, is

  21   there any good reason why you could not serve as a

  22   juror in this case?          Mr. Bennett.

  23                POTENTIAL JUROR BENNETT:                   Yes.      I am the care

  24   giver for my four-year-old granddaughter.                             Her mother

  25   is single and they all live with us, and my schedule



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   1   allows me to actually baby sit her while her mother

   2   goes to work and works evenings.                    So it would be kind

   3   of hard for her to find someone to watch my

   4   granddaughter.

   5               THE COURT:        All right.            So you do not believe

   6   there would be able to be accommodations made for the

   7   two to three days?         She stays with you?

   8               POTENTIAL JUROR BENNETT:                    I mean, maybe if I

   9   had time to find somebody for her.

  10               THE COURT:        Okay.        But she stays with you

  11   during the day?

  12               POTENTIAL JUROR BENNETT:                    Yes, I work in the

  13   office and she works in the office.

  14               THE COURT:        Okay.        Thank you very much.

  15   Anyone else?     Yes, Mr. Davis.

  16               POTENTIAL JUROR DAVIS:                  I think I'd hope to

  17   get out of this, but I have a root canal in the

  18   morning, tomorrow morning.

  19               THE COURT:        All right.            Thank you very much.

  20               Yes, Mr. Durfee, I'm sorry.

  21               POTENTIAL JUROR DURFEE:                   I have an eye

  22   appointment Friday.

  23               THE COURT:        Is that something you would be

  24   able to reschedule, if you had to?

  25               POTENTIAL JUROR DURFEE:                   It's a long waiting



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   1   period.    It's at the VA.

   2                THE COURT:       All right.            Thank you very much.

   3   Anyone else?     Will each of you follow the law in

   4   accordance with the Court's instructions?                             All right.

   5   Then at this time I'm going to allow brief follow-up

   6   questions.     Mr. Schmitz, are you going to inquire, or

   7   Mr. Lazarus?

   8                MR. SCHMITZ:         Yes, Your Honor.

   9                THE COURT:       You may do so then.                     Thank you.

  10                MR. SCHMITZ:         Thank you.            May it please the

  11   Court.     Thank you, Your Honor.

  12                Just briefly, juror number one, Mr. Akrami.

  13   I ruined your name.          What's your name?

  14                POTENTIAL JUROR AKRAMI:                  Akrami.

  15                THE COURT:       You can't read your own notes; is

  16   that it?

  17                MR. SCHMITZ:         That's right.

  18                Mr. Akrami, where are you a radiologist?

  19                POTENTIAL JUROR AKRAMI:                  I work from home,

  20   but I work for a large company that covers across the

  21   entire country.

  22                MR. SCHMITZ:         Okay.        Ms. Squatrito, you

  23   mentioned that you were a victim of a carjacking.                             Is

  24   there anything about that that would cause you to be

  25   unfair to the defendant in this case?



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   1               POTENTIAL JUROR SQUATRITO:                     I don't believe

   2   so.

   3               MR. SCHMITZ:          Is there anything that would

   4   cause you to be unfair to the United States in this

   5   case?

   6               POTENTIAL JUROR SQUATRITO:                     No.

   7               MR. SCHMITZ:          Okay.        Ms. Kelly, so you

   8   mentioned that you're a church administrator.                         Is there

   9   anything about your beliefs that would prevent you from

  10   being a juror in this case?

  11               POTENTIAL JUROR KELLY:                  No, sir.

  12               MR. SCHMITZ:          Ms. Demello, you said you were

  13   involved in a lawsuit before.

  14               POTENTIAL JUROR DEMELLO:                    Right.

  15               MR. SCHMITZ:          What type of lawsuit was that?

  16               POTENTIAL JUROR DEMELLO:                    A slip and fall.

  17               MR. SCHMITZ:          And is there anything about

  18   that case that would cause you to be unfair to the

  19   United States in this case?

  20               POTENTIAL JUROR DEMELLO:                    No.

  21               MR. SCHMITZ:          Anything that would cause you

  22   to be unfair to the defendant in this case?

  23               POTENTIAL JUROR DEMELLO:                    No.

  24               MR. SCHMITZ:          Ms. Alonzi, you mentioned that

  25   you did some work for the DEA.                  Is there anything about



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   1   that that would cause you to be unfair or impartial in

   2   this case to the defendant?

   3               POTENTIAL JUROR ALONZI:                   I mean, I think it's

   4   just the basis of my occupation.

   5               MR. SCHMITZ:          Now, if the judge instructs you

   6   on the law at the end of the case, would you be able to

   7   follow that law as the judge instructed you?

   8               POTENTIAL JUROR ALONZI:                   Yes.

   9               MR. SCHMITZ:          If she told you you had to be

  10   fair and impartial to both the United States and the

  11   defendant, would you be able to follow that

  12   instruction?

  13               POTENTIAL JUROR ALONZI:                   I hope so.

  14               MR. SCHMITZ:          Mr. Boyd.

  15               POTENTIAL JUROR BOYD:                 Yes, sir.

  16               MR. SCHMITZ:          You mentioned that you were a

  17   character witness in a case.                 Was there anything about

  18   that experience that would cause you to be unfair to

  19   the United States in this case?

  20               POTENTIAL JUROR BOYD:                 No, sir.

  21               MR. SCHMITZ:          Anything that would cause you

  22   to be unfair to the defendant in this case?

  23               POTENTIAL JUROR BOYD:                 No, sir.

  24               MR. SCHMITZ:          Okay.        Would you be able to

  25   follow the law as instructed by the judge in this case?



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   1               POTENTIAL JUROR BOYD:                 Yes, sir.

   2               MR. SCHMITZ:          Okay.        Ms. Mitchell, you said

   3   you served on a jury before.

   4               POTENTIAL JUROR MITCHELL:                    Yes, sir.

   5               MR. SCHMITZ:          Did you return a verdict?

   6               POTENTIAL JUROR MITCHELL:                    Yes, sir.

   7               MR. SCHMITZ:          Mr. Everling, you said you were

   8   involved in a reckless driving suit before.                           Is there

   9   anything about that experience that would cause you to

  10   be unfair to the United States?

  11               POTENTIAL JUROR EVERLING:                    No.

  12               MR. SCHMITZ:          Is there anything that would

  13   cause you to be unfair to the defendant?

  14               POTENTIAL JUROR EVERLING:                    No.

  15               MR. SCHMITZ:          Okay.        Were you treated fairly

  16   during that case?

  17               POTENTIAL JUROR EVERLING:                    Yes.

  18               MR. SCHMITZ:          And I assume this isn't true,

  19   but it wasn't our office that was prosecuting that

  20   case, the U.S. Attorney's Office, was it?

  21               POTENTIAL JUROR EVERLING:                    No.

  22               MR. SCHMITZ:          Okay.

  23               POTENTIAL JUROR EVERLING:                     I don't think

  24   federal does that kind of stuff.

  25               MR. SCHMITZ:          Not typical.



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   1                Mr. Hunter, you mentioned you were a

   2   plaintiff in a case.          Is there anything about that

   3   experience that would cause you to be unfair to the

   4   United States in that case?

   5                POTENTIAL JUROR HUNTER:                  No.

   6                MR. SCHMITZ:         Anything that would cause you

   7   to be unfair to the defendant?

   8                POTENTIAL JUROR HUNTER:                  No.

   9                MR. SCHMITZ:         What type of case was that?

  10                POTENTIAL JUROR HUNTER:                  It was a rental

  11   dispute.

  12                MR. SCHMITZ:         Would you be able to -- the

  13   standard in a civil case is different than the standard

  14   in a criminal case.          The government is held to a higher

  15   burden of proof.       Would you be able to follow that in

  16   this case?

  17                POTENTIAL JUROR HUNTER:                  Yes.

  18                MR. SCHMITZ:         Okay.        And Mr. Shade, did I get

  19   that right, juror number 11.

  20                POTENTIAL JUROR SHADE:                 It's Debbie.

  21                MR. SCHMITZ:         Excuse me.            I didn't write it

  22   down fully.    Ms. Shade.           I apologize.             You mentioned

  23   that you were involved in a civil case as well?

  24                POTENTIAL JUROR SHADE:                 Yes.

  25                MR. SCHMITZ:         What type of civil case was



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   1   that?

   2               POTENTIAL JUROR SHADE:                  Medical.

   3               MR. SCHMITZ:          The standard in a civil case is

   4   different than a criminal case.                   The government has to

   5   prove in this case, and you'll hear, we're going to

   6   have to prove beyond a reasonable doubt what was

   7   charged in the indictment.               Would you be able to follow

   8   that instruction?

   9               POTENTIAL JUROR SHADE:                  Yes.

  10               MR. SCHMITZ:          Okay.        Mr. Franklin, you said

  11   you were in the U.S. Air Force.                   What job did you have

  12   in the U.S. Air Force?

  13               POTENTIAL JUROR FRANKLIN:                    Aircraft

  14   maintenance.

  15               MR. SCHMITZ:          And, Mr. Boyd, I don't know if

  16   you mentioned this, but what job did you have when you

  17   were in the U.S. Army.

  18               POTENTIAL JUROR BOYD:                 Military policeman,

  19   supply clerk.

  20               MR. SCHMITZ:          Is there anything about that

  21   experience that would cause you to be unfair to the

  22   defendant in this case?

  23               POTENTIAL JUROR BOYD:                 No.

  24               MR. SCHMITZ:          Anything that would cause you

  25   to be unfair to the United States?



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   1                POTENTIAL JUROR BOYD:                No, sir.

   2                MR. SCHMITZ:         Those are all the questions I

   3   have, Your Honor.        Thank you.

   4                THE COURT:       Mr. Joffe, brief follow-up

   5   questions?

   6                MR. JOFFE:       Yes, Your Honor.                 Thank you.

   7                Ladies and gentlemen, good morning.

   8                ALL JURORS:        Good morning.

   9                MR. JOFFE:       Everyone happy to be here this

  10   morning?     How many of you have positive feelings or

  11   feelings towards lawyers in general?                       Okay.      There we

  12   go.   Just so everyone is aware, this is a criminal

  13   case, and I represent Mr. Norris Williams, and

  14   Mr. Williams is presumed innocent.                     And the presumption

  15   of innocence, if you're chosen to serve as a juror on

  16   this case, goes with Mr. Williams throughout the entire

  17   trial.     If you're asked to sit as a juror in this case,

  18   you'll be asked not to deliberate until all the

  19   evidence has been presented during the course of the

  20   trial.

  21                Does anyone, as you sit here today, and I'm

  22   going to ask you in general some questions, have an

  23   issue with the presumption of innocence, being presumed

  24   innocent, which is really at the heart of a criminal

  25   case in this judicial process.                  Does anyone have an



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   1   issue with that?       Okay.

   2               Now, Mr. Williams is charged by what's called

   3   an indictment.      The government has gone to a grand

   4   jury, they get an indictment.                 Okay?        It's a charging

   5   document.    The government is saying, Mr. Williams,

   6   we're accusing you of doing -- committing a crime.

   7   Does anyone, as you sit here today, think or feel that

   8   just because Mr. Williams has been charged that he's

   9   done something wrong?

  10               MR. SCHMITZ:          Your Honor, may we approach?

  11               THE COURT:        Not at this time.

  12               MR. SCHMITZ:          Okay.

  13               THE COURT:        Mr. Joffe, go ahead and ask some

  14   brief follow-up questions to the Court's questions.

  15               MR. JOFFE:        Certainly.            Let me ask -- well,

  16   Mr. Boyd, why don't we hand you the microphone.

  17               POTENTIAL JUROR BOYD:                 Pardon me?

  18               MR. JOFFE:        Why don't we hand you the

  19   microphone so we can hear you.                  How are you?

  20               POTENTIAL JUROR BOYD:                 Fine and you?

  21               MR. JOFFE:        Good.        You said you're the guy

  22   that releases the water; is that correct?

  23               POTENTIAL JUROR BOYD:                 Yes, sir.

  24               MR. JOFFE:        Well, thank you very much.               We

  25   appreciate that.       You deal with volumes of water; is



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   1   that correct?

   2               POTENTIAL JUROR BOYD:                 True.

   3               MR. JOFFE:        Do you have to measure the amount

   4   of water that you're releasing at any given time?

   5               POTENTIAL JUROR BOYD:                 Yes.

   6               MR. JOFFE:        And how do you make that

   7   measurement?

   8               POTENTIAL JUROR BOYD:                 Well, we have chart

   9   conversions.     You have three factors, you take a head

  10   reading, a tail reading, and the opening of a

  11   structure, how much it's open and how long it stays

  12   open.   And then at the end of the 24 hours it's

  13   computerized measurements.

  14               MR. JOFFE:        And do you try to be as precise

  15   as you possibly can with the amount?

  16               POTENTIAL JUROR BOYD:                 Definitely.

  17               MR. JOFFE:        Why is that.

  18               POTENTIAL JUROR BOYD:                 It's my job.

  19               MR. JOFFE:        Okay.        And do you keep written

  20   notes of the amounts?

  21               POTENTIAL JUROR BOYD:                 We do, yes.

  22               MR. JOFFE:        Are there computers that keep

  23   notes as well?

  24               POTENTIAL JUROR BOYD:                 All of it is logged

  25   into a system that's called performance monitoring



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   1   system, and it has a paper trail as well.

   2                MR. JOFFE:       So if someone were to go back to

   3   you six months ago and say how much water did you

   4   release on a certain date six months ago, you would be

   5   able to retrieve that information?

   6                POTENTIAL JUROR BOYD:                Yes.

   7                MR. JOFFE:       Okay.        You said you had prior

   8   jury service in Palm Beach and Hendry County; is that

   9   correct?

  10                POTENTIAL JUROR BOYD:                Yes, sir.

  11                MR. JOFFE:       Was any of that jury service

  12   criminal, if you remember?

  13                POTENTIAL JUROR BOYD:                We might have to break

  14   down the terminology.           The case in West Palm Beach was

  15   a government case.

  16                MR. JOFFE:       Meaning the federal government.

  17                POTENTIAL JUROR BOYD:                Federal government.

  18                MR. JOFFE:       Were they charging a person or

  19   persons?

  20                POTENTIAL JUROR BOYD:                They were charging a

  21   person.

  22                MR. JOFFE:       With committing a federal

  23   violation?

  24                POTENTIAL JUROR BOYD:                Yes, sir.

  25                MR. JOFFE:       Okay.        Was that at the U.S.



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   1   district court in downtown West Palm Beach?

   2               POTENTIAL JUROR BOYD:                 Yes.

   3               MR. JOFFE:        And the case -- so that was a

   4   federal matter.

   5               POTENTIAL JUROR BOYD:                 Yes, that was federal.

   6               MR. JOFFE:        And the case in Hendry County,

   7   was that a state case?

   8               POTENTIAL JUROR BOYD:                 County, state, yes.

   9               MR. JOFFE:        Was that civil or criminal?

  10               POTENTIAL JUROR BOYD:                 I guess you would say

  11   criminal.

  12               MR. JOFFE:        And do you recall if you were the

  13   foreperson on any of those cases?

  14               POTENTIAL JUROR BOYD:                 On both occasions.

  15               MR. JOFFE:        You were the foreperson?

  16               POTENTIAL JUROR BOYD:                 Yes.

  17               MR. JOFFE:        Congratulations.                 Thank you, sir,

  18   for answering the questions.                 I appreciate it.

  19               Dr. Stevens, good morning, sir, how are you?

  20               POTENTIAL JUROR STEVENS:                    Well.         And you?

  21               MR. JOFFE:        Good.        Do you still actively

  22   practice dentistry?

  23               POTENTIAL JUROR STEVENS:                    It depends on my

  24   daughter's definition.

  25               MR. JOFFE:        You practice on the kids and



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   1   grandkids?

   2                POTENTIAL JUROR STEVENS:                   No, I see patients

   3   a little bit.

   4                MR. JOFFE:       Okay.        And during the normal

   5   course of your activities as a licensed dentist, do you

   6   prescribe medication?

   7                POTENTIAL JUROR STEVENS:                   Yes.

   8                MR. JOFFE:       And when you prescribe that

   9   medication, do you prescribe certain amounts?

  10                POTENTIAL JUROR STEVENS:                   Yes.

  11                MR. JOFFE:       And how do you keep track of what

  12   you're prescribing?

  13                POTENTIAL JUROR STEVENS:                   I put it in the

  14   chart, written in.

  15                MR. JOFFE:       So if there's a question you can

  16   go back?

  17                POTENTIAL JUROR STEVENS:                   Definitely.

  18                MR. JOFFE:       Okay.        Do you ever prescribe more

  19   than what's required to the patient?

  20                POTENTIAL JUROR STEVENS:                   No.

  21                MR. JOFFE:       Why is that?

  22                POTENTIAL JUROR STEVENS:                   I don't want

  23   anybody to become addicted, and it's not the right

  24   thing to do.

  25                MR. JOFFE:       Okay.        And this case involves



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   1   heroin, you'll hear testimony about heroin, you'll hear

   2   evidence from a DEA agent.               Do you believe you can be

   3   fair or impartial if you're chosen to sit on this case?

   4               POTENTIAL JUROR STEVENS:                    Definitely.

   5               MR. JOFFE:        And the fact that you have these

   6   multiple -- you're a franchise owner; correct?

   7               POTENTIAL JUROR STEVENS:                    Yes.

   8               MR. JOFFE:        And do you have the time and the

   9   ability to sit for at least three days?

  10               POTENTIAL JUROR STEVENS:                    Yes.

  11               MR. JOFFE:        Very good.            Thank you, sir.   I

  12   appreciate it.

  13               MR. SCHMITZ:          Your Honor, can we approach?

  14               THE COURT:        Yes.

  15               (Bench conference was held within the

  16   presence of the jury.)

  17               MR. SCHMITZ:          Your Honor, I believe this is

  18   improper questioning of the jury here.                         My

  19   understanding was that we are supposed to ask as brief

  20   follow-up questions about the information that the

  21   Court asked about.         I believe that counsel is trying to

  22   get additional voir dire questions that haven't been

  23   submitted to us and haven't been submitted to the

  24   Court.

  25               THE COURT:        I understand your objection.



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   1   Mr. Joffe.

   2                MR. JOFFE:       There's no rule that requires me

   3   to submit these questions, these questions go beyond

   4   the general questions raised by the Court and in terms

   5   of burden of proof, et cetera, I moved on.                            I don't

   6   think that's been with the jury, I'm asking specific

   7   questions of specific jurors whether they can be fair

   8   or impartial.

   9                THE COURT:       I'm going to allow the questions,

  10   but make sure it's follow-up questions.

  11                MR. JOFFE:       Certainly.

  12                (Bench conference concluded and proceedings

  13   continued as follows:)

  14                MR. JOFFE:       Dr. Stevens, thank you, sir.

  15                Yes, ma'am, you're raising your hand.                         Why

  16   don't you wait until you get to the microphone.

  17                POTENTIAL JUROR ALONZI:                  Back to your

  18   original question about --

  19                MR. JOFFE:       Why don't you state your name for

  20   the record.

  21                THE WITNESS:         Kim Alonzi.            Back to your

  22   original question about innocent until proven, I guess

  23   in my previous experience and my faith with the DEA and

  24   law enforcement, I kind of feel like if there's enough

  25   there to indict someone, I would have to be swayed the



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   1   other way, that I would probably have prejudice.

   2               MR. JOFFE:        And you said you're employed with

   3   DEA?

   4               POTENTIAL JUROR ALONZI:                   Correct, it was

   5   probably a couple years ago.

   6               MR. JOFFE:        What kind of work did you do for

   7   them?

   8               POTENTIAL JUROR ALONZI:                   As far as

   9   investigating a physician for prescribing.

  10               MR. JOFFE:        Were you a federal law

  11   enforcement agent?

  12               POTENTIAL JUROR ALONZI:                   No, I'm a

  13   pharmacist, and I actually initiated the investigation.

  14               MR. JOFFE:        You made the complaint; correct?

  15               POTENTIAL JUROR ALONZI:                   Correct.

  16               MR. JOFFE:        Do you still practice as a

  17   pharmacist?

  18               POTENTIAL JUROR ALONZI:                   Yes, uh-huh.

  19               MR. JOFFE:        And how involved were you with

  20   DEA in that case?

  21               POTENTIAL JUROR ALONZI:                   You know, I mean, I

  22   pulled all of my records, and I have her business card

  23   and we would discuss things.                 But once they got the

  24   initial information from me, I wasn't really involved.

  25   I was on a witness list, but I was never called to



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   1   trial.

   2                MR. JOFFE:       Was that a state or federal case?

   3                POTENTIAL JUROR ALONZI:                  I believe it was

   4   federal.

   5                MR. JOFFE:       And was that indicted here in

   6   Fort Myers?

   7                POTENTIAL JUROR ALONZI:                  I'm not sure.       I

   8   think -- well, the doctor's license was revoked, so I

   9   think that was a state thing.                 I don't know.           I don't

  10   know where it was done.

  11                MR. JOFFE:       But the criminal case was

  12   indicted in Fort Myers, do you know?

  13                POTENTIAL JUROR ALONZI:                  I don't know.

  14                MR. JOFFE:       And what year was that?

  15                POTENTIAL JUROR ALONZI:                  Probably about three

  16   years ago.

  17                MR. JOFFE:       And you practiced as a

  18   pharmacist?

  19                POTENTIAL JUROR ALONZI:                  Correct, for

  20   30 years.

  21                MR. JOFFE:       Here in Fort Myers?

  22                POTENTIAL JUROR ALONZI:                  Right.

  23                MR. JOFFE:       And you prescribe -- you fill

  24   prescriptions.

  25                POTENTIAL JUROR ALONZI:                  Correct, and I also



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   1   have to screen all of the prospective people through E

   2   force and through criminal background checks to decide

   3   whether we will dispense or not.

   4               MR. JOFFE:        Okay.        And there's a DEA agent

   5   involved in this case.            Do you recognize him?

   6               POTENTIAL JUROR ALONZI:                   No, I don't.

   7               MR. JOFFE:        Have you ever dealt with him at

   8   all?

   9               POTENTIAL JUROR ALONZI:                   No.

  10               MR. JOFFE:        What about the folks from the

  11   U.S. Attorney's Office, have you dealt with folks in

  12   the U.S. Attorney's Office?

  13               POTENTIAL JUROR ALONZI:                   No.

  14               MR. JOFFE:        Okay.        So I believe what you're

  15   saying is that you could not be fair and impartial in

  16   this particular case to Mr. Williams, is that fair to

  17   say?

  18               POTENTIAL JUROR ALONZI:                   I'm saying when

  19   there's enough evidence for an indictment, I'm probably

  20   swayed -- I would have to be swayed the other way, that

  21   he's not guilty.

  22               MR. JOFFE:        So you would require the

  23   defendant to prove something to prove his innocence;

  24   correct?

  25               POTENTIAL JUROR ALONZI:                   Correct.



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   1               MR. JOFFE:        Okay.        Thank you, ma'am.               I

   2   really appreciate your honesty.                   Thank you so much.

   3               Ms. Squatrito, is that correct?

   4               POTENTIAL JUROR SQUATRITO:                     Yes.

   5               MR. JOFFE:        How are you, ma'am?                     We'll hand

   6   you the microphone.          Good morning, ma'am, how are you?

   7               POTENTIAL JUROR SQUATRITO:                     I'm good, thank

   8   you.

   9               MR. JOFFE:        Good.        You testified about being

  10   a victim of a carjacking.

  11               POTENTIAL JUROR SQUATRITO:                     I was.

  12               MR. JOFFE:        Was that investigated by law

  13   enforcement?

  14               POTENTIAL JUROR SQUATRITO:                     Yes, it was.

  15               MR. JOFFE:        Do you know if they were state or

  16   federal law enforcement officers?

  17               POTENTIAL JUROR SQUATRITO:                     They were state.

  18               MR. JOFFE:        Okay.        Was anyone charged in that

  19   case?

  20               POTENTIAL JUROR SQUATRITO:                     They were

  21   ultimately all caught for a subsequent crime.

  22               MR. JOFFE:        And did you have to go and

  23   identify any pieces of property?

  24               POTENTIAL JUROR SQUATRITO:                     My ex-husband

  25   did, yes.



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   1               MR. JOFFE:        Okay.        Were you listed as a

   2   witness?

   3               POTENTIAL JUROR SQUATRITO:                     Yes.

   4               MR. JOFFE:        Was your deposition taken?

   5               POTENTIAL JUROR SQUATRITO:                     Yes.

   6               MR. JOFFE:        Did you testify in court?

   7               POTENTIAL JUROR SQUATRITO:                     No, sir.

   8               MR. JOFFE:        What year was that, do you

   9   remember?

  10               POTENTIAL JUROR SQUATRITO:                     1989.

  11               MR. JOFFE:        Was that here in Fort Myers?

  12               POTENTIAL JUROR SQUATRITO:                     Yes, it was.

  13               MR. JOFFE:        Do you recognize the judge in

  14   this case as involved in that case at all?

  15               POTENTIAL JUROR SQUATRITO:                     No.

  16               MR. JOFFE:        Do you recognize anyone working

  17   for the government?

  18               POTENTIAL JUROR SQUATRITO:                     No.

  19               MR. JOFFE:        Were you satisfied with the

  20   result in that case?

  21               POTENTIAL JUROR SQUATRITO:                     Yes.

  22               MR. JOFFE:        And as you sit here today, do you

  23   believe you could be fair and impartial to

  24   Mr. Williams?

  25               POTENTIAL JUROR SQUATRITO:                     I believe so,



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   1   yes.

   2               MR. JOFFE:        Thank you.            Appreciate it.    Thank

   3   you so much.

   4               Ms. Mitchell, how are you, ma'am?

   5               POTENTIAL JUROR MITCHELL:                    I'm fine.

   6               MR. JOFFE:        You said you had a master's

   7   degree in science; is that correct?

   8               POTENTIAL JUROR MITCHELL:                    Yes, sir.

   9               MR. JOFFE:        What type of science?

  10               POTENTIAL JUROR MITCHELL:                    Technology, sir.

  11               MR. JOFFE:        You don't have to call me, sir,

  12   but I appreciate it.          Thank you.            You said you were

  13   involved in the auto industry; is that correct?

  14               POTENTIAL JUROR MITCHELL:                    Yes, sir.

  15               MR. JOFFE:        What type of involvement did you

  16   have in the auto industry?

  17               POTENTIAL JUROR MITCHELL:                    My husband and I

  18   both worked for General Motors.

  19               MR. JOFFE:        For how many years?

  20               POTENTIAL JUROR MITCHELL:                    I was over

  21   31 years, and I think he put -- he also worked with the

  22   International United Auto Workers, so he was with them

  23   for 25 years and he was in the auto industry for 13 to

  24   15 years.

  25               MR. JOFFE:        Was your husband a rep for UAW?



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   1               POTENTIAL JUROR MITCHELL:                    Yes, he was.

   2               MR. JOFFE:        And were you a rep as well?

   3               POTENTIAL JUROR MITCHELL:                    No, I wasn't.

   4               MR. JOFFE:        And did you or your husband ever

   5   create your own separate business to sell to the auto

   6   companies or --

   7               POTENTIAL JUROR MITCHELL:                    No, we didn't.

   8               MR. JOFFE:        -- you just worked for General

   9   Motors.

  10               POTENTIAL JUROR MITCHELL:                    We're actually

  11   employees of General Motors.

  12               MR. JOFFE:        Okay.        And you're now retired.

  13               POTENTIAL JUROR MITCHELL:                    We weren't

  14   consultants, we weren't vendors.

  15               MR. JOFFE:        What specifically did you do for

  16   General Motors?

  17               POTENTIAL JUROR MITCHELL:                    I was a

  18   journeyman.

  19               MR. JOFFE:        Which means what?

  20               POTENTIAL JUROR MITCHELL:                    I repaired the

  21   machines.

  22               MR. JOFFE:        The machines that manufactured

  23   the cars?

  24               POTENTIAL JUROR MITCHELL:                    The mold machines,

  25   yes.



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   1               MR. JOFFE:        Did you deal with chemicals when

   2   you were dealing with those machines?

   3               POTENTIAL JUROR MITCHELL:                    Yes, I did.

   4               MR. JOFFE:        And you did that for how many

   5   years?

   6               POTENTIAL JUROR MITCHELL:                    31.

   7               MR. JOFFE:        Thank you, ma'am.                  I appreciate

   8   it.   Thank you.     Is it Dr. Akrami?

   9               POTENTIAL JUROR AKRAMI:                   Yes.

  10               MR. JOFFE:        Why don't we hand you the

  11   microphone.    Good morning.

  12               POTENTIAL JUROR AKRAMI:                   Good morning.

  13               MR. JOFFE:        In your current job as a neuro --

  14   is it radiologist?

  15               POTENTIAL JUROR AKRAMI:                   Yes.

  16               MR. JOFFE:        So what is it that you actually

  17   do?

  18               POTENTIAL JUROR AKRAMI:                   I do -- basically

  19   send -- have exams sent to me around the country and

  20   interpret them and just give a reported, a dictated

  21   report.

  22               MR. JOFFE:        Okay.        So they send you MRIs, CAT

  23   scans, x-rays.

  24               POTENTIAL JUROR AKRAMI:                   Yes.

  25               MR. JOFFE:        Did you ever prescribe



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   1   medication?

   2               POTENTIAL JUROR AKRAMI:                   Not anymore.

   3               MR. JOFFE:        Did you do that for a period of

   4   time?

   5               POTENTIAL JUROR AKRAMI:                   Yes, very early as a

   6   resident.

   7               MR. JOFFE:        Okay.        I'm sorry.            Go ahead.

   8               POTENTIAL JUROR AKRAMI:                   Pretty much as a

   9   resident.     I don't even know as an attending if I ever

  10   did.

  11               MR. JOFFE:        Did you ever practice medicine in

  12   a hospital?

  13               POTENTIAL JUROR AKRAMI:                   Yes.

  14               MR. JOFFE:        For how many years?

  15               POTENTIAL JUROR AKRAMI:                   About six years.

  16               MR. JOFFE:        As a resident.

  17               POTENTIAL JUROR AKRAMI:                   As an attending.

  18               MR. JOFFE:        Okay.        And where was that?

  19               POTENTIAL JUROR AKRAMI:                   This was in the

  20   Chicago area.

  21               MR. JOFFE:        And you prescribed medication?

  22               POTENTIAL JUROR AKRAMI:                   As an attending,

  23   very rarely.

  24               MR. JOFFE:        Okay.        And after being an

  25   attending physician, did you practice medicine?



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   1                POTENTIAL JUROR AKRAMI:                  Yes.

   2                MR. JOFFE:       Where?

   3                POTENTIAL JUROR AKRAMI:                  Most of that time

   4   was in Illinois and then the past year and a half in

   5   Florida.

   6                MR. JOFFE:       Okay.        Do you still practice

   7   medicine?

   8                POTENTIAL JUROR AKRAMI:                  Yes.

   9                MR. JOFFE:       In Illinois.

  10                POTENTIAL JUROR AKRAMI:                  In Florida.

  11                MR. JOFFE:       Just in Florida.

  12                POTENTIAL JUROR AKRAMI:                  Yes.

  13                MR. JOFFE:       And in your current status, you

  14   don't prescribe any medication?

  15                POTENTIAL JUROR AKRAMI:                  No.

  16                MR. JOFFE:       Your Honor, I have no further

  17   questions.     I appreciate it.

  18                THE COURT:       All right.            Ladies and gentlemen,

  19   I'm going to have the attorneys look at their notes.

  20   I'm going to go ahead and give you a break, so those of

  21   you who are in this bar area, you can use the

  22   facilities in the jury room, those of you who are

  23   outside the bar area, you'll be able to use the

  24   facilities down the hall.              So stand, stretch, walk

  25   around.     If the attorneys would go through their notes



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   1   and then we'll approach sidebar after you're done.

   2                (Jury out at 10:21 a.m.)

   3                MR. JOFFE:       Your Honor, can my client exit

   4   the courtroom?

   5                THE COURT:       Yes, ladies and gentlemen, I'll

   6   have you exit the courtroom just so you can stand and

   7   stretch.

   8                (A break was taken.)

   9                MR. SCHMITZ:         Your Honor, does the defendant

  10   want to be up here for this?

  11                THE COURT:       I indicated earlier he could if

  12   he wanted to.

  13                MR. JOFFE:       Mr. Williams, do you want to come

  14   up while we do this?

  15                THE COURT:       I'm going to tender the entire

  16   panel to the government for any challenges for cause.

  17                MR. SCHMITZ:         All right.            Going in order,

  18   Your Honor, the United States challenges Mr. Durfee,

  19   number 12 for cause.

  20                THE COURT:       Mr. Durfee, do you have any

  21   objection?

  22                MR. JOFFE:       I would agree, Your Honor.

  23                THE COURT:       All right.            The Court agrees with

  24   the challenge for cause on Mr. Durfee, he indicated he

  25   had a son who had been involved in felony drug arrest



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   1   and that he could not be fair based upon the facts of

   2   this case.    Go ahead.

   3                MR. SCHMITZ:         Your Honor, the government

   4   challenges juror number 14, Christian Davis for cause.

   5                MR. JOFFE:       The defense would agree.

   6                THE COURT:       Based upon a number of things

   7   Mr. Davis said that are clear on the record.

   8                MR. JOFFE:       Correct.

   9                THE COURT:       He would be a valid challenge for

  10   cause.   The Court will exercise that.

  11                MR. SCHMITZ:         Your Honor, the government

  12   would challenge juror number 20, Donald Bennett for

  13   cause.   He mentions he has child care issues.

  14                MR. JOFFE:       No objection.

  15                THE COURT:       All right.            It is a valid

  16   challenge for cause, if he has a child the age that he

  17   does, as far as he's a grandfather, takes care of his

  18   four-year-old grandson, does not have any

  19   accommodations, juror number 20 will be a challenge for

  20   cause.

  21                MR. SCHMITZ:         And the government would

  22   challenge juror number 21, Kimberly Alonzi for cause.

  23                MR. JOFFE:       The defense would agree, Your

  24   Honor.

  25                THE COURT:       Ms. Alonzi indicated that based



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   1   upon the defendant being indicted she would be

   2   prejudiced in that regard.               The challenge for cause is

   3   valid on juror number 21, Ms. Alonzi.                        Any other

   4   challenges for cause from the government?

   5               MR. SCHMITZ:          No, Your Honor.

   6               THE COURT:        I would tender the panel to the

   7   defense for any challenges for cause.

   8               MR. JOFFE:        Your Honor, the defense has no

   9   challenges for cause for the panel.

  10               THE COURT:        All right.            Then I would tender

  11   the panel through juror number 13, Ms. Shadaram, to the

  12   government for any peremptory challenge.

  13               MR. SCHMITZ:          Your Honor, the government is

  14   going to use its first peremptory challenge on juror

  15   number seven, Ms. Kelly.

  16               THE COURT:        The government has used its first

  17   strike on juror number seven, Ms. Kelly.                          I would

  18   tenner the panel to the defense through juror number

  19   15, Ms. Demello.

  20               MR. JOFFE:        Your Honor, the defense would

  21   exercise a peremptory challenge to juror number five,

  22   Noelia Galvan.

  23               THE COURT:        The defense is using its first

  24   challenge on juror number five, Ms. Galvan.                           Tender the

  25   panel to the defense through juror number 16,



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   1   Ms. Mitchell.

   2               MR. JOFFE:        To the defense, Your Honor?

   3               THE COURT:        Yes.

   4               MR. JOFFE:        Is it my challenge next?

   5               THE COURT:        Yes, it is.

   6               MR. JOFFE:        The defense would exercise a

   7   peremptory as to juror number nine, Elizabeth Jeanne

   8   Johnson.

   9               THE COURT:        The defense has exercised its

  10   second challenge on number juror nine.                         I tender the

  11   panel to the government through number 17, Ms. Dickens.

  12               MR. SCHMITZ:          Your Honor, the government is

  13   going to challenge for its second peremptory, juror

  14   Mr. David Schrader, juror number ten.

  15               THE COURT:        The government is exercising its

  16   second challenge on juror number ten, Mr. Schrader.

  17   Tender the panel to the defense through juror number

  18   18, Mr. Stidom.

  19               MR. JOFFE:        Your Honor, the defense would

  20   challenge -- exercise peremptory challenge to number

  21   13, Jeanne B. Shadaram.

  22               THE COURT:        The defense is using its third

  23   strike to juror number 13 Jeanne Shadaram.                            I tender to

  24   the defense through juror number 19, Ms. Beck.

  25               MR. JOFFE:        Your Honor, the defense would



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   1   exercise a peremptory challenge to juror number 15,

   2   Kelly Suzanne Demello.

   3               THE COURT:        The defense has exercised its

   4   fourth challenge on Ms. Demello, juror number 15.                     I

   5   would tender the panel to the government through juror

   6   number 22, Mr. Franklin.

   7               MR. JOFFE:        Your Honor, the government

   8   exercises its third peremptory on juror number 16,

   9   Cheryl Mitchell.

  10               THE COURT:        The government has exercised its

  11   third challenge on juror number 16, Cheryl Mitchell.                      I

  12   would tender the panel to the defense through juror

  13   number 23, Mr. Hunter.

  14               MR. JOFFE:        Your Honor, the defense would

  15   exercise its peremptory challenge to juror number 22,

  16   Mark Thomas Franklin.

  17               THE COURT:        The defense has exercised its

  18   fifth challenge on juror number 22, Mr. Franklin.                     I

  19   would tender the panel to the defense through Mr. Boyd,

  20   juror number 24.

  21               MR. JOFFE:        Is that 12 jurors, Your Honor?

  22               THE COURT:        Yes, it is.

  23               MR. JOFFE:        The defense would accept the

  24   panel as it is currently set up.

  25               THE COURT:        I would tender the panel then to



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   1   the government to juror number 24, Mr. Boyd.

   2               MR. SCHMITZ:          Your Honor, the government is

   3   going to strike with its peremptory challenge juror

   4   number 19, Sandra Beck.

   5               THE COURT:        The government is using its

   6   fourth challenge on juror number 19, Ms. Beck.                        I would

   7   tender the panel then to the defense.

   8               MR. JOFFE:        We accept the panel, Your Honor.

   9               THE COURT:        Does the government wish to make

  10   any other challenges?

  11               MR. SCHMITZ:          The government accepts the

  12   panel, Your Honor.

  13               THE COURT:        All right.            So what we're going

  14   to do is move everyone around and down and then we'll

  15   seat.    What are your thoughts?

  16               MR. JOFFE:        We have 11 or ten?

  17               THE COURT:        11.      And I intend to take two

  18   alternates, unless you think otherwise.

  19               MR. JOFFE:        Okay.        So should we pick the next

  20   12 or is that too many?

  21               MR. SCHMITZ:          We wouldn't have any objection

  22   to 12.   We have two strikes left.                    I'm not sure, I

  23   haven't counted the defendant's strikes.

  24               THE COURT:        We might as well just fill the

  25   rest of the box then and question them.



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   1                MR. JOFFE:       That's fine.

   2                THE COURT:       Thank you.

   3                (Bench conference concluded and proceedings

   4   continued as follows:)

   5                (A break was taken.)

   6                THE COURT:       Let the record reflect the

   7   defendant is present in court with counsel.                           You can

   8   bring them in.      And has been present during the entire

   9   proceedings.

  10                (Potential jury in at 10:43 a.m.)

  11                THE COURT:       Ladies and gentlemen, we have

  12   selected some of you who will need to remain with us at

  13   this time.     If I call your name, you will need to stay

  14   here in the courtroom.            Dr. Akrami, Mr. Wynne,

  15   Dr. Stevens, Ms. Squatrito, Mr. Clark, Mr. Everling,

  16   Ms. Shade, Ms. Dickens, Mr. Stidam, Mr. Hunter, and

  17   Mr. Boyd.     You will need to remain with us.                        If I did

  18   not call your name, then you are excused with our

  19   thanks.     You will need to go back downstairs and check

  20   in with the jury clerk; just so she can give you future

  21   instructions.

  22                Then I'm going to have -- Mr. Clark, I'm

  23   going to have you move over one chair.                         Mr. Everling,

  24   if you would move down into the final chair in the

  25   first row, please.         Ms. Shade, all the way over to the



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   1   end chair, Ms. Dickens, next to her, Mr. Stidam, next

   2   to Ms. Dickens, and then Mr. Hunter and Mr. Boyd I'm

   3   going to have you move down and into the second row as

   4   well.     Madam clerk, if you would call the additional

   5   jurors.

   6                COURTROOM DEPUTY:             Debra Everett, Benjamin

   7   Crotteau, Ronald Bowman, Kitty Gio, Leonard Joyce,

   8   Shawn Tooker, Joseph Archambault, Cynthia

   9   Graor-Casperson, Ajay Pandey, Michael Piccirilli,

  10   Virginia Sauvageau, Bernd Oetting, and Carolyn Leib.

  11                THE COURT:       Ms. Everett, we're going to start

  12   with you, and we're going to have you tell us a little

  13   bit about yourself.          Tell us a little bit about

  14   yourself, Ms. Everett.

  15                POTENTIAL JUROR EVERETT:                   My name is Debra

  16   Everett, I live in Naples, I've lived there about

  17   32 years and that's how long I've lived in Florida.

  18   I'm an office administrator for a school district.                        I'm

  19   married, my husband is retired.                   I have one son who is

  20   35 and he's a pool technician.                  I have some college, no

  21   military service, no court, and no prior jury.

  22                THE COURT:       All right.            Thank you.

  23   Mr. Crotteau, tell us about yourself.

  24                POTENTIAL JUROR Crotteau:                   My name is Ben

  25   Crotteau, I live in Fort Myers for about two years, I



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   1   have lived in Florida for about 14.                      I'm self-employed

   2   for a window treatment company.                   I'm married, my wife

   3   is in advertising.         I have two kids, four and six, both

   4   unemployed at the moment.              I've been high school

   5   educated, no military.            My experience in court I have

   6   been a defendant in minor drug case and reckless

   7   driving DUI, and I have no experience on the jury.

   8                THE COURT:       All right.            Thank you very much.

   9   Mr. Bowman.

  10                POTENTIAL JUROR BOWMAN:                  Yes, my name is Ron

  11   Bowman, I live in Fort Myers, I have lived there for

  12   ten years.     I've been in Florida for ten years.                    I'm

  13   currently self-employed, I'm a building contractor.                         I

  14   own REB Construction.           My marital status is I'm

  15   married.     My wife is retired.              I have two children, a

  16   daughter 39 who is a dental hygienist, a son who is 37

  17   that's a Home Depot store manager.                     Level of education,

  18   I have a master's degree in business management, no

  19   jury service, I was in the Navy and in the Army.                       I was

  20   honorably discharged.           I have no previous court

  21   experience.     This last December I was called up for

  22   district jury duty but was not picked.

  23                THE COURT:       All right.            Thank you,

  24   Mr. Bowman.     Ms. Gio.

  25                POTENTIAL JUROR GIO:               Hi, my name is Kitty



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   1   Gio, I have lived in Cape Coral for four years now,

   2   Florida four years.          My current occupation is account

   3   manager for a software company, and prior to that I was

   4   in marketing.     I am married.              My spouse is retired, and

   5   previously he worked for GMC.                 I have two children, one

   6   39 and one 34.      My 39-year-old is currently looking for

   7   work and living back at home and my son, 34, is a

   8   stay-at-home dad.        Level of education, I have a BA in

   9   administration.      I have never served military, I have

  10   no court experience, and no jury.

  11                THE COURT:       All right.            Thank you very much.

  12   Mr. Joyce.

  13                POTENTIAL JUROR JOYCE:                 Hi, my name is

  14   Leonard Joyce.      I reside in Naples, Florida.                       I have

  15   lived there for five years, I have also lived in

  16   Florida for five years.             I'm retired.             I was an

  17   executive.    I am divorced.             I have one son, 27 years

  18   old, he's in hotel and restaurant management.                           I have a

  19   bachelor's degree.         I was not in the military.                    I do

  20   have some court experience.                I was a witness on a civil

  21   trial with regards to patent and prior art.                           I also

  22   have had previous jury service in New York City.                           It

  23   was a criminal case, assault.

  24                THE COURT:       Were you able to reach a verdict

  25   in that case?



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   1               POTENTIAL JUROR JOYCE:                  Yes, we did.

   2               THE COURT:        And were you the foreperson of

   3   the jury?

   4               POTENTIAL JUROR JOYCE:                  No, I was not.

   5               THE COURT:        Mr. Tooker.

   6               POTENTIAL JUROR TOOKER:                   I'm Shawn Tooker, I

   7   live in Englewood, Florida, I've lived here all my

   8   life, I was born in Englewood, 39 years.                          I'm doing

   9   landscaping, mowing yards and stuff, been married

  10   13 years.    She's a waitress.               I have three children,

  11   12, 10, and 8, never served in the military and I've

  12   been a defendant a couple few times, and --

  13               THE COURT:        What types of cases, Mr. Tooker?

  14               POTENTIAL JUROR TOOKER:                   Driving with

  15   suspended license, misdemeanor pot, felony trespassing

  16   on a construction site.

  17               THE COURT:        Okay.        Thank you.

  18               POTENTIAL JUROR ARCHAMBAULT:                       My name is Joe

  19   Archambault, I've lived in Fort Myers for 20 years, in

  20   Florida for 30.      I have a restaurant on Sanibel.

  21   Currently married.         I have two children, 15 and 17.

  22   Two years of college, no military experience.                          I have a

  23   reckless driving and no jury service.

  24               THE COURT:        Okay.        Thank you.            Ms.

  25   Graor-Casperson, can you tell us about yourself?



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   1               POTENTIAL JUROR GRAOR-CASPERSON:                          Hi, my name

   2   is Cynthia Graor-Casperson.                I have lived in Fort Myers

   3   for ten years now and moved to Florida ten years ago.

   4   I'm an interior designer, somewhat on the retired side

   5   now, as my husband is retired.                  He worked for

   6   Hewlett-Packard for years in sales.                      I have two

   7   daughters, one daughter that's 36 and she's in the

   8   health care industry, and my 32-year-old daughter works

   9   in manufacturing.        I have a fine arts degree and no

  10   military service, no court experience, and the only

  11   jury service that I've had, and I believe it was

  12   federal, was in Cleveland, Ohio.

  13               THE COURT:        Do you remember if it was a

  14   criminal or a civil case?

  15               POTENTIAL JUROR GRAOR-CASPERSON:                          It was

  16   criminal.

  17               THE COURT:        Okay.        Thank you very much.

  18               POTENTIAL JUROR PICCIRILLI:                      My name is Mike

  19   Piccirilli, city of residence, Marco Island.                           36 years

  20   Marco Island, 36 years in Florida.                     Previous -- current

  21   occupation, hair stylist, marital status, divorced.

  22   Two children, 34-year-old son, in Orlando, personal

  23   trainer, 24-year-old daughter works in a manufacturing

  24   plant in North Carolina.             Level of education, high

  25   school plus some cosmetology school after high school,



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   1   no military service, no court experience, no jury

   2   experience.

   3               THE COURT:        Mr. Piccirilli, I'm going to ask

   4   you to switch chairs with Mr. Pandey because he's the

   5   next and I'll have him tell us about himself.                         Thank

   6   you.   Mr. Pandey, tell us about yourself.

   7               POTENTIAL JUROR PANDEY:                   Good morning, my

   8   name is Ajay Pandey, I live in Naples, Florida almost

   9   eight years, I lived in Florida for eight years.                         I'm a

  10   software quality assurance analyst.                      I'm married, my

  11   spouse is a mental health clinician, we have two kids,

  12   16 and 14, students.          I have a graduate degree.                 No

  13   military service, no experience in court, and no prior

  14   jury experience.

  15               THE COURT:        What is your graduate degree in?

  16               POTENTIAL JUROR PANDEY:                   Information systems.

  17               THE COURT:        All right.            Thank you.

  18               POTENTIAL JUROR SAUVAGEAU:                     Hi, I'm Virginia

  19   Sauvageau, I live in Fort Myers.                    I have been here for

  20   nine years, Florida nine years.                   I guess you could say

  21   I'm retired from the workforce, but I'm still a

  22   homemaker and I don't think you ever get to retire.

  23               THE COURT:        I don't think you do.

  24               POTENTIAL JUROR SAUVAGEAU:                     I was a business

  25   contingency planner at a financial services company in



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   1   Boston.   I'm married.          My husband is a retired chief

   2   technology officer for a mutual fund company.                         I have

   3   two beautiful stepdaughters, one is 33, she's an ER

   4   nurse in New Hampshire, one is 31 and she's a graphic

   5   designer outside of DC.             Four years of college, no

   6   military service, divorced once upon a time and no

   7   court or jury.

   8                THE COURT:       All right.            Thank you.

   9   Mr. Oetting.

  10                POTENTIAL JUROR OETTING:                   My name is Bernd

  11   Oetting, I live in Naples, Florida, I lived there since

  12   1985, that's about 31 years.                 Same for Florida, I never

  13   lived anywhere else.          My occupation is I provide

  14   Naples' best restaurants with the finest wines, very

  15   important.     My previous occupation is I own four French

  16   restaurants, three in Germany, and the first one

  17   Naples, Florida.       I am married.              The occupation of my

  18   wife is property management.                 I have a son age 34, he's

  19   a doctor of jurisprudence of the interior ministry of

  20   the state of Bavaria in Germany.                    I myself went to four

  21   years law school in Munich but decided to form the

  22   restaurant business later on.                 Military service, I did

  23   my German military service with the German border

  24   police for 18 months.           I have no previous court

  25   experience, I have never been sued or have never sued



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   1   anybody, and question number 12 doesn't apply.

   2               THE COURT:        All right.            Thank you very much.

   3   Ms. Leib, could you tell us about yourself?

   4               POTENTIAL JUROR LEIB:                 My name is Caroline

   5   Leib, and I live in Lehigh Acres.                     I've been there

   6   15 years, I've been in the state of Florida 18 years.

   7   I'm currently working as a state employee of Florida

   8   and I work at the Hendry County Health Department in

   9   LaBelle and I'm an administrative assistant for a

  10   program called Healthy Families.                    I am a widow.     I have

  11   four children.      My oldest is 48 years old, daughter,

  12   who lives with me, she's disabled, and then I have twin

  13   daughters that are 45 and they're out in Kansas City

  14   and they're both in sales.               And then I have a son who

  15   lives in New Jersey and he's a construction worker.                       My

  16   level of education is high school, I've never been in

  17   the military, and I've never had any court experience

  18   or never had any jury experience.

  19               THE COURT:        All right.            Thank you very much,

  20   Ms. Leib.

  21               I previously introduced to you the court

  22   personnel, and this is, as you heard me tell the other

  23   ladies and gentlemen earlier that this is a criminal

  24   case, the United States of America versus Norris

  25   Williams, and there is an indictment in this case.                       The



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   1   indictment is not evidence, as it is a mere formal

   2   accusation against the defendant, and you must not

   3   consider the indictment to be evidence of the

   4   defendant's guilt, and you must not be influenced by

   5   the fact that an indictment has been filed against the

   6   defendant.

   7                The indictment includes four charges.                    Did

   8   all of you hear the Court read the indictment and also

   9   read along on the screen?

  10                ALL JURORS:        Yes.

  11                THE COURT:       All right.            The defendant denies

  12   the allegations in the four-count indictment, and has

  13   entered a plea of not guilty to each and every count

  14   contained within the indictment.

  15                Do any of you know anything about this case,

  16   either through your own personal knowledge or by

  17   discussions with anyone else or by reading or hearing

  18   about it in the news media?

  19                ALL JURORS:        No.

  20                THE COURT:       I indicated to the other ladies

  21   and gentlemen that this trial would be about two to

  22   three days, so today through Friday.                       Is there anything

  23   about the case being two to three days that it should

  24   be of concern to us?          Will all of you be able to serve

  25   for that period of time?



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   1                ALL JURORS:        Yes.

   2                THE COURT:       All right.            Is there anything

   3   about the nature of this case which would in any way

   4   prevent you from acting fairly or impartially?

   5                The case involves, as you've saw from the

   6   indictment, heroin.          Is there anyone who believes that

   7   heroin should be legalized?                All right.           I'm going to,

   8   again, show you the slide, including all of the names

   9   of the potential witnesses in this case.                          If you think

  10   you know any of them, please raise your hands.                            Samuel

  11   Gonzalez, Carlos Diaz, Deepa Vanmali, Alexandra

  12   Gongora, Victor Chica, Mark Strang, Teresa Browning,

  13   Steve Duquette, Courtney Allen, Adam Heinlein, and

  14   Candice Petaccio.        Do any of you know any of those

  15   witnesses?

  16                Does anyone know any of the attorneys or the

  17   Court?    Do any of you know any of the other jurors on

  18   the panel?    Have any of you or your family members ever

  19   worked for the United States government?                          Okay.

  20   Mr. Piccirilli.

  21                POTENTIAL JUROR PICCIRILLI:                     I know a juror

  22   that was sitting here earlier.

  23                THE COURT:       Oh, okay.

  24                POTENTIAL JUROR PICCIRILLI:                     From Marco

  25   Island.



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    1                THE COURT:      They've left?

    2                POTENTIAL JUROR PICCIRILLI:                     Yes.

    3                THE COURT:      Okay.        Thank you.            Anyone have

    4   any friends or family members or yourself who have

    5   worked for the United States government?                         Okay.   Ms.

    6   Everett.

    7                POTENTIAL JUROR EVERETT:                  My parents both

    8   work for the federal government, and I worked for the

    9   federal government for eight years.

   10                THE COURT:      What capacity did you work for

   11   the federal government?

   12                POTENTIAL JUROR EVERETT:                  Civilian.

   13                THE COURT:      And how about them?

   14                POTENTIAL JUROR EVERETT:                  Civilian also.

   15                THE COURT:      Okay.        Anything about the fact

   16   that they worked for the government or that you did

   17   that would cause you to believe that you could not be

   18   fair or impartial in this case?

   19                POTENTIAL JUROR EVERETT:                  No.

   20                THE COURT:      Ms. Leib, did you have your hand

   21   raised as well?     Obviously you work for the state at

   22   this time.

   23                POTENTIAL JUROR LEIB:               I work for the state,

   24   but at age 50 I retired from the federal government.

   25                THE COURT:      What was your position with the



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    1   federal government?

    2               POTENTIAL JUROR LEIB:                I worked for the VA

    3   hospital.     I was a secretary.

    4               THE COURT:       Okay.        Anything about the

    5   position with the VA hospital that would lead you to

    6   believe that you would not be able to be fair or

    7   impartial in this case?

    8               POTENTIAL JUROR LEIB:                No, I would be fair

    9   and impartial.

   10               THE COURT:       Thank you.            Anyone have any

   11   litigation currently pending with the United States

   12   government?     Any anticipated litigation?                      Anyone

   13   have -- I believe, Mr. Oetting, you said you studied

   14   law, went to law school.            Anyone else study the law?

   15   Anyone have any friends or family members in law

   16   enforcement?     Ms. Everett?

   17               POTENTIAL JUROR EVERETT:                   I have several

   18   friends that are with the Collier County Sheriff's

   19   Department as youth relations deputies.

   20               THE COURT:       As youth?

   21               POTENTIAL JUROR EVERETT:                   Youth relations

   22   deputies with schools.

   23               THE COURT:       Would that affect your ability in

   24   this case, knowing them, to be fair or impartial?

   25               POTENTIAL JUROR EVERETT:                   No.



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    1              THE COURT:        Would you be able to listen to a

    2   law enforcement officer's testimony and judge that

    3   officer like you would any other witness?

    4              POTENTIAL JUROR EVERETT:                    Yes.

    5              THE COURT:        Anyone else?              All right.

    6   Mr. Bowman?

    7              POTENTIAL JUROR BOWMAN:                   I have a

    8   brother-in-law that's a deputy sheriff, but it's in

    9   Culver County, Minnesota.

   10              THE COURT:        And would that fact in any way

   11   affect your ability to be fair or impartial here today?

   12              POTENTIAL JUROR BOWMAN:                   I don't believe so.

   13              THE COURT:        Would you listen to the testimony

   14   of the law enforcement officers who testified in this

   15   case and judge their credibility like you would any

   16   other witness?

   17              POTENTIAL JUROR BOWMAN:                   I think so.

   18              THE COURT:        Okay.        Thank you, Mr. Bowman.

   19               Mr. Piccirilli?

   20              POTENTIAL JUROR PICCIRILLI:                      Yeah, I just

   21   want to say I've had two out of my last three

   22   girlfriends be opiate addicts, so I don't know how that

   23   will figure into my -- I've got views about that kind

   24   of stuff, to be totally honest about it, strong views

   25   about it, seeing it firsthand.



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    1               THE COURT:       All right.            Would those views

    2   cause you to --

    3               POTENTIAL JUROR PICCIRILLI:                     Yeah, they

    4   would.

    5               THE COURT:       Not be fair or impartial in this

    6   case --

    7               POTENTIAL JUROR PICCIRILLI:                     I think so,

    8   maybe, I think so.

    9               THE COURT:       All right.            Anyone else?      Anyone

   10   have any particularly strong feelings for or against

   11   law enforcement?      Would all of you be able to judge the

   12   credibility of a law enforcement officer the same you

   13   would any other witness?            Any of you had any family

   14   members, you yourself ever been investigated by a

   15   federal, state, or local law enforcement agency?                         Have

   16   any of you ever been arrested, charged or convicted of

   17   a felony?

   18               Mr. Tooker, you said --

   19               POTENTIAL JUROR TOOKER:                  Felony trespassing

   20   where I was fishing at was a construction site.

   21               THE COURT:       Okay.        Were your rights restored?

   22               POTENTIAL JUROR TOOKER:                  Yes.

   23               THE COURT:       Okay.        Would the fact that you

   24   have had an issue with law enforcement or that you had

   25   this particular conviction, would that affect your



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    1   ability in this case to be fair or impartial?

    2              POTENTIAL JUROR TOOKER:                   No.

    3              THE COURT:        Okay.        You also, I think, said

    4   that you had a misdemeanor marijuana charge, a driving

    5   while license suspended.            Does that in any way affect

    6   your ability to be fair or impartial here?

    7              POTENTIAL JUROR TOOKER:                   No, ma'am.

    8              THE COURT:        Okay.        Mr. Crotteau, I would ask

    9   you the same question, you had indicated you had a

   10   reckless driving, DUI, and I think you also said a

   11   minor drug offense.         Would that in any way affect your

   12   ability to be fair or impartial here today?

   13              POTENTIAL JUROR CROTTEAU:                    Unfortunately, I

   14   think it would.     The circumstances surrounding my

   15   misdemeanor drug charge --

   16              THE COURT:        Why don't you -- if you would,

   17   why don't you come up to sidebar and we'll address the

   18   issue at sidebar.       Thank you.

   19              (Bench conference was held within the

   20   presence of the jury.)

   21              POTENTIAL JUROR CROTTEAU:                    The circumstances

   22   surrounding my drug charge was I was at a rave party, I

   23   was handed ecstasy by somebody who turned out to be a

   24   law enforcement officer.            As soon as they were in my

   25   hand, I was swarmed in by other law enforcement



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    1   officers and my conviction was not -- it was like I was

    2   put on probation, but I was very suspect about the

    3   circumstances surrounding that.                  So I would be probably

    4   relatively partial against the law enforcement agencies

    5   involved in this situation.

    6              THE COURT:        Okay.        So you believe based upon

    7   the facts and circumstances of your particular

    8   situation that this would not be the type of case that

    9   you would be best suited for.

   10              POTENTIAL JUROR CROTTEAU:                    Absolutely

   11   correct, yes.

   12              THE COURT:        Okay.

   13              POTENTIAL JUROR CROTTEAU:                    Unfortunately.

   14              THE COURT:        So if you heard the testimony of

   15   the law enforcement officers in this case, I think what

   16   you're saying is you would be suspect of what they had

   17   to say?

   18              POTENTIAL JUROR CROTTEAU:                    They would have to

   19   prove well beyond a shadow of a doubt.                        They're going

   20   to have a high hill to climb with me.

   21              THE COURT:        Okay.        Questions from the

   22   government?

   23              MR. SCHMITZ:          No.

   24              THE COURT:        Mr. Joffe?

   25              MR. JOFFE:        Yes.       If you were to be told by



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    1   the court that the burden of proof is beyond a

    2   reasonable doubt and the Court would tell you that that

    3   was the standard that you must follow, if you were

    4   chosen as a juror in this case, could you follow that

    5   standard?

    6               POTENTIAL JUROR CROTTEAU:                   I believe I'm

    7   mentally capable of following a standard, but I think

    8   I'm put in a box where I'm not the best person to ask

    9   those questions.

   10               MR. JOFFE:       So you can follow that

   11   instruction.

   12               POTENTIAL JUROR CROTTEAU:                   I can follow the

   13   instructions, but I'm going to be extremely suspect

   14   about evidence presented and how it was collected

   15   during the trial; just due to the nature of the case.

   16               MR. JOFFE:       And if you were also told that

   17   the burden of proof is on the government, solely on the

   18   government, could you accept that standard of proof?

   19               POTENTIAL JUROR CROTTEAU:                   I can accept that

   20   standard of proof, yes.

   21               MR. JOFFE:       And do you believe you could be

   22   fair or impartial to the defendant in this case?

   23               POTENTIAL JUROR CROTTEAU:                   I would like to

   24   think so, yes.

   25               MR. JOFFE:       Okay.        So is that a yes?



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    1                POTENTIAL JUROR CROTTEAU:                  Yes.

    2                MR. JOFFE:      Do you believe you could be fair

    3   or impartial to the government in this case?

    4                POTENTIAL JUROR CROTTEAU:                  Most likely not.

    5                MR. JOFFE:      Thank you.

    6                THE COURT:      Anything else?

    7                MR. SCHMITZ:        No, Your Honor.

    8                THE COURT:      All right.            Thank you very much.

    9   I appreciate it.

   10                (Bench conference concluded and proceedings

   11   continued as follows:)

   12                THE COURT:      Have any of you, your close

   13   family members or friends ever been a victim of a crime

   14   that anyone hasn't told us about?

   15                POTENTIAL JUROR OETTING:                  I had a restaurant

   16   partner who stole like 250,000 Deutsche marks, I put

   17   him three years and eight months into jail.

   18                THE COURT:      Okay.        So you had -- there was a

   19   criminal case as a result of that?

   20                POTENTIAL JUROR OETTING:                  Yes, yes.

   21                THE COURT:      And did you have to testify in

   22   that case?

   23                POTENTIAL JUROR OETTING:                  But of course.

   24                THE COURT:      Would that experience in any way

   25   affect your ability to be fair or impartial in this



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    1   case?

    2                POTENTIAL JUROR OETTING:                  No, it would not.

    3                THE COURT:      All right.            And I think a couple

    4   of you had said you had been a witness in a case.

    5   Anyone else been a witness to a crime or had to testify

    6   in court about a case?           All right.           Anyone have any

    7   feelings that for any moral or religious reasons you

    8   would not be able to sit in judgment of the defendant

    9   in this case based upon the evidence that was

   10   presented?    All right.

   11                Will all of you follow the Court's

   12   instructions when I tell you that in reaching your

   13   verdict in this case you cannot let prejudice, bias, or

   14   sympathy enter into your verdict either for or against

   15   the government or for or against the defendant?                        Will

   16   all of you follow that instruction?

   17                I indicated there were a number of social

   18   media sites that many of us may go on to with the use

   19   of phones, smartphones, tablets.                   Will all of you

   20   follow the instruction and not discuss this case

   21   amongst yourselves or with anyone else until the Court

   22   indicates that you can do so?                Will all of you follow

   23   the Court's instruction on that?

   24                Anyone feel that they would not be able to

   25   not post something on their Facebook account?                        You're



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    1   all going to follow my instruction.                     Good.        And

    2   honestly and we do kid about this, but it is a very

    3   serious violation if you do so, so I want to make sure

    4   that you can all follow the Court's instruction.

    5               Anyone have any physical impairments,

    6   anything we need to know or accommodate?                         Hearing,

    7   sight difficulties, any medical conditions, anything we

    8   can assist you in that we need to know about?                              All

    9   right.   Mr. Bowman.

   10               POTENTIAL JUROR BOWMAN:                  I am hearing

   11   impaired.     I can only hear below 1800 cycles.

   12               THE COURT:       Okay.        Am I talking above or

   13   below 1800 cycles?

   14               POTENTIAL JUROR BOWMAN:                  You're below.

   15               THE COURT:       So you're having a difficult time

   16   hearing me?

   17               POTENTIAL JUROR BOWMAN:                  Not at that level,

   18   but I have when you were talking normally.

   19               THE COURT:       Okay.

   20               POTENTIAL JUROR BOWMAN:                  And any background

   21   noise at all and I can barely hear at all.

   22               THE COURT:       Is there anything we can do to

   23   accommodate you that would help, if you were given

   24   earphones or something like that, would that help you?

   25               POTENTIAL JUROR BOWMAN:                  Earphones would



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    1   work.   I do have hearing aids, but they don't work in

    2   background, where there's background noise or poor

    3   acoustics.

    4                THE COURT:      All right.            Thank you.

    5                POTENTIAL JUROR OETTING:                  I'm wearing hearing

    6   aids; just so you know.            I have a 20 percent loss, but

    7   I hear you just fine.

    8                THE COURT:      All right.            Thank you.

    9                Is there any good reason why you believe that

   10   you cannot serve on this jury?                 All right.            Then I

   11   would allow brief follow-up questions, Mr. Schmitz.

   12                MR. SCHMITZ:        Thank you, Your Honor.                  Good

   13   morning, ladies and gentlemen.                 Mr. Bowman, can you

   14   hear me?

   15                POTENTIAL JUROR BOWMAN:                 Yes, I can with the

   16   mic.

   17                MR. SCHMITZ:        What job did you have in the

   18   Navy?   In the Navy, what job did you have?

   19                POTENTIAL JUROR BOWMAN:                 I was a helicopter

   20   mechanic and crewman.

   21                MR. SCHMITZ:        And can you pass the mic to

   22   Mr. Tooker?    Mr. Tooker, you mentioned that you were a

   23   defendant in a case before.               Was that experience --

   24   were you treated fairly?

   25                POTENTIAL JUROR TOOKER:                 Yes.



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    1              MR. SCHMITZ:          Do you have any feelings about

    2   the government based upon that case?

    3              POTENTIAL JUROR TOOKER:                   No.

    4               MR. SCHMITZ:          Could you be fair and impartial

    5   to the United States in this matter?

    6              POTENTIAL JUROR TOOKER:                   Yes.

    7              MR. SCHMITZ:          Could you be fair and impartial

    8   to the defendant?

    9              POTENTIAL JUROR TOOKER:                   Yes.

   10              MR. SCHMITZ:          Can you pass the mic to

   11   Mr. Archambault?      So the same question, you were

   12   involved in a reckless driving case.                      Were you treated

   13   fairly?

   14              POTENTIAL JUROR ARCHAMBAULT:                       Yes.

   15              MR. SCHMITZ:          Is there anything about that,

   16   do you harbor any hard feelings towards the government?

   17              POTENTIAL JUROR ARCHAMBAULT:                       No.

   18              MR. SCHMITZ:          Would you be able to be fair to

   19   the government in this case?

   20              POTENTIAL JUROR ARCHAMBAULT:                       Sure.

   21              MR. SCHMITZ:          Would you be able to be fair to

   22   the defendant?

   23              POTENTIAL JUROR ARCHAMBAULT:                       Sure.

   24              MR. SCHMITZ:          Okay.        And juror number, I

   25   think it's, my handwriting is not the best.                          Mrs.



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    1   Graor-Casperson.

    2                POTENTIAL JUROR GRAOR-CASPERSON:                        Yes.

    3                MR. SCHMITZ:        You mentioned that you had

    4   previously sat on a jury.             Did that jury reach a

    5   verdict?

    6                POTENTIAL JUROR GRAOR-CASPERSON:                        Yes, they

    7   did.

    8                MR. SCHMITZ:        Thank you.            No more questions,

    9   Your Honor.

   10                THE COURT:      Mr. Joffe, brief follow-up

   11   questions?

   12                MR. JOFFE:      Yes, Your Honor.                 Thank you.

   13   Mr. Archambault, did I say it correct?

   14                POTENTIAL JUROR ARCHAMBAULT:                     Joe.

   15                MR. JOFFE:      Sorry.

   16                POTENTIAL JUROR ARCHAMBAULT:                     My name is Joe.

   17   That's probably easier.

   18                MR. JOFFE:      What's the name of the restaurant

   19   you own in Sanibel?

   20                POTENTIAL JUROR ARCHAMBAULT:                     Traders.

   21                MR. JOFFE:      How long have you owned that

   22   restaurant?

   23                POTENTIAL JUROR ARCHAMBAULT:                     13 years.

   24                MR. JOFFE:      And if you were asked to serve on

   25   this jury, say, for three days, maybe four days, would



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    1   that affect your ability to run the restaurant?

    2                POTENTIAL JUROR ARCHAMBAULT:                     No problem.

    3                MR. JOFFE:      You have folks that work for you?

    4                POTENTIAL JUROR ARCHAMBAULT:                     A lot of them.

    5                THE COURT:      Two to three days.

    6                MR. JOFFE:      And the reckless driving, did you

    7   go to trial in that case?

    8                POTENTIAL JUROR ARCHAMBAULT:                     No.

    9                MR. JOFFE:      You entered a plea.

   10                POTENTIAL JUROR ARCHAMBAULT:                     Yes.

   11                MR. JOFFE:      And why did you enter a plea in

   12   that case?

   13                POTENTIAL JUROR ARCHAMBAULT:                     On the advice

   14   of my attorney.

   15                MR. JOFFE:      Did you feel you were guilty?

   16                POTENTIAL JUROR ARCHAMBAULT:                     Yeah, I guess I

   17   was; yeah.

   18                MR. JOFFE:      What year was that?

   19                POTENTIAL JUROR ARCHAMBAULT:                     '09, I believe,

   20   '08, '09.

   21                MR. JOFFE:      '09.

   22                POTENTIAL JUROR ARCHAMBAULT:                     It could have

   23   been, I think it was about '09.

   24                MR. JOFFE:      So about seven years ago?

   25                POTENTIAL JUROR ARCHAMBAULT:                     Yes.



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    1                MR. JOFFE:      Was that here in Fort Myers?

    2                POTENTIAL JUROR ARCHAMBAULT:                     It was.

    3                MR. JOFFE:      And how long did your case take

    4   before you ended it that way?

    5                POTENTIAL JUROR ARCHAMBAULT:                     Well, it was

    6   about 20 minutes.

    7                MR. JOFFE:      Do you believe you could be fair

    8   and impartial to both the government and the defense in

    9   this case?

   10                POTENTIAL JUROR ARCHAMBAULT:                     Sure.

   11                MR. JOFFE:      Okay.        Thank you, sir, I

   12   appreciate that.      Is it Carolyn Leib, did I say it

   13   correctly, how are you, ma'am?

   14                POTENTIAL JUROR LEIB:               I'm fine.

   15                MR. JOFFE:      You worked for the VA hospital

   16   for how long?

   17                POTENTIAL JUROR LEIB:               I worked almost

   18   24 years.

   19                MR. JOFFE:      In what city?

   20                POTENTIAL JUROR LEIB:               I worked in New Jersey

   21   at -- I'm trying to think of the name of it, I've been

   22   so long ago because I retired at the age 50, and I'm

   23   now 67.

   24                MR. JOFFE:      You're still a young spring

   25   chicken.



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    1               POTENTIAL JUROR LEIB:                Oh, yeah.

    2               MR. JOFFE:       And in your work as a secretary,

    3   were you employed with doctors and nurses?

    4               POTENTIAL JUROR LEIB:                Yes, I was a Ward

    5   secretary, yeah, that was in Lyons, New Jersey.

    6               MR. JOFFE:       A ward secretary?

    7               POTENTIAL JUROR LEIB:                Ward secretary.

    8               MR. JOFFE:       What were your job duties?

    9               POTENTIAL JUROR LEIB:                To, well, just

   10   whatever the doctor wrote on the chart, you know, make

   11   appointments, you know, fix the paperwork to enroll

   12   somebody or discharge them.

   13               MR. JOFFE:       Did you deal with prescriptions

   14   at all.

   15               POTENTIAL JUROR LEIB:                Just the doctors would

   16   make them out and I would -- if they were released I

   17   would give them a prescription.

   18               MR. JOFFE:       You would hand those to the

   19   patients?

   20               POTENTIAL JUROR LEIB:                Yes.

   21               MR. JOFFE:       Other than handing the

   22   prescriptions to the patients, the physical

   23   prescriptions to the patients, did you have anything

   24   else to do with the dissemination of that medication?

   25               POTENTIAL JUROR LEIB:                No, nothing to do with



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    1   medication.

    2                MR. JOFFE:      And the fact you were employed by

    3   the federal government for a significant part of your

    4   life, and paid by the federal government, do you feel

    5   that you could be fair or impartial to a defendant

    6   who's being charged criminal by the federal government?

    7                POTENTIAL JUROR LEIB:               Yes, I do.          I would

    8   want to hear all the evidence and I would be impartial.

    9                MR. JOFFE:      Very good.            Thank you, ma'am.           I

   10   appreciate it.

   11                Thank you, Your Honor, I have no further

   12   questions.

   13                THE COURT:      All right.            Thank you.

   14                Ladies and gentlemen, you can stand and

   15   stretch.     The attorneys are going to go through their

   16   notes, and then we will come sidebar.                       So please, if

   17   you feel the need to stand and stretch, if you would

   18   like to use the restroom facilities, you are again able

   19   to do that.

   20                Counsel, whenever you have finished going

   21   through your notes, you can approach.

   22                (Bench conference was held within the

   23   presence of the jury.)

   24                THE COURT:      I'm going to tender the entire

   25   panel to the government for any challenges for cause.



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    1                MR. SCHMITZ:        Your Honor, the government

    2   would challenge Ben Crotteau, I think he's juror number

    3   26.

    4                MR. JOFFE:      No objection.

    5                THE COURT:      Based on his statements on the

    6   record, Mr. Crotteau would be challenged for cause,

    7   juror number 26.      Any other challenges?

    8                MR. SCHMITZ:        Your Honor, the government

    9   would challenge, I believe it's Michael Piccirilli for

   10   cause.

   11                THE COURT:      Juror number 34.

   12                MR. SCHMITZ:        Based on his statements

   13   about --

   14                MR. JOFFE:      No objection.

   15                THE COURT:      Based upon his statements about

   16   drugs and drug addicts, juror number 34 will be

   17   stricken at this time for cause.                   Anyone else?

   18                MR. SCHMITZ:        Your Honor, no other strikes

   19   for cause.

   20                THE COURT:      Any challenges for cause,

   21   Mr. Joffe?

   22                MR. JOFFE:      No, Your Honor.

   23                THE COURT:      All right.            Then I would tender

   24   the panel through Ms. Everett to the defense.

   25   Mr. Joffe, you would be exercising your sixth



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    1   peremptory if you chose to do so.

    2              MR. JOFFE:        Your Honor, the defense would

    3   exercise a peremptory against juror number 25, Debra

    4   Jeanne Everett.

    5              THE COURT:        The defense has exercised a

    6   challenge their sixth peremptory challenge on Ms.

    7   Everett, juror number 25.             I tender the panel to the

    8   government through Mr. Bowman, juror number 27.

    9              MR. SCHMITZ:          Judge, I just want to confirm,

   10   and I'm not moving for cause, but can we -- can the

   11   court accommodate Mr. Bowman's hearing issues?

   12              THE COURT:        We can, we're looking for -- they

   13   said we all have headphones.                I think it's the

   14   headphones that our interpreter uses maybe on another

   15   channel, but we should be able to accommodate him with

   16   headphones.

   17              MR. SCHMITZ:          We do have video and we do

   18   calls that are sort of audio sensitive, so I want to

   19   raise that.

   20              THE COURT:        Right.

   21               We can accommodate him, so it would not be a

   22   challenge for cause.         However, if you have a peremptory

   23   challenge you may use for whatever reason, that's

   24   certainly up to you.

   25              MR. SCHMITZ:          And the panel is tendered



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    1   through which juror again?

    2              THE COURT:        Mr. Bowman, juror number 27.

    3              MR. SCHMITZ:          The government accepts the

    4   panel.

    5              THE COURT:        I would tender the panel through

    6   Mr. Bowman to the defense.

    7              MR. JOFFE:        And that gives us how many jurors

    8   now?

    9              THE COURT:        12.

   10              MR. JOFFE:        Okay.        So we need two alternates;

   11   correct?

   12              THE COURT:        If you're accepting Mr. Bowman.

   13              MR. JOFFE:        We'll accept Mr. Bowman, Your

   14   Honor.

   15              THE COURT:        All right.            Then that would be

   16   the panel, just so we have it, it would be Dr. Akrami,

   17   Mr. Wynne, Dr. Stevens, Ms. Squatrito, Mr. Clark,

   18   Mr. Everling, Ms. Shade, Ms. Dickens, Mr. Stidam,

   19   Mr. Hunter, Mr. Boyd, and Mr. Bowman.                       That would be

   20   your panel.

   21              MR. JOFFE:        That's correct.

   22              THE COURT:        The first two alternates then are

   23   Ms. Gio and Mr. Joyce, you each have one peremptory

   24   challenge to use.       I tender the panel to you.

   25              MR. SCHMITZ:          The government accepts the



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    1   panel.

    2               THE COURT:       Mr. Joffe, Ms. Gio, Mr. Joyce?

    3               MR. JOFFE:       Your Honor, I would move to

    4   strike juror number 28, Ms. Gio.

    5               THE COURT:       All right.            So you have used your

    6   strike, your alternate strike on Ms. Gio.                            I'll tender

    7   Mr. Joyce and Mr. Tooker to the government.

    8               MR. SCHMITZ:         Your Honor, the government is

    9   going to use a peremptory strike on Mr. Tooker.

   10               THE COURT:       The government has used its

   11   strike on juror number 30, Mr. Tooker.                        That would mean

   12   juror number 29, Mr. Joyce, and juror number 31,

   13   Mr. Archambault, would be your two alternates.

   14               MR. JOFFE:       Very good.

   15               MR. SCHMITZ:         Okay.

   16               THE COURT:       Do you want to do your openings

   17   before?    I have to instruct them and do openings.

   18               MR. LAZARUS:         If it's an option -- Your

   19   Honor, I'm going to open for the government, if it's an

   20   option, I prefer after lunch, but I'm prepared to

   21   proceed, if that's what you would like.

   22               THE COURT:       Why don't we give them until

   23   quarter to 1:00, I'll swear them after lunch then,

   24   instruct them and we'll do your openings and we'll

   25   proceed.



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    1              MR. JOFFE:        So we'll do openings after lunch?

    2              THE COURT:        Yes.

    3              MR. JOFFE:        That's fine.

    4              THE COURT:        Because otherwise I'll have to

    5   instruct them -- well, we can swear them, instruct

    6   them, and do openings after lunch, that would get that

    7   portion of things out of the way.

    8              MR. LAZARUS:          That's fine with me.

    9              THE COURT:        Let's go ahead and do that.

   10              (Bench conference concluded and proceedings

   11   continued as follows:)

   12              THE COURT:        Ladies and gentlemen, we have

   13   been able to select a jury.               At this point I will read

   14   the names of the individuals who will need to remain

   15   with us and will be sitting on the jury to try this

   16   case.   They are Dr. Akrami, Mr. Wynne, Dr. Stevens, Ms.

   17   Squatrito, Mr. Clark, Mr. Everling, Ms. Shade, Ms.

   18   Dickens, Mr. Stidam, Mr. Hunter, Mr. Boyd, Mr. Bowman,

   19   Mr. Joyce, and Mr. Joe Archambault.                     The others of you

   20   are excused with our thanks.                You will need to call

   21   back in this evening to the jury clerk.                        And, ladies

   22   and gentlemen, we did not get to you, you were close,

   23   but at this time I'm also going to release you with the

   24   Court's thanks.      Please do call in this evening at

   25   6:00.   Thank you.      And you are excused at this time as



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    1   well.

    2               (Prospective jurors exited the courtroom.)

    3               THE COURT:       Is this the jury that the

    4   government has selected?

    5               MR. SCHMITZ:         Yes, Your Honor, it is.

    6               THE COURT:       Is this the jury the defense has

    7   selected?

    8               MR. JOFFE:       Yes, Your Honor.

    9               THE COURT:       All right.            Then, ladies and

   10   gentlemen, I'm going -- do you need to stand and

   11   stretch?    If you need to walk or stretch, do whatever

   12   you need to do.

   13               Ladies and gentlemen, if you would please

   14   stand and raise your right hands, I'm going to have the

   15   clerk swear you in.

   16               (Jury was sworn.)

   17               THE COURT:       You may be seated.                  Just so you

   18   know, ladies and gentlemen, what I'm going to do is I'm

   19   going to instruct you, give you the preliminary

   20   instructions.     Once we come back, we'll remove the

   21   chairs in the front row and you'll be able to sit back

   22   in the jury box.      If you're comfortable for a few more

   23   minutes, let me just go ahead and read the preliminary

   24   instructions, if that's okay with you from where you

   25   are.



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    1               Ladies and gentlemen, now that you have been

    2   sworn, I need to explain some basic principles about a

    3   criminal trial and your duty as jurors.                        These are

    4   preliminary instructions.             At the end of the trial, I

    5   will give you more instructions, more detailed

    6   instructions.

    7               It will be your duty to decide what happens

    8   so you can determine whether the defendant is guilty or

    9   not guilty of the crimes charged in the indictment.                        At

   10   the end of the trial, I will explain the law that you

   11   must follow to reach your verdict.                    You must follow the

   12   law as I explain it to you, even if you do not agree

   13   with the law.    You must decide the case solely on the

   14   evidence that's presented here in the courtroom.

   15   Evidence can come in many forms.                   The evidence

   16   presented to you during the trial will primarily

   17   consist of the testimony of the witnesses and tangible

   18   items, including papers or documents called exhibits.

   19               Some evidence proves a fact indirectly.

   20   Indirect evidence, sometimes called circumstantial

   21   evidence, is simply a chain of circumstances that

   22   proves a fact.     As far as the law is concerned, it

   23   makes no difference whether evidence is direct or

   24   indirect.   You must choose to believe or disbelieve

   25   either kind and should give every piece of evidence



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    1   whatever weight that you think it deserves.

    2                Statements and arguments of the lawyers is

    3   not evidence.    In their opening statements and closing

    4   arguments, the lawyers will discuss the case, but their

    5   remarks are not evidence.             Questions and objections of

    6   the lawyers are not evidence; only the witness's

    7   answers are evidence.          You should not think that

    8   something is true just because a lawyer's question

    9   suggests that it is.

   10                There are rules of evidence that control what

   11   can be received into evidence.                 From time to time

   12   during the trial I may be called upon to make rulings

   13   of law on objections or motions made by the lawyers.

   14   You should not infer or conclude anything from any

   15   ruling or other comment that I may make that I have any

   16   opinions on the merits of the case favoring one side or

   17   the other.    If I overrule the objection, then the

   18   question may be answered or the exhibit received.                         If I

   19   sustain the objection, then the question cannot be

   20   answered and the exhibit cannot be received.                         And if I

   21   should sustain an objection to a question that goes

   22   unanswered by a witness, you should not guess or

   23   speculate what the answer might have been nor should

   24   you draw any inferences or conclusions from the

   25   question itself.      That means that when you are deciding



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    1   the case, you must not consider that evidence.

    2                Some evidence is admitted only for a limited

    3   purpose.     When I instruct you that an item of evidence

    4   has been admitted for a limited purpose, you must

    5   consider it only for that limited purpose and no other.

    6                During the trial it may be necessary for me

    7   to confer with the lawyers from time to time out of

    8   your hearing with regard to questions of law or

    9   procedure that require additional consideration.                     On

   10   some occasions you may be excused from the courtroom

   11   for that same reason.          I'll try to limit these

   12   interruptions as much as possible, but you should

   13   understand and remember the importance of the matter

   14   that you are here to determine and should be patient,

   15   even though the case may seem to go slowly at times.

   16                As I mentioned earlier, the court reporter

   17   transcribes and takes down everything that is said in

   18   the courtroom, including the testimony of the

   19   witnesses.     She does so in case it should become

   20   necessary at a future date to prepare printed

   21   transcripts of any portion of the trial proceedings.

   22   However, these transcripts will not be prepared in

   23   sufficient time or appropriate form for your use during

   24   your deliberations, and you should not expect to

   25   receive them.     Therefore, you should pay close



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    1   attention to the testimony because it will be necessary

    2   for you to rely upon your memories concerning what the

    3   testimony was.

    4               On the other hand, any exhibits admitted into

    5   evidence during the trial will be available to you for

    6   detailed study, if you wish, during your deliberations.

    7   So if an exhibit is received into evidence but is not

    8   fully read to you or shown to you at the time, don't be

    9   concerned because you will get to see and study it

   10   later during your deliberations.

   11               You will during the course of the trial be

   12   permitted to take notes.            On the other hand, if you

   13   don't want to take notes, of course, you're not

   14   required to take notes.            That will be left up to you

   15   individually.    If you decide to take notes, do not try

   16   to write everything down because you will get so

   17   involved in note taking that you might become

   18   distracted from the ongoing proceedings.                         Just make

   19   notes of names or dates and places; things that might

   20   be difficult to remember.             Also your notes should be

   21   used only as aids to your memory, and if your memory

   22   should later differ from your notes, you should rely

   23   upon your memory and not your notes.                      If you do not

   24   take notes, you should rely upon your own independent

   25   recollection or memory of what the testimony was, and



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    1   you should not be unduly influenced by the notes of

    2   other jurors.     Notes are not entitled to any greater

    3   weight than the recollection or impression of each

    4   juror concerning what the testimony was.

    5               You'll be provided with a notebook for taking

    6   notes, and you'll leave that notebook in the jury room

    7   every evening before you leave.                  So write your name on

    8   your notebook so it can be returned to you each

    9   morning.   After the trial is completed, your notes will

   10   be destroyed.

   11               In reaching your verdict, you may have to

   12   decide what testimony to believe and what testimony not

   13   to believe.     You may believe everything a witness says

   14   or part of it or none of it.                In considering the

   15   testimony of any witness, you may take into account the

   16   opportunity and ability of the witness to see or hear

   17   or know the things testified to, the witness's memory,

   18   the witness's manner while testifying, the witness's

   19   interest in the outcome of the case and any bias or

   20   prejudice, whether other evidence contradicted the

   21   witness's testimony, the reasonableness of the

   22   witness's testimony in light of all of the evidence and

   23   any other factors that bear on believability.                        I will

   24   give you additional guidelines for determining

   25   credibility of witnesses at the end of the case.



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    1               As you know, this is a criminal case.                       There

    2   are three basic rules about a criminal case that you

    3   must first keep in mind.            The defendant is presumed

    4   innocent until proven guilty.                The indictment against

    5   the defendant brought by the government is only an

    6   accusation; nothing more.             It is not proof of guilt.

    7   Second, the burden of proof is on the government until

    8   the very end of the case.             The defendant has no burden

    9   to prove his innocence or to present any evidence or to

   10   testify.

   11               Since the defendant has the right to remain

   12   silent and may choose whether to testify, you cannot

   13   legally put any weight on a defendant's choice not to

   14   testify.   Third, the government must prove the

   15   defendant's guilt beyond a reasonable doubt.                         I will

   16   give you further instructions on this point later.

   17               During the trial, you should keep an open

   18   mind and should avoid reaching any hasty impressions or

   19   conclusions.    Reserve your judgment until you have

   20   heard all of the testimony in evidence, the closing

   21   arguments or summations of the lawyers, and my

   22   instructions or explanations to you concerning the

   23   applicable law.

   24               Because of your obligation to keep an open

   25   mind during trial coupled with your obligation to then



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    1   decide the case only on the basis of the testimony and

    2   evidence presented, do not talk either among yourselves

    3   or with anyone else about anything related to the case.

    4   You may tell the people with whom you live and your

    5   employer that you are a juror and give them information

    6   about when you will be required to be in court, but you

    7   may not discuss with them or anyone else anything

    8   related to the case.

    9               Our law does not permit jurors to talk with

   10   anyone else about the case or to permit anyone to talk

   11   to them about the case because only jurors are

   12   authorized to render a verdict.                  Only you have been

   13   found to be fair and only you have promised to be fair,

   14   no one else is so qualified.

   15               To avoid the risk of contact with the

   16   parties, lawyers, and witnesses, please don't wander

   17   the halls or use the public restrooms in the building.

   18   When you report for duty each morning, then please go

   19   straight to the jury deliberation room, same thing when

   20   you come back from lunch, go immediately to the jury

   21   deliberation room.

   22               Do not visit or view the premises or place

   23   where the charged crime was allegedly committed or any

   24   other premises or place involved in the case.                        Our law

   25   does not permit you to visit a place discussed in the



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    1   testimony.    First you cannot be sure that the place is

    2   in the same condition as it was on the day in question;

    3   second, even if it were in the same condition, once you

    4   go to a place discussed in the testimony to evaluate

    5   the evidence in light of what you see, you become a

    6   witness not a juror.

    7                Do not read, watch, or listen to any counts

    8   or discussions related to the case which may be

    9   reported by newspapers, television, radio, the

   10   Internet, or any other news media.                    Do not attempt to

   11   research any fact, issue, or law related to this case,

   12   when by discussions with others, by library or Internet

   13   research or by any other means or source.                            Your

   14   decision must be based solely on the testimony and

   15   other evidence presented in this courtroom.                            Also the

   16   law often uses words and phrases in special ways, so it

   17   is important that any definitions you hear come from

   18   me, not from any other source.

   19                In this age of instant electronic

   20   communication and research, I again want to emphasize

   21   that in addition to not taking -- talking face-to-face

   22   with anyone about the case, you must not communicate

   23   with anyone about the case by any other means,

   24   including telephone, text messages, e-mail, Internet

   25   chat, chat room, blogs, or social networking website,



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    1   such as Facebook, My Space, or Twitter.                        You must not

    2   provide any information about the case to anyone by any

    3   means whatsoever, and that includes posting information

    4   about the case or what you're doing in the case on any

    5   device or Internet site, including blogs, chat rooms,

    6   social websites, or any other means.

    7                You also must not use Google or otherwise

    8   search for any information about the case or the law

    9   that applies to the case or the people involved in the

   10   case, including the defendant, the witnesses, the

   11   lawyers, or the Court.           It is important that you

   12   understand why these rules exist and why they're so

   13   important.    These rules are designed to help guarantee

   14   a fair trial, and our law accordingly sets forth

   15   serious consequences if the rules are not followed.                           I

   16   trust that you understand and appreciate the importance

   17   of following these rules.             In accord with your oath and

   18   promise I know that you'll do so.

   19                The trial is going to begin after lunch.                     The

   20   attorneys will be giving you their opening statements,

   21   which will outline the case.                And then the government

   22   will go forward with the calling of witnesses and

   23   presentation of evidence, what we call the government's

   24   case in chief.     When the government finishes by

   25   announcing that they rest, then the defendants may



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    1   proceed with witnesses and evidence if they wish.

    2   After which with certain limitations the government may

    3   be permitted to again call witnesses or present

    4   evidence during what we call the rebuttal phase of the

    5   trial.   The government proceeds first and may rebut at

    6   the end because the law places the burden of proof on

    7   the government, as I will explain to you as part of

    8   many I final instructions.

    9               When the evidence portion of the trial is

   10   completed, the lawyers will then be given another

   11   opportunity to address you and make their summations or

   12   final arguments in the case, after which I will

   13   instruct you on the applicable law and you will then

   14   retire to deliberate upon your verdict.

   15               All right.        Then we're about to take our

   16   first recess, so I remind you of the instructions.

   17   During this recess or any other, you must not discuss

   18   the case with anyone else, including your fellow

   19   jurors, members of your family, people involved in the

   20   trial or anyone else.          If anyone tries to talk to you

   21   about the case, please let me know about it

   22   immediately.    Do not read, watch, or listen to any news

   23   reports on the trial.          Finally keep an open mind until

   24   all of the evidence has been received and you have

   25   heard the views of your fellow jurors.



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    1               Although I may not repeat this instruction

    2   every time that we take a recess, I will certainly be

    3   asking you if you have followed the Court's

    4   instructions on the law and have not discussed this

    5   case amongst yourselves or with anyone else.

    6               All right.        Then we're going to go ahead and

    7   take our luncheon recess at this time.                        We'll be back

    8   at 1:00, and at that time then counsel will start with

    9   their opening statements.             Anything else at this time?

   10               MR. SCHMITZ:         Nothing from the government,

   11   Your Honor.

   12               MR. JOFFE:       Nothing from the defense, Your

   13   Honor.

   14               THE COURT:       All right.            Then, ladies and

   15   gentlemen, you are excused at this time to go to lunch,

   16   and we will see you back here in this courtroom at

   17   1:00.    We're in courtroom 5 D on the fifth floor.

   18               (Jury out at 11:42 a.m.)

   19               THE COURT:       Counsel, you are excused.                 We'll

   20   be back at 1:00 for opening statements.

   21               (A break was taken.)

   22               THE COURT:       Let the record reflect counsel is

   23   present in court with the defendant.                      Anything we need

   24   to discuss before the jury comes out?

   25               MR. SCHMITZ:         Nothing from the government,



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    1   Your Honor.

    2                MR. JOFFE:      No, Your Honor.

    3                THE COURT:      Then if you would bring them out,

    4   please.

    5                (Jury in at 1:03 p.m.)

    6                THE COURT:      Ladies and gentlemen, when you

    7   come in, if you sit down, that's great, because if you

    8   don't sit down, we won't sit down, and it becomes a

    9   standoff and it's just not good.                   So when you come on

   10   in, we're standing in deference to you as our jury, so

   11   please sit down as soon as you get into the courtroom.

   12   All right.     I believe the parties are ready, if they

   13   would like to give an opening statement.                         I did

   14   indicate to you earlier that the opening statement is

   15   not evidence, but it's meant to guide you for the trial

   16   to come.     So please listen carefully to the attorneys,

   17   if they wish to give an opening statement.

   18   Mr. Lazarus, you are proceeding?

   19                MR. LAZARUS:        Yes, Your Honor.

   20                THE COURT:      All right.

   21                MR. LAZARUS:        Thank you, Your Honor.                  May it

   22   please the Court.

   23                THE COURT:      You may proceed.

   24                MR. LAZARUS:        Good afternoon, ladies and

   25   gentlemen.     My name is David Lazarus, as you heard I'm



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    1   an assistant United States attorney, and I'm one of the

    2   attorneys who are representing the government in this

    3   case.    This is a case about this defendant, Norris

    4   Williams, selling drugs and agreeing and trying to buy

    5   a large quantity of drugs here in Fort Myers in the

    6   Middle District of Florida.

    7               The evidence will show that on three

    8   occasions between 2014 and into 2015 this defendant met

    9   with the DEA undercover officer who I'll call either an

   10   officer on an undercover periodically, or by name

   11   throughout my opening statement today.                        On those dates

   12   this defendant sold that undercover officer heroin.

   13               The evidence will also show that after those

   14   three deals took place, at a later time the defendant

   15   met another person who he believed was a big time drug

   16   connection, a big time drug importer, and that the

   17   defendant agreed and attempted to buy a kilogram of

   18   heroin from that person in exchange for a down payment

   19   of $50,000.    What you will learn is that that so-called

   20   importer or that connection was also an undercover

   21   agent working with the DEA and was, in fact, a second

   22   undercover operative.

   23               The defendant is accused in a four-count

   24   indictment, which the Court reviewed with you earlier

   25   today.   Counts 1 through three allege that the



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    1   defendant possessed with the intent to distribute and

    2   distributed a mixture or a substance containing a

    3   detectable amount of heroin.                In other words, in those

    4   counts the defendant is accused of possessing and

    5   selling heroin.     The fourth count alleges that the

    6   defendant attempted to possess with intent to

    7   distribute a kilogram or more of a mixture or substance

    8   containing a detectable amount of heroin.                            It's another

    9   mouthful.     In other words, what that one says is that

   10   the defendant tried to possess a kilogram or more of

   11   heroin that he intended to sell.

   12               During the course of this trial you're going

   13   to hear from the two undercover operatives who were

   14   working with the DEA, you'll hear from a DEA special

   15   agent, and from forensic scientists, from chemists who

   16   work for the DEA in a lab.              They tested the drugs that

   17   the defendant sold to the government on those three

   18   occasions, and they'll tell you what their findings

   19   were.

   20               As you sit and listen to the testimony and

   21   you see the exhibits and you see and hear some of the

   22   video and audio evidence, it may be helpful for you to

   23   have some context, and so I would like to tell you a

   24   little bit about what the evidence will show during

   25   this trial.     In Count 1 on or about November 18th,



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    1   2014, a DEA undercover by the name of detective Samuel

    2   Gonzalez arranged to meet with the defendant here in

    3   Fort Myers to complete a drug deal.                     You're going to

    4   see how fast drug deals can happen.                     The defendant

    5   arrived and he got into an undercover police vehicle

    6   and he sold Detective Gonzalez heroin.                        During the

    7   course of that transaction, the defendant told the

    8   undercover, if you make money, I make money.

    9               Ladies and gentlemen, the transaction was

   10   recorded, and you're going to see the video, you'll

   11   hear the conversation, and you'll also hear the

   12   testimony of the undercover.                You will also learn

   13   during the transaction and during other transactions

   14   you're going to get a little bit of an education about

   15   drug terminology, you're going to hear words some of

   16   which may be familiar to you, and some you may not be

   17   as familiar with, you're going to hear terms like

   18   whole, half, key, brick, kilo, terms that you may not

   19   be used to using on a regular basis.                      If you pay

   20   attention, as I know you will, you listen to the

   21   witnesses, they're going to explain what some of those

   22   terms mean, and the evidence will also provide you with

   23   context as you hear those terms, you'll understand what

   24   they mean in this particular case when they're used by

   25   the witnesses, by the defendant, by others.                          And,



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    1   again, you'll hear and see video, you'll hear audio,

    2   you'll have an opportunity to determine what those

    3   terms are for yourself.

    4               You will learn that after the defendant gave

    5   the undercover heroin on November 18th, 2014, the

    6   undercover gave that heroin to one of the case agents,

    7   special agent Mark Strang, who secured those drugs and

    8   he had them transferred, ultimately they were

    9   transferred to a DEA chemical lab where they were

   10   tested and you'll hear, as I said from the chemist who

   11   tested it and confirmed that it is a mixture or

   12   substance containing a detectable amount of heroin.

   13               About a month later on December 17th, 2014,

   14   there was another transaction.                 This time the

   15   undercover, Detective Gonzalez again, arranged to meet

   16   with the defendant here in Fort Myers in the Middle

   17   District of Florida.         This was another fast

   18   transaction.     The defendant approached and he stood by

   19   the undercover driver -- the undercover officer's

   20   driver side window and he sold heroin, a mixture or

   21   substance containing heroin, to the undercover again on

   22   that occasion.     You're going to see the video of that

   23   transaction, you'll also hear testimony from the

   24   undercover about what occurred.                  You will learn that as

   25   with the first transaction, after this transaction the



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    1   defendant provided the undercover with the heroin, the

    2   undercover provided it to special agent Mark Strang, it

    3   was ultimately secured, transferred to the chem lab and

    4   was thereafter tested by a chemist who confirmed that

    5   the substance that the United States purchased from the

    6   defendant was, in fact, a mixture or substance

    7   containing a detectable amount of heroin.

    8               On February 11th, 2015, the undercover

    9   detective Gonzalez again met with the defendant in Fort

   10   Myers.   This time there was also a second undercover

   11   present, this was a female undercover operative who was

   12   present for that transaction.                As with before the

   13   defendant arrived, met with the undercovers, provided

   14   them with a mixture or substance containing heroin in

   15   exchange for money.         The defendant also provided the

   16   undercover more heroin -- pardon me, ladies and

   17   gentlemen, I apologize.            The defendant also provided

   18   the undercover with more heroin than the undercover had

   19   paid for with the understanding that it would be on

   20   credit and that the undercover would repay the

   21   defendant during a future transaction.                        And, again, as

   22   with the first two transactions, you're going to see

   23   the video, you'll hear the audio and you're going to

   24   hear testimony from Detective Gonzalez, the undercover,

   25   about what happened.



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    1               As before, the drugs that were purchased from

    2   the defendant, were safeguarded, secured, transferred

    3   to the lab, a chemist reviewed the items that were

    4   purchased from the defendant, that he sold to the

    5   government, and the chemist determined that they were a

    6   mixture or substance containing heroin, and you're

    7   going to hear again from the chemist with respect to

    8   the testing that was done there.

    9               The investigation did not end after the

   10   defendant sold the DEA heroin on three occasions.                      The

   11   evidence is going to show that the investigation, in

   12   fact, continued and that instead on July 2nd, 2015, yet

   13   another DEA undercover by the name of Victor Chica met

   14   with the defendant, they met at a restaurant here in

   15   Fort Myers at Ker's Wing House.                  As you will learn in

   16   this meeting, the roles were reversed and so rather

   17   than the defendant selling heroin to the government, at

   18   this point the defendant was interested in purchasing a

   19   large amount of heroin and the new undercover, Victor

   20   Chica, was acting as a salesperson.

   21               Victor Chica who you're going to hear from,

   22   met with the defendant and discussed selling a large

   23   quantity of heroin to the defendant.                      The meeting was

   24   recorded but you'll learn that the recording was too

   25   poor quality, so you're going to hear the recording of



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    1   this meeting at the Wing House.                  You will hear

    2   testimony from the undercover, Victor Chica, who is

    3   going to tell you that at that meeting they

    4   discussed -- the defendant said he was looking for --

    5   the undercover told the defendant he was looking for a

    6   business associate or a connection here in southwest

    7   Florida.

    8               The defendant told the undercover, and I'm

    9   summarizing, you'll hear the testimony, but that the

   10   defendant said he could be that connection here in

   11   southwest Florida.        The undercover told the defendant

   12   that his heroin that the undercover could provide was

   13   shipped directly from heroin (sic), and it was very

   14   pure and could be further diluted so it could be sold

   15   in bigger quanties, it could be cut.                      And you'll learn

   16   about that from the undercover what that means, and it

   17   could be diluted and sold further to other people and a

   18   larger quantity than what's actually purchased from the

   19   undercover.    The defendant and the undercover discussed

   20   prices, and they agreed to set up a deal in the future.

   21               Another term you'll learn about is flash or

   22   reverse flash.     That's what happened on July 22nd,

   23   2015.   A flash is a meeting between the DEA and the

   24   defendant where the DEA displayed for the defendant

   25   heroin, the merchandise, to demonstrate they're bona



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    1   fide, to show that they are who they say they are and

    2   they can provide what they say they're going to

    3   provide.    The undercover, Victor Chica, and another

    4   undercover met with the defendant at the TGI Fridays

    5   parking lot in the Belltower Mall here in Fort Myers

    6   not far from the courthouse.                This meeting was recorded

    7   and you're going to see the video, you're going to

    8   listen to the meeting, and you're going to hear from

    9   Victor Chica who is going to tell you about what

   10   happened.   As I said, the purpose of the meeting was to

   11   show the defendant one kilogram of heroin to

   12   demonstrate the quality of the heroin that the

   13   defendant could buy from this undercover and to ensure

   14   that the defendant knew that he was dealing with

   15   legitimate drug dealers and not with thieves or with

   16   people who were looking to scam him.

   17               You're going to hear from DEA special agent

   18   Mark Strang, one of the case agents who is here at

   19   counsel table, that he assisted the DEA in this

   20   investigation and that prior to the flash meeting he

   21   requisitioned, he requested a kilogram, a brick of

   22   heroin from the DEA for them to use at this undercover

   23   meeting with the defendant, this reverse flash meeting.

   24   At the flash you will see on the video the defendant

   25   arrived and he sat in the undercover vehicle which was



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    1   equipped with a camera and was recording.                            The

    2   defendant was handed a brick, which is a packaged

    3   portion of drugs that was represented to be a whole

    4   key, which is a whole kilogram of heroin.

    5               If you listen closely, you will hear the

    6   defendant say, among other things, he will say whole

    7   key, referring to kilogram, and you will hear reference

    8   to a whole, referring, again, to a whole kilogram of

    9   heroin.    Pay close attention, as I know you will, to

   10   the video and the transcript.                When we play a video for

   11   you and I'll get into a moment some phone calls, you're

   12   going to hear a number of phone calls, there will be

   13   transcripts that are going to display for you on the

   14   screen as the audio is going, so you'll be able to

   15   follow along closely with the transcripts, as well as

   16   listening to the exhibits as they're being displayed

   17   for you.

   18               At the meeting the evidence will show that

   19   the defendant demonstrated his belief that he was

   20   looking at a whole kilogram of heroin, and you will

   21   hear him say things such as, why did you bring the

   22   whole thing to this meeting and you will hear the

   23   defendant say, I don't want to cut into a whole key, as

   24   the defendant is attempting to cut into the brick that

   25   the undercover brought to the meeting so that the



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    1   defendant could take a sample out of that so that the

    2   defendant could be satisfied with the quality of the

    3   heroin that was being offered for sale.                        You'll see

    4   that, you'll hear that, and you'll hear testimony about

    5   that.

    6               The evidence will show that the defendant

    7   believed at that meeting that he was looking at a whole

    8   key, a whole kilogram.           You're going to learn that the

    9   meeting was a theatrical show, that it was just

   10   designed to display to the defendant the alleged

   11   kilogram of drugs to see if he, the defendant, wanted

   12   to have further dealings and to make a deal to buy a

   13   kilogram just like that one.                The defendant at that

   14   meeting, at the reverse flash, asked how much a whole

   15   cost, and he was told by the undercover, 75 thousand

   16   dollars.    And numbers become important as the evidence

   17   continues, and so if you listen whenever numbers are

   18   discussed, you'll be able to follow as the evidence

   19   comes in.   So 75 thousand dollars was the quoted price

   20   for a whole kilogram of heroin during that flash

   21   meeting.

   22               You'll see, as I said, the defendant used a

   23   knife to cut into the material to inspect the heroin

   24   for quality, and you will hear the defendant discuss

   25   his plans to distribute the heroin that he might buy in



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    1   the future to others.          The defendant told the

    2   undercover that if the heroin was good quality, and,

    3   again, I'm summarizing, you're going to see the meeting

    4   and you'll hear the testimony, but it is anticipated to

    5   say that the defendant told the undercover if the

    6   heroin is of good quality it would sell really fast in

    7   the streets and that he the defendant was going to

    8   contact somebody who would invest the money to buy pure

    9   heroin and that the defendant would let the undercover

   10   know when he was ready to proceed with the deal.

   11                Over the course of about September 16th

   12   through October 15th, the undercover, Mr. Chica,

   13   Detective Chica, and the defendant engaged in multiple

   14   phone calls about purchasing heroin, and you're going

   15   to hear a number of those calls.                   For example, on

   16   September 16th, 2015, Detective Chica called the

   17   defendant.    During the conversation the defendant said,

   18   and again, I'm summarizing, you're going to hear the

   19   call, that he did not have enough money to purchase a

   20   whole but he told the undercover he could purchase a

   21   half instead.     And you'll hear the audio and you'll see

   22   the transcript.     Pay attention to this call as with the

   23   others to the numbers that are being discussed.                      You'll

   24   hear the defendant first offer 37 thousand dollars for

   25   a half of a kilo, and then you'll hear the defendant



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    1   correct himself and suggest $37,500, which as you'll

    2   note, is half of 75 thousand, the price that's quoted

    3   to the defendant during the reverse flash meeting.

    4               On that same day during another phone call

    5   the defendant asked Detective Chica, he called him back

    6   and he confirmed that he wanted a half.                        Agent Chica

    7   told the defendant that he now had spoken to his boss

    8   and he was only authorized to sell the defendant a half

    9   a kilo for 40 thousand dollars, so the price during

   10   this call is established for a half a kilo of 40

   11   thousand dollars, and you'll hear that and you'll see

   12   the transcript.     As you're going to see and hear, they

   13   agree to do a deal on that call, they ultimately did do

   14   a deal, but it ended up being for a whole at 50

   15   thousand dollars with the remainder on credit, 50

   16   thousand dollars down payment.

   17               On October 2nd, 2015, Detective Chica

   18   returned a call from the defendant and told him that

   19   the heroin would be arriving within about a week.                        The

   20   defendant told the undercover that he was going to try

   21   to come up with even more money to be ready, and when

   22   you listen to the call, you're going to hear the

   23   defendant convincing and trying to tell the undercover

   24   that he is the right man for the job, he just needs the

   25   right product from the undercover in order to prove



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    1   that he's worthy of being part of the undercover's

    2   operation.

    3                If you listen closely to the calls you're

    4   going to hear how the defendant describes himself, how

    5   he describes his intent, what he plans to do with the

    6   heroin that he purchases, and you'll hear that in the

    7   defendant's own words through these calls.                           The

    8   defendant told the undercover that he had 40 thousand

    9   dollars available.        You're going to hear that the

   10   undercover offered to the defendant that if the

   11   defendant could come up with 50 thousand dollars as the

   12   down payment, the undercover would provide the rest to

   13   the defendant, a whole, and the defendant could pay him

   14   back after he sold the heroin that he obtained and

   15   possessed from the undercover.                 When you listen to the

   16   call, keep in mind the discussion about a whole key

   17   during the flash meeting and listen as the undercover

   18   offers the defendant the same thing the undercover

   19   showed him at the flash meeting, that brick, that

   20   kilogram of heroin that the defendant cut into at that

   21   flash meeting.

   22                During another call on October 5th, 2015,

   23   there was another phone call and the defendant advised

   24   that he had almost all of the money together.                              On

   25   October 13th, 2015, you will hear a telephone call



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    1   where the defendant again told the undercover that he,

    2   the defendant, was looking for an opportunity to show

    3   what he's capable of doing and during which the

    4   defendant asked for a delivery date for the heroin

    5   because he had money ready.

    6               On October 15th, 2015, the defendant told the

    7   undercover he would be ready in a matter of days on

    8   that coming Sunday, and the undercover told him that he

    9   wouldn't be ready that day, he would be ready on a day

   10   shortly thereafter.         During the conversation, the

   11   undercover provided the defendant with some of the

   12   details of how the transaction would happen, they had a

   13   discussion about that, and the defendant told the

   14   undercover that he, the defendant, had approximately 45

   15   thousand to 46 thousand dollars ready to go to purchase

   16   heroin.

   17               On October 20th, 2015, the defendant was

   18   arrested by the DEA.         He was arrested during the course

   19   of attempting to purchase one whole kilogram of heroin

   20   from what he believed was his connection to Columbia.

   21   You're going to see the video and you're going to hear

   22   testimony from the undercover, Detective Chica.                      Prior

   23   to the defendant's arrest on that day, they had a phone

   24   call to meet at a shopping center here in Lee County.

   25   The undercover told the defendant, and you'll hear this



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    1   as well, it's exactly the same thing you saw last time,

    2   he's bringing, referring to the whole kilogram that was

    3   shown during the reverse flash meeting.

    4               You will see and hear that the defendant had

    5   an opportunity to end his dealings and walk away from

    6   the deal, and instead you will see that the defendant

    7   went to the prearranged location, he arrived, he got

    8   out of his car, he came into the front passenger seat

    9   of an undercover vehicle that was being driven by the

   10   undercover Detective Chica.               Inside the vehicle the

   11   defendant told Detective Chica he was ready to go, he

   12   had 50 thousand dollars with him, it was in his car a

   13   short distance away.         And, again, keep in mind the

   14   numbers as you listen and you watch the video.                       The

   15   defendant arrives with 50 thousand dollars, 75 thousand

   16   had been the original quoted price you will hear, you

   17   will hear there's a 50 thousand dollars with the

   18   remainder on credit and the half of the kilogram was 40

   19   thousand dollars.

   20               So keep in mind the numbers, and you will see

   21   the defendant arrive, meet with the undercover, go to

   22   his vehicle, come back with a shoe box that he says

   23   contains 50 thousand dollars.                Detective Chica told the

   24   defendant once the money arrived he would look at it

   25   and then the heroin would be brought to the vehicle.



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    1   The defendant told the undercover that he expected to

    2   have the rest of the money after he sold some heroin.

    3   Agents thereafter moved in and they arrested the

    4   defendant.     You're going to get a crash course in drug

    5   dealing 101, you're going to see it on both sides here

    6   as the defendant participated, selling and attempting

    7   to obtain and possess a large quantity, a kilogram of

    8   heroin with the intent to further distribute that.

    9                You will see the videos, you will hear audio,

   10   you'll read the transcripts, you will see the drugs,

   11   you will hear from lab analysts, you will hear terms

   12   like whole, half, key, brick, reverse.                        You will see

   13   and hear the context those terms are used and the

   14   witnesses will testify about what happened and about

   15   the content.

   16                At the end of the case after you've heard all

   17   of the evidence and you've had a chance to examine it

   18   yourselves, we'll come back, we'll ask you to find the

   19   only verdict consistent with all the evidence, we'll

   20   ask you to find the defendant Norris Williams, guilty

   21   as charged of each count in the indictment.                          Thank you

   22   for your attention, ladies and gentlemen.

   23                THE COURT:      Mr. Joffe.

   24                MR. JOFFE:      Thank you, may it please the

   25   Court, counsel for the government, ladies and



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    1   gentlemen, good afternoon.              This is a bit of a unique

    2   case because during the course of this trial what we

    3   the defense are essentially going to ask you to do is

    4   make a determination as to the amount of heroin that

    5   was dealt in this particular case.                    It's the position

    6   of the defense during the trial of this case that the

    7   evidence that you'll hear during the course of this

    8   case shows that the government or the case agents in

    9   this particular case chose to essentially lead

   10   Mr. Norris Williams down a golden path.                        The evidence

   11   presented -- that will be presented during the course

   12   of this trial will show you beyond a reasonable doubt

   13   that Mr. Williams was a low level buyer and seller of

   14   narcotics, as good or bad as that may be.

   15               And the government in this particular case

   16   wanted to essentially up the ante and they're the ones

   17   that produced a kilo of heroin, they actually allowed

   18   Mr. Williams to take a sample, which you'll hear during

   19   the course of the trial is unusual and unheard of, and

   20   then even though Mr. Williams said, I can only afford

   21   half a kilogram of heroin, the government's case agent

   22   continued to push a whole kilogram of heroin.                        And

   23   during the course of this trial you may ask yourselves

   24   why and you may hear some answers during

   25   cross-examination of the case agent.                      It's our position



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    1   that the reason the government agents are doing that is

    2   because they want to get Mr. Williams to a higher level

    3   of narcotics because what drives sentencing in the

    4   federal court system --

    5              MR. LAZARUS:          Objection, Your Honor.

    6   Improper argument.

    7              THE COURT:        Sustained.

    8              MR. JOFFE:        So you'll hear during the course

    9   of this trial that it's the government that's

   10   suggesting the larger amounts of narcotics in this

   11   particular case, not Mr. Norris Williams.                            And

   12   Mr. Williams does not come into this case with clean

   13   hands and we're not claiming that he has clean hands.

   14   All Mr. Williams is asking for is fairness because

   15   eventually when we get to the end of this case and you

   16   have what's called a verdict form, it will ask you to

   17   put down or check off certain amounts of heroin that

   18   you think that Mr. Norris Williams is responsible for

   19   because always in a criminal case there's something

   20   called mens rea or intent.

   21               What's the state of mind of a defendant

   22   that's going to trial in a particular case, and that's

   23   why your function during this trial is so important

   24   because all of you will get an opportunity to listen to

   25   all of the facts in evidence that's presented during



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    1   the course of this trial, you'll be able to go back and

    2   deliberate amongst yourselves and make a decision

    3   that's fair and appropriate for Mr. Williams.

    4               Now, this case takes place over a ten-month

    5   period; it's not a short period of time.                         On

    6   December 17th, 2014, there's a transaction for

    7   10.8 grams of heroin, an amount that will fit

    8   essentially in your hand.             Okay?        On February 11th,

    9   2015, there's another transaction for 27.8 grams of

   10   heroin, an amount that would basically fit in your

   11   hand.   Okay?   And then there's a meeting that occurs on

   12   July 2nd, 2015, five months later, where the agents

   13   suggest to Mr. Williams to purchase a kilogram of

   14   cocaine.   And what they're doing is they're essentially

   15   inserting this larger quantity because they want to get

   16   Mr. Williams hooked on a larger amount and get him

   17   involved in that to drive this large amount or larger

   18   amount of cocaine because up until that point the

   19   amounts are very small.

   20               And I would suggest during the course of this

   21   trial that you'll hear testimony that because the

   22   amounts are so small that the U.S. Attorney's Office

   23   may not even be interested in the case at that point.

   24   And you'll hear testimony as to how the agents build

   25   these cases.



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    1               Now, on July 22nd the case agent delivers a

    2   kilogram of cocaine and asks Mr. Williams to

    3   essentially sample it.           And what's unheard of is

    4   Mr. Williams is allowed to take a portion of that

    5   kilogram of heroin.         Now, on September 16th, 2015, two

    6   months later, the DEA special agent again meets with

    7   Norris Williams, and it's taking time because

    8   Mr. Williams is not a large dealer.                     He's a street

    9   level narcotics guy, and a kilogram of heroin is a

   10   large amount of heroin.            He's not the guy that deals in

   11   those amounts.     The case agents want him to be that guy

   12   because it drives the penalty.

   13               MR. LAZARUS:         Your Honor, again, improper

   14   argument.   I ask the Court to instruct the jury

   15   regarding --

   16               THE COURT:       Ladies and gentlemen, you'll hear

   17   instructions from the Court that it is up to the Court

   18   as to the sentencing, if the defendant should be found

   19   guilty of this offense, it is up to the Court to

   20   sentence the defendant.            That is not your concern.

   21   Your concern is whether or not the facts in this case

   22   prove beyond and to the exclusion of every reasonable

   23   doubt that the defendant is guilty of the charges that

   24   are alleged or you obviously can find him not guilty of

   25   those charges.



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    1               Mr. Joffe, the sentencing is for the Court

    2   and you are to move on in your argument.

    3              MR. JOFFE:        Yes, Your Honor.

    4               On September 16th, 2015, DEA special agent

    5   Victor Chica met with Norris Williams.                        Mr. Williams

    6   advised Agent Chica he was not interested, Mr. Williams

    7   was not interested in a large quantity purchase of

    8   heroin.   Mr. Williams advised the case agent that he

    9   had approximately $37,000, enough to purchase half a

   10   kilogram of heroin, and that's it.                    It was the agent

   11   that suggested to Mr. Williams that he come up with

   12   even more money.      And it wasn't until October 2nd,

   13   almost a month later, that Agent Chica is again pushing

   14   the purchase of a kilogram of heroin.                       On October 20th,

   15   2015, Mr. Williams is arrested with $50,000 cash in a

   16   shoe box, that's it.

   17               And in this particular case, ladies and

   18   gentlemen, all I'm asking you to do is be fair, listen

   19   to the evidence in this case, take notes, and come up

   20   with the amount of narcotics that you think with a

   21   reasoned judgment that Mr. Williams should be held

   22   accountable for.      Thank you.            Thank you, Your Honor.

   23              THE COURT:        All right.            The government may

   24   call its first witness.

   25              MR. SCHMITZ:          Thank you, Your Honor, the



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    1   United States calls Sergeant Samuel Gonzalez.

    2   THEREUPON,

    3                              SAMUEL GONZALEZ,

    4   a witness, having been first duly sworn, upon his oath,

    5   testified as follows:

    6                THE WITNESS:        Yes.

    7                COURTROOM DEPUTY:            Please state and spell

    8   your name for the record.

    9                THE WITNESS:        Samuel Gonzalez,

   10   G-O-N-Z-A-L-E-Z.

   11                MR. SCHMITZ:        Your Honor, may we approach

   12   just briefly?

   13                THE COURT:      Yes.

   14                (Bench conference was held within the

   15   presence of the jury.)

   16                MR. SCHMITZ:        Would it be okay if you could

   17   check and see if the juror can hear okay?

   18                THE COURT:      I can ask.

   19                MR. SCHMITZ:        I just want to make sure the

   20   juror is okay.

   21                (Bench conference concluded and proceedings

   22   continued as follows:)

   23                THE COURT:      Ladies and gentlemen, I want to

   24   make sure everyone can hear.                Mr. Bowman, does that

   25   help you?    If you run out of batteries, let me know, we



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    1   have a lineup of others.            Okay.        You may inquire.

    2                MR. SCHMITZ:        Thank you, Your Honor.

    3                           DIRECT EXAMINATION

    4   BY MR. SCHMITZ:

    5   Q.    Sergeant Gonzalez, how are you employed?

    6   A.    I work for the Lee County Sheriff's Office.

    7   Q.    How long have you worked for Lee County?

    8   A.    Nine years.

    9   Q.    How long have you worked in narcotics

   10   investigations?

   11   A.    I've been with the narcotics unit for seven years.

   12   Q.    What are your duties with the narcotics section?

   13   A.    Currently I'm in charge, I'm supervising a group

   14   of detectives, but at the time of this investigation I

   15   was assigned to work as an undercover agent and also

   16   handle my own cases.

   17   Q.    What are your general duties with the

   18   undercover -- as an undercover?

   19   A.    As an undercover you conduct undercover purchases,

   20   set up operations with different individuals to obtain

   21   narcotics.

   22   Q.    Do you purchase and sell narcotics as an

   23   undercover?

   24   A.    Yes.

   25   Q.    Do you negotiate prices as an undercover agent?



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    1   A.    Yes.

    2   Q.    What training have you had in your time in

    3   narcotics?

    4   A.    I've had on the job training for several weeks

    5   when I became a narcotics agent.                   Since then I've gone

    6   through hundreds of hours of actual extensive training,

    7   I've been to DEA basic, I've been to DEA advanced, I've

    8   gone to clandestine lab investigations and courses of

    9   that nature.

   10   Q.    About how many narcotics investigations have you

   11   taken part in in your time at Lee County?

   12   A.    Easily in the hundreds.

   13   Q.    About how many of those involved heroin?

   14   A.    It's hard to explain, but a good portion.                      I can't

   15   give an exact number.

   16   Q.    Have you had training in the recognition of

   17   controlled substances, including heroin?

   18   A.    Yes, I have.

   19   Q.    Do you know what heroin looks like?

   20   A.    Yes, I do.

   21   Q.    Do you know what it smells like?

   22   A.    I do.

   23   Q.    Does heroin have a distinctive smell?

   24   A.    It does.

   25   Q.    And in your training and experience in law



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    1   enforcement, do drug dealers usually use formal English

    2   when they're setting up drug deals?

    3   A.    Not necessarily, no.

    4   Q.    Do they sometimes use slang?

    5   A.    Slang, codes; things of that nature.

    6   Q.    Do they use jargon?

    7   A.    Yes.

    8   Q.    Are you familiar in your training and experience

    9   in law enforcement with the slang and jargon that drug

   10   dealers use during drug deals?

   11   A.    Yes, I am.

   12   Q.    Are you familiar with the practices and procedures

   13   sometimes that drug dealers you?

   14   A.    Yes.

   15   Q.    What is your typical role in an undercover

   16   transaction?    Can you take the jury through generally

   17   speaking what happens in an undercover buy?

   18   A.    In an undercover, you're briefed prior to the

   19   actual transaction taking place.

   20                MR. JOFFE:      I'm going to object, Your Honor,

   21   as to what typically happens.                It's not relevant.

   22                THE COURT:      Overruled.

   23   BY MR. SCHMITZ:

   24   Q.    You may answer, Detective Gonzalez?

   25   A.    You get briefed on the person you're going to be



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    1   purchasing narcotics from.                You're instructed basically

    2   what you're going to do by the case agent, you're

    3   provided with prerecorded funds basically audio

    4   devices; things of that nature before you go to this

    5   deal.     You're pretty much coached through the whole

    6   process as to what your job is going to be.

    7   Q.      And what generally happens at the deal, in general

    8   terms?

    9   A.      Just basic transaction.                You provide cash for

   10   drugs.

   11   Q.      Now, did there come a time when you participated

   12   into the investigation whether Norris Williams sold

   13   heroin?

   14   A.      Yes.

   15   Q.      Do you know what Norris Williams looks like?

   16   A.      Yes, I do.

   17   Q.      Do you see him here in the courtroom today?

   18   A.      Yes, I do.

   19   Q.      Can you point to Mr. Williams and identify an

   20   article of clothing?

   21   A.      Dark blue suit.

   22                  MR. SCHMITZ:        Let the record -- Your Honor,

   23   we would request that the record reflect that Sergeant

   24   Gonzalez has identified the defendant.

   25                  THE COURT:      The record will so reflect.



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    1   BY MR. SCHMITZ:

    2   Q.      If I refer to the defendant from here on out as --

    3   so if I refer to the defendant here on out, will you

    4   know that I'm talk about Norris Williams?

    5   A.      Yes.

    6   Q.      Now, the first transaction I'm going to ask you

    7   about occurred on November 18th, 2014, without going

    8   into any details, had you met the defendant before that

    9   date?

   10   A.      Yes.

   11   Q.      How many times?

   12   A.      Just one time.

   13   Q.      Without going into any details, did a confidential

   14   informant introduce the defendant to you as someone who

   15   would be able to sell you heroin?

   16   A.      Yes.

   17   Q.      And did you obtain the defendant's cell phone

   18   number at some point during that initial meeting?

   19   A.      Yes, I did.

   20   Q.      All right.    Now, after that initial meeting was

   21   the confidential informant ever involved in any of the

   22   three transactions that we've discussed?

   23   A.      No.

   24   Q.      On November 18th, did you purchase what you

   25   suspected as heroin from the defendant?



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    1   A.      Yes, I did.

    2   Q.      How did you communicate with the defendant to set

    3   up that deal?

    4   A.      Through his phone number.

    5   Q.      Did other officers conduct surveillance of the

    6   deal?

    7   A.      Yes, they did.

    8   Q.      Was there video and audio recording of the deal?

    9   A.      Yes.

   10   Q.      Where was the deal supposed to occur?

   11   A.      Home Depot parking lot in Fort Myers.

   12   Q.      Is that in the Middle District of Florida?

   13   A.      Yes, it is.

   14   Q.      Who picked that location?

   15   A.      Mr. Williams.

   16   Q.      How much was -- how much heroin was originally

   17   arranged to be transacted during that deal?

   18   A.      A quarter ounce or seven grams.

   19   Q.      What was the price per gram of heroin, or what was

   20   the price of it?

   21   A.      The negotiated price was $700.

   22   Q.      So was that $100 per gram?

   23   A.      Yes.

   24   Q.      $700 for seven grams?

   25   A.      Correct.



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    1   Q.    How much heroin did the defendant ultimately give

    2   you during that deal?

    3   A.    14 grams or half an ounce.

    4   Q.    Now, did you pay for all 14 grams of heroin that

    5   he gave you during that first deal?

    6   A.    No, I did not.

    7   Q.    How much grams did you pay for?

    8   A.    For the seven.

    9   Q.    And what about the other seven?

   10   A.    It was just given to me on credit.

   11   Q.    How was the heroin packaged when you received it?

   12   A.    It was all in one baggy.

   13   Q.    What did it look like?

   14   A.    It was light brown in color.

   15   Q.    Can you explain for the jury generally what

   16   happened during the deal?

   17   A.    I arrived at the location we had agreed upon, and

   18   Mr. Norris Williams arrived shortly thereafter, got

   19   inside my undercover vehicle in the passenger's side,

   20   quick exchange, he handed me 14, I explained to him --

   21   14 grams, I'm sorry, he explained that it was 14, I

   22   told him I only had 700.            And he basically explained to

   23   me that's how he did business, I was now in debt to him

   24   for $700.

   25   Q.    Did he hand you heroin during that deal?



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    1   A.    Yes.

    2   Q.    Did you smell heroin during that deal?                         Did you

    3   smell it?

    4   A.    You can smell it in the vehicle.

    5   Q.    The funds you handed him, were those prerecorded?

    6   A.    Yes.

    7   Q.    Now, in your training and experience, did you

    8   recognize that substance as heroin?

    9   A.    I did.

   10                MR. SCHMITZ:        Your Honor, may I approach the

   11   witness freely?

   12                THE COURT:      Yes, you may.              And if you would

   13   show defense counsel before you show the witness that

   14   would be helpful as well, or at least identify the

   15   exhibits you're referring to.                Thank you.

   16                MR. SCHMITZ:        Thank you, Your Honor.

   17   BY MR. SCHMITZ:

   18   Q.    So I have shown you what's been marked for

   19   identification now as Government's Exhibits 1, 1A, and

   20   1E.   Do you recognize those?

   21   A.    Yes.

   22   Q.    What are those?

   23   A.    It's video and a transcript of the deal that took

   24   place.

   25   Q.    And for the record which exhibit is the video?



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    1   A.    Exhibit 1.

    2   Q.    Is that also 1E on that disk?

    3   A.    It just says one.           I don't see 1E.

    4                MR. SCHMITZ:        May I approach, Your Honor?

    5                THE COURT:      Yes, you may.

    6                THE WITNESS:        Okay.        1 and 1E.          Thank you.

    7   BY MR. SCHMITZ:

    8   Q.    All right.     Have you viewed what's on the contents

    9   of that disk, 1 and 1E?

   10   A.    Yes, I have.

   11   Q.    Are those your initials on the disk?

   12   A.    Yes, it is.

   13   Q.    Is that a true and accurate recording of the

   14   heroin transaction that occurred between you and the

   15   defendant on November 18th, 2014?

   16   A.    Yes.

   17                MR. SCHMITZ:        Your Honor, the government

   18   moves admission for Exhibits 1 and 1E.

   19                THE COURT:      Any objection?

   20                MR. JOFFE:      No, Your Honor.

   21                THE COURT:      Government's Exhibits 1 and 1E

   22   will be introduced at this time.

   23                (Government's Exhibit Number 1 and 1E were

   24         admitted into evidence.)

   25   BY MR. SCHMITZ:



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    1   Q.    And have you -- do you recognize Exhibit 1A?

    2   A.    Yes.

    3   Q.    What is that?

    4   A.    Transcript of the deal.

    5   Q.    Have you previously reviewed that transcript?

    6   A.    Yes, I have.

    7   Q.    Is that a true and accurate transcription of that

    8   video?

    9   A.    Yes.

   10                MR. SCHMITZ:        Your Honor, we move for the

   11   admission of Government's Exhibit 1A.

   12                MR. JOFFE:      No objection, Your Honor.

   13                THE COURT:      Government's Exhibit 1A will be

   14   introduced at this time.

   15                (Government's Exhibit Number 1A was admitted

   16         into evidence.)

   17                MR. SCHMITZ:        Your Honor, may we publish

   18   Exhibits 1, 1A, and 1             E.

   19                THE COURT:      Yes.       Members of the jury, as you

   20   have heard, Government's Exhibit 1A has been identified

   21   as a typewritten transcript of the oral conversation

   22   that can be heard on the tape recording received in

   23   evidence as Government's Exhibit 1 and 1E.                           The

   24   transcript also purports to identify the speakers

   25   engaged in the conversation.                I have admitted the



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    1   transcript for the limited and secondary purpose of

    2   helping you follow the content of the conversation as

    3   you listen to the tape recording and also to help you

    4   identify the speakers.           However, you are specifically

    5   instructed that whether the transcript correctly

    6   reflects the content of the conversation or the

    7   identity of the speakers is entirely for you to decide

    8   based on your own evaluation of the testimony you have

    9   heard about the preparation of the transcript and from

   10   your own examination of the transcript in relation to

   11   hearing the recording itself as the primary evidence of

   12   its own contents.       If you determine that the transcript

   13   is in any respect incorrect or unreliable, you should

   14   disregard it to that extent.                All right.           You may

   15   publish at this time.

   16   BY MR. SCHMITZ:

   17   Q.    Thank you, Your Honor.               Before I play this video,

   18   have you viewed, Detective Gonzalez, or I should say

   19   Sergeant Gonzalez, have you reviewed the entire

   20   Exhibit 1?

   21   A.    Yes, I have.

   22   Q.    And about how long is that recording?

   23   A.    The recording is about 30 minutes long.

   24   Q.    And how long during that video is the actual

   25   transaction that occurred?



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    1   A.    About two minutes.

    2   Q.    So the clip I'm going to play you, 1E, about how

    3   long is that, the clip of this video?

    4   A.    The clip is about a minute, minute and a half, two

    5   minutes.

    6   Q.    But the rest, for the jury, the rest of that

    7   video, that 30 minutes, is that on that disk?

    8   A.    Yes, it is.

    9   Q.    Can you describe generally for the jury what was

   10   going on during that 30 minutes?

   11   A.    During that 30 minutes you'll see myself setting

   12   up the video inside the vehicle, speaking with several

   13   of the agents prior to the deal, and then actually

   14   traveling to the location.               So there's a lot of just

   15   driving to the Home Depot.

   16   Q.    Okay.     Thank you.

   17                 (At this time, a video was played in open

   18         court and taken down to the best of the court

   19         reporter's ability.)

   20               SPEAKER:       On point.           What's up, my man?

   21               SPEAKER:       What's happening?

   22               SPEAKER:       I got kids down here, that's why I

   23   be coming down.

   24               SPEAKER:       So that's 14.              Seven for the

   25   previous.



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    1              SPEAKER:       I brought you another 14.

    2              SPEAKER:       I'm still going to have to owe you

    3   though; right?

    4              SPEAKER:       Yeah, (inaudible) if you make

    5   money, I make money.

    6              SPEAKER:       I hear you, I hear you.

    7              SPEAKER:       It's going to take me a little bit

    8   to get it to you.

    9              SPEAKER:       I ain't calling you.                   You make

   10   money, I make money.         If you make money, I make money.

   11   That's what I tell Berto.             I see you in a couple weeks.

   12              SPEAKER:       All right, bro.               Next time bring

   13   more clientele.

   14              SPEAKER:       All right.

   15               (End of video.)

   16   BY MR. SCHMITZ:

   17   Q.    Sergeant Gonzalez, I hope you're a very fast

   18   reader.   I know that was difficult to read here, so I'm

   19   going to show you, Detective Gonzalez, what's been

   20   admitted as Government's Exhibit 1A.                      Is this the

   21   conversation that you had with the defendant that day

   22   on November 18th?

   23   A.    Yes, it is.

   24   Q.    All right.     He says -- okay.                You get there and he

   25   says, this is 14; right?            What is 14?



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    1   A.    14 grams.

    2   Q.    Was the deal supposed to be for seven or 14?

    3   A.    It was supposed to be for seven.

    4   Q.    Did you know before the deal that you're going to

    5   get fronted seven grams?

    6   A.    I did not.

    7   Q.    All right.      When you say I'm still going to have

    8   to owe you; right, what do you mean by that?

    9   A.    I was going to have to owe him for the extra seven

   10   grams that he had just provided me with.

   11   Q.    All right.      Now, in your training and experience

   12   in law enforcement -- well, let me move on.

   13                 The defendant then says, that's part of it.

   14   If you make money, I make money.                    What does that mean?

   15              MR. JOFFE:         I'm going to object, Your Honor.

   16   It calls for speculation.

   17              THE COURT:         Go ahead.

   18              MR. SCHMITZ:           Your Honor, can I lay the

   19   foundation for that, please?

   20              THE COURT:         Yes, you may.

   21   BY MR. SCHMITZ:

   22   Q.    In your training and experience in law

   23   enforcement, are you familiar with slang that drug

   24   dealers use during drug deals?

   25   A.    I am.



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    1   Q.    And in your course of dealing with this defendant

    2   in this case, did you come to an understanding what

    3   certain of the terms he used to describe certain things

    4   to you?

    5   A.    I did.

    6   Q.    All right.     Based upon your training and

    7   experience in law enforcement and based upon your

    8   communications with the defendant in this case, what

    9   does that mean?

   10                MR. JOFFE:      I'm going to object, Your Honor,

   11   calls for a conclusion, calls for speculation, it's

   12   also hearsay.

   13                THE COURT:      Overruled.

   14                THE WITNESS:        He's basically letting me know

   15   that that's how we were going to make money together

   16   and continue our business relationship.

   17   BY MR. SCHMITZ:

   18   Q.    Did you make it clear that you yourself had

   19   customers?

   20   A.    I did.

   21   Q.    Now, towards the end here he says, start bringing

   22   more clientele.     All right?            What does that mean?

   23   A.    He wanted me to bring more customers to him.

   24                MR. SCHMITZ:        Your Honor, may I have a

   25   moment?



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    1              THE COURT:        Yes, you may.

    2   BY MR. SCHMITZ:

    3   Q.    I'm going to publish Exhibits 1E and 1A again,

    4   Your Honor.

    5               (At this time, a video was played in open

    6         court and taken down to the best of the court

    7         reporter's ability.)

    8              SPEAKER:       On point.           What's up, my man?

    9              SPEAKER:       What's up bro, what's happening?

   10              SPEAKER:       Chill?

   11              SPEAKER:       Got baby seat in here.

   12              SPEAKER:       Yeah, I got kids down here that's

   13   why I be coming down.          This is 14.

   14              SPEAKER:       14?

   15              SPEAKER:       And I brought you another 14.

   16              SPEAKER:       I'm still going to have to owe you

   17   though; right?

   18              SPEAKER:       Yeah, that's -- if you make money,

   19   I'm going to make money.

   20              SPEAKER:       I hear you.            It's going to take me

   21   a little bit to get it to you, though.

   22              SPEAKER:       I ain't calling you, if you make

   23   money, I make money.         If your clientele get better.

   24   That's what I tell Berto.             That's what's up.

   25               All right.        I see you in a couple weeks, man.



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    1                  SPEAKER:     All right.           Next time bring more

    2   clientele.

    3                  SPEAKER:     All right.

    4                  (End of video.)

    5   BY MR. SCHMITZ:

    6   Q.      All right.     Sergeant Gonzalez, what did you do

    7   after that transaction?

    8   A.      I returned to a prearranged meet location where I

    9   provided Agent Strang with the purchased heroin.

   10   Q.      Did you provide the heroin to anybody else before

   11   you provided it to Agent Strang?

   12   A.      No, I did not.

   13   Q.      Was it in your possession the entire time?

   14   A.      Yes, it was.

   15   Q.      All right.     I'm going to direct your attention to

   16   the transaction that occurred on December 17th, 2014.

   17   That day did you purchase what you believed to be

   18   heroin from the defendant?

   19   A.      Yes, I did.

   20   Q.      How did you communicate with the defendant to set

   21   up that deal?

   22   A.      Via cell phone.

   23   Q.      And did other officers conduct surveillance of the

   24   deal?

   25   A.      Yes.



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    1   Q.      Was there video and audio recordings of that deal?

    2   A.      Yes, there was.

    3   Q.      Where was the transaction supposed to occur?

    4   A.      The Home Depot parking lot.

    5   Q.      Is that here in the Middle District of Florida?

    6   A.      Yes, it is.

    7   Q.      Who picked that location?

    8   A.      Mr. Williams.

    9   Q.      How much heroin was originally arranged to be sold

   10   during that deal?

   11   A.      A quarter, quarter ounce of heroin.

   12   Q.      And how much is a quarter ounce of heroin?

   13   A.      $700 or seven grams.

   14   Q.      How much heroin did the defendant -- excuse me,

   15   did the defendant ultimately provide you during that

   16   deal?

   17   A.      Ten and a half grams.

   18   Q.      Did you know he was going to show up with the

   19   extra three and a half grams?

   20   A.      No, I did not.

   21   Q.      Can you explain generally what happened during

   22   that deal?

   23   A.      He arrived to the Home Depot parking lot like the

   24   first time and he came to my driver's side window.                    He

   25   showed up in a different vehicle.                    It had a large flat



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    1   screen TV box in the back, and I joked around with him,

    2   I asked him if he was giving away televisions.                       He

    3   actually removed the heroin from inside the television

    4   box and came to my window, my driver's side window, and

    5   that's where we conducted the transaction.

    6   Q.    Did he provide you heroin during that transaction?

    7   A.    Yes, he did.

    8   Q.    Could you smell it?

    9   A.    Yes.

   10   Q.    Did he provide -- did you provide him money?

   11   A.    Yes, I did.

   12   Q.    Was that money prerecorded?

   13   A.    Yes, it was.

   14   Q.    I'm showing you what's been marked for

   15   identification as Government's Exhibit 3 and 3A.                          Could

   16   you please review those, Sergeant Gonzalez?

   17   A.    Okay.

   18   Q.    Do you recognize Government's Exhibit 3?

   19   A.    Yes, I do.

   20   Q.    What is Government's Exhibit 3?

   21   A.    It's a disk containing the video of the

   22   transaction.

   23   Q.    The transaction on what date?

   24   A.    December 17th, I believe; yes.

   25   Q.    Is that a true and accurate -- excuse me, is that



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    1   a true and accurate recording of the transaction that

    2   occurred on December 17th, 2014?

    3   A.    Yes, it is.

    4   Q.    Your Honor, the government moves for the admission

    5   of Government's Exhibit 3?

    6              THE COURT:        Any objection?

    7              MR. JOFFE:        No objection, Your Honor.

    8              THE COURT:        Government's Exhibit 3 will be

    9   introduced at this time.

   10               (Government's Exhibit Number 3 was admitted

   11         into evidence.)

   12   BY MR. SCHMITZ:

   13   Q.    Sergeant Gonzalez, do you recognize Government's

   14   Exhibit 3A?

   15   A.    Yes, I do.

   16   Q.    What is that?

   17   A.    It's the transcript of the actual deal.

   18   Q.    Is that a true and accurate transcription of the

   19   video, Government's Exhibit 3?

   20   A.    Yes, it is.

   21              MR. SCHMITZ:          Your Honor, we move for the

   22   admission of Government's Exhibit 3A.

   23              MR. JOFFE:        No objection, Your Honor.

   24              THE COURT:        Government's Exhibit 3A will be

   25   introduced.



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    1                 (Government's Exhibit Number 3A was admitted

    2         into evidence.)

    3                THE COURT:       And as you heard, ladies and

    4   gentlemen, Government's Exhibit 3A has been identified

    5   as the typewritten transcript of the oral conversation

    6   that had been heard on the tape recording received into

    7   evidence as Government's Exhibit Number 3.                            The

    8   transcript also purports to identify the speakers

    9   engaged in the conversation.                 My admonition to you

   10   would be the same as for the introduction of the last

   11   exhibit.     You may publish.

   12                MR. SCHMITZ:         Thank you, Your Honor.

   13   BY MR. SCHMITZ:

   14   Q.    And, Sergeant Gonzalez, we previously viewed

   15   Government's Exhibit 1 and there was a date stamp on

   16   that video.     Was that necessarily an accurate date

   17   stamp?

   18   A.    No, it was not.

   19   Q.    What date did the first transaction Government's

   20   Exhibit 1 occur?

   21   A.    I believe December 11th.

   22   Q.    The first transaction --

   23   A.    I'm sorry, November 18th, 2014.

   24   Q.    Okay.     And have you viewed that Government's

   25   Exhibit 3?



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    1   A.    Yes, I have.

    2   Q.    What date did that occur?

    3   A.    That occurred December 18th, 2014.

    4   Q.    All right.

    5   A.    I'm sorry, 17th.

    6   Q.    Okay.

    7              MR. SCHMITZ:           May we publish?

    8              THE COURT:         Yes.

    9                 (At this time, a video was played in open

   10         court and taken down to the best of the court

   11         reporter's ability.)

   12              SPEAKER:        You giving away TVs, man?

   13              SPEAKER:        Naw, I just bought those cause hey

   14   (inaudible) that's all I got left.

   15              SPEAKER:        How much is here?

   16              SPEAKER:        There's ten and a half.

   17              SPEAKER:        Okay.       Listen, I got seven, I got

   18   the 14 from the last time?

   19              SPEAKER:        Yeah.

   20              SPEAKER:        And then I got another seven?

   21              SPEAKER:        Uh-huh.

   22              SPEAKER:        So that makes us even; right?

   23              SPEAKER:        Yeah, so it's just three and a half

   24   on that one.

   25              SPEAKER:        Hey, you got any more work for next



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    1   week?

    2                 SPEAKER:      I got ya, bro.               I'm going to

    3   Bogota, Columbia, so when I go to Bogota, we can come

    4   down the next time, I'll give you a duffel bag.

    5   (Inaudible) I'm leaving on the 18th of January.

    6                 SPEAKER:      Okay.

    7                 SPEAKER:      So by the time you come back it

    8   will be like in that first week after the holiday.

    9                 SPEAKER:      All right.           Pulling out.

   10                 (End of video.)

   11   BY MR. SCHMITZ:

   12   Q.      Again, is the date stamp on that video accurate?

   13   A.      No.

   14   Q.      What date did that occur?

   15   A.      December 17th, 2014.

   16   Q.      The first thing you say here is, you giving away

   17   TVs, man.       Why did you say that?

   18   A.      He arrived with a large screen TV in the back of

   19   his vehicle.       It was just conversation.

   20   Q.      Okay.    He says, I fronted you three and three

   21   and -- excuse me, three, three and a half.                             What did he

   22   mean?

   23   A.      He was giving me extra, three, three and a half

   24   grams of heroin extra.

   25   Q.      Okay.



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    1                   And you also say earlier, you say, listen, I

    2           got seven, I got 14 from the last time.                         What were

    3           you referring to?

    4   A.      I was paying him for the prior debt from the last

    5   deal.

    6   Q.      What does seven mean?

    7   A.      Seven referring to -- another seven, when I'm

    8   saying another seven, I'm talking about money.

    9   Q.      Okay.     And you say, I got 14 from the last time.

   10   What were you talking about 14?

   11   A.      $1,400.

   12   Q.      And, again, three and a half, what does that mean?

   13   A.      Three and a half grams of heroin.

   14   Q.      So did he front you heroin during this deal?

   15   A.      Three and a half grams.

   16   Q.      All right.      You say, hey, you get me -- excuse me.

   17   Hey, you get me more work for next time, though.                           What

   18   does that mean?

   19   A.      I was asking --

   20   Q.      What does work mean?

   21   A.      More work, more narcotics for me to sell.

   22   Q.      All right.      The defendant then says, when I go to

   23   Bogota, I'll be gone for two weeks, so when you come

   24   down the next time I'll give you enough for like the

   25   two weeks I'm gone.            What does that mean?



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    1   A.    He was explaining to me that he'll give me enough

    2   heroin to keep going while he's gone.

    3   Q.    During this transaction did the defendant hand

    4   heroin to you?

    5   A.    Yes.

    6   Q.    When did he hand -- when during that transaction

    7   did he hand it to you?

    8   A.    When he's explaining to me about the extra three,

    9   three and a half.

   10   Q.    Where were you positioned when he handed the

   11   heroin to you?

   12   A.    I was sitting in my vehicle on the driver's side.

   13   He came to my window.

   14   Q.    Did you see where he got the heroin from?

   15   A.    The TV box, he removed it from the television box.

   16   Q.    Could you smell it?

   17   A.    Once I had possession of it, yes.

   18   Q.    Based on your training and experience in law

   19   enforcement, did it appear to be heroin?

   20   A.    Yes.

   21   Q.    What did you do after this deal?

   22   A.    I returned to a prearranged location and provided

   23   Agent Strang with the purchased heroin.

   24   Q.    Did you have the heroin in your possession the

   25   entire time before you gave it to Agent Strang?



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    1   A.      Yes, I did.

    2   Q.      I'm going to direct your attention now to

    3   February 11th, 2015.            Did you buy what you suspected to

    4   be heroin from the defendant on that date?

    5   A.      Yes, I did.

    6   Q.      How did you communicate with the defendant to set

    7   up that deal?

    8   A.      Via cell phone.

    9   Q.      Did other officers conduct surveillance of the

   10   deal?

   11   A.      Yes, they did.

   12   Q.      Was there video and audio recording of the deal?

   13   A.      There was.

   14   Q.      Where was the transaction supposed to occur?

   15   A.      Home Depot parking lot.

   16   Q.      Who picked that location?

   17   A.      Mr. Williams.

   18   Q.      How much heroin was originally arranged for this

   19   deal?

   20   A.      14 grams or half an ounce.

   21   Q.      How much did he actually show -- how much did the

   22   defendant actually show up to the deal with?

   23   A.      An ounce.

   24   Q.      A full ounce?

   25   A.      Yes.



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    1   Q.    How much were you going to originally pay for the

    2   half ounce?

    3   A.    $1,400.

    4   Q.    Again, before you went to this deal, did you know

    5   he was going to front you the additional half ounce?

    6   A.    No, I did not.

    7   Q.    All right.     Can you explain for the jury generally

    8   speaking what happened during this deal?

    9   A.    I arrived at the parking lot like normal, and he

   10   arrived shortly after and he parked very close to my

   11   vehicle on the driver's side.                I get out of the vehicle

   12   and I approach his passenger's side window, and that's

   13   where we conducted the transaction.

   14   Q.    I'm showing you what's been marked for

   15   identification as Government's Exhibit 5, 5A, and 5E.

   16   Take a look at Government's Exhibit 5 and 5E.                        Do you

   17   recognize that?

   18   A.    Yes, I do.

   19   Q.    What is that?

   20   A.    It's video of the buy, which took place on

   21   February 11th.

   22   Q.    All right.     Is that a true and accurate recording

   23   of that buy that occurred that day?

   24   A.    Yes, it is.

   25              MR. SCHMITZ:          Your Honor, I move for the



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    1   admission of Government's five and 5E.

    2              MR. JOFFE:        No objection, Your Honor.

    3              THE COURT:        Government's Exhibit 5 and

    4   Exhibit 5 E will be introduced at this time.

    5               (Government's Exhibit Number 5 and 5E were

    6         admitted into evidence.)

    7   BY MR. SCHMITZ:

    8   Q.    Can you take a look at Government's Exhibit 5A,

    9   please?   Do you recognize that?

   10   A.    Yes, I do.

   11   Q.    What is that?

   12   A.    It's the transcript of the actual deal.

   13   Q.    And is that a true and accurate transcription of

   14   Government's Exhibit 5E?

   15   A.    Yes, it is.

   16   Q.    Did you review that transcript?

   17   A.    Yes, I have.

   18              MR. SCHMITZ:          Your Honor, the government

   19   moves for the admission of Government's Exhibit 5A.

   20              MR. JOFFE:        No objection, Your Honor.

   21              THE COURT:        Government's Exhibit 5A will be

   22   introduced at this time.

   23               (Government's Exhibit Number 5A was admitted

   24         into evidence.)

   25              MR. SCHMITZ:          Your Honor, may we publish



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    1   Government's Exhibits 5E and 5A?

    2              THE COURT:        You may.

    3               (At this time, a video was played in open

    4          court and taken down to the best of the court

    5          reporter's ability.)

    6              SPEAKER:       What's up, man?

    7              SPEAKER: (Inaudible).

    8              SPEAKER:       I've been up north.

    9              SPEAKER:       Yeah.

   10              SPEAKER:       Yeah, hey, this is my cousin, my

   11   cousin Lori.

   12              WOMAN:     Hey, what's up.

   13              SPEAKER:       Hey, she's from Miami.                     I might

   14   start sending her up this way because it's easier for

   15   her.

   16              SPEAKER:       Okay.

   17              SPEAKER:       Is that straight?

   18              SPEAKER:       Yeah.       Straight enough.

   19              SPEAKER:       I knew you would like that shit.

   20              SPEAKER: (Inaudible).

   21              SPEAKER:       Let me get out real quick.                     Parked

   22   all jacked up, man.

   23              SPEAKER: (Inaudible).

   24              SPEAKER:       From the last time.                   Okay.    All

   25   right.   Man, (inaudible).            I'm gonna straighten old boy



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    1   out, too, because that shit ain't right.

    2              SPEAKER: (Inaudible).

    3              SPEAKER:        I am, man.

    4              SPEAKER: (Inaudible).

    5              SPEAKER:        I hear that.             All right, man.          I'm

    6   going to send her next time, though.

    7              SPEAKER:        All right.

    8              WOMAN:      Nice to meet you.

    9              SPEAKER:        What's your name?

   10              WOMAN:      Lori.

   11              SPEAKER:        (Inaudible).

   12              SPEAKER:        I got a twin brother.

   13              WOMAN:      Oh, really.             That's awesome.         All

   14   right.   I'll see ya.

   15              SPEAKER:        Damn.       You good?           You good?

   16              SPEAKER:        Pull out first, bro.

   17              SPEAKER:        All right.

   18              SPEAKER: (Inaudible) fucked up.

   19              SPEAKER:        Let me go out first.

   20              SPEAKER:        Yeah.

   21                 (End of video.)

   22   BY MR. SCHMITZ:

   23   Q.    Okay.     When did the defendant hand you the heroin

   24   in this transaction?

   25   A.    When I went to his car window.



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    1   Q.    And when did you hand him the money?

    2   A.    After he provided me with the heroin.

    3   Q.    Were those funds prerecorded?

    4   A.    Yes, they were.

    5   Q.    All right.     You say down here, parked all jacked

    6   up.   What did you mean by that?

    7   A.    His vehicle was extremely close to my undercover

    8   vehicle in the parking lot.

    9   Q.    All right.     You say, damn, you good, you good.

   10   And then the defendant says, yeah, pull out first, bro.

   11   What happened there?

   12   A.    He backed into my vehicle once he was leaving the

   13   parking lot.

   14   Q.    Was there any damage to the vehicle?

   15   A.    No, there was not.

   16   Q.    Again, was the date stamp on this video

   17   necessarily accurate?

   18   A.    No, it wasn't.

   19   Q.    And this third transaction, when did this -- what

   20   date did this third transaction occur?

   21   A.    February 11th, 2015.

   22   Q.    What did you do with the heroin -- what did you do

   23   after the transaction?

   24   A.    Traveled back to a prearranged location and

   25   provided Agent Strang with the heroin I purchased.



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    1   Q.    Did you maintain possession of that heroin the

    2   entire time from the time you received it from the

    3   defendant to the time you gave it to Sergeant Strang?

    4   A.    Yes, I did.

    5   Q.    Now, in your transactions with the defendant,

    6   those three transactions, let me ask you this,

    7   Government's Exhibits 1, 3, and 5, was that you on

    8   those videos?

    9   A.    Yes, it was.

   10   Q.    Was that the defendant on those videos?

   11   A.    Yes, it was.

   12   Q.    Was that your voice on the videos?

   13   A.    Yes.

   14   Q.    Was that the defendant's voice?

   15   A.    Yes.

   16   Q.    In your transactions with the defendant, were you

   17   able to determine whether he was comfortable in dealing

   18   with credit?

   19   A.    Yes.

   20   Q.    Was he?

   21   A.    He was.

   22   Q.    Were you able to determine whether he was

   23   comfortable fronting you drugs on the promise you would

   24   pay him back?

   25   A.    He was.



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    1   Q.    Was he?

    2   A.    Yes.

    3   Q.    Did he front you or did he at least attempt to

    4   front you extra heroin on all three of those deals?

    5                MR. JOFFE:      Objection.            Compound question.

    6                THE COURT:      Go ahead and reword your

    7   question.

    8   BY MR. SCHMITZ:

    9   Q.    Did he front you heroin in all three of those

   10   deals?

   11   A.    Yes, he did.

   12   Q.    In your training and experience in law

   13   enforcement, have you heard the term brick before?

   14   A.    Yes, I have.

   15   Q.    What quantity of drugs does the term brick refer

   16   to?

   17   A.    Refers to a kilo or kilogram of narcotics.

   18   Q.    And what type of narcotics would that refer to a

   19   kilo of?

   20   A.    Cocaine and heroin.

   21   Q.    All right.     In your training and experience in law

   22   enforcement, have you heard the term key?

   23   A.    Yes, I have.

   24   Q.    To what quantity of drugs does the term key refer?

   25   A.    Kilo or kilogram.



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    1                MR. SCHMITZ:        Your Honor, may I have a

    2   moment?

    3                THE COURT:      Yes.

    4   BY MR. SCHMITZ:

    5   Q.    All right.     Sergeant Gonzalez, I showed you

    6   Government's Exhibit 5, that last deal.                        There was

    7   another woman involved in that deal.                      Who was that

    8   woman?

    9   A.    She was a police officer for Fort Myers Police

   10   Department.

   11   Q.    All right.     And in deal number -- the second deal,

   12   Exhibit Number 3, there was a loud sound on the video

   13   and it sounded like it cut off.                  What happened there?

   14   A.    There was some type of glitch at the end of the

   15   video.

   16   Q.    Was the rest of that recording completely

   17   accurate?

   18   A.    Yes.

   19   Q.    Thanks.

   20                MR. SCHMITZ:        No further questions, Your

   21   Honor.

   22                THE COURT:      Mr. Joffe, cross-examination?

   23                MR. JOFFE:      Yes, Your Honor.

   24                            CROSS-EXAMINATION

   25   BY MR. JOFFE:



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    1   Q.    Sergeant Gonzalez, good afternoon, sir.

    2   A.    Good afternoon.

    3   Q.    Your investigation began as a state investigation;

    4   is that correct?

    5   A.    No.

    6   Q.    Okay.    At the time that you began the

    7   investigation, this was a joint task force

    8   investigation; correct?

    9                MR. SCHMITZ:        Your Honor, objection.

   10   Relevance.

   11                THE COURT:      Overruled.

   12                THE WITNESS:        No, it was not.

   13   BY MR. JOFFE:

   14   Q.    Okay.    And when you were introduced to

   15   Mr. Williams, Mr. Williams was introduced to you as

   16   someone who could sell heroin; is that correct?

   17   A.    Yes.

   18   Q.    And the amounts of heroin that you were told that

   19   Mr. Norris Williams could provide to you were small

   20   quanties of heroin; correct?

   21   A.    No.

   22   Q.    But the amounts of heroin that Mr. Williams was

   23   selling were small quanties; correct?

   24   A.    Still trafficking amounts in the state level.

   25   Q.    But my question to you is that the physical



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    1   amounts of heroin that Mr. Williams was selling to you

    2   were small amounts; correct?

    3   A.    I would still say no.

    4   Q.    Okay.    Fair.     But the amount of heroin that

    5   Mr. Williams sold to you each time could fit in the

    6   palm of your hand; correct?

    7   A.    Yes.

    8   Q.    Okay.    It's a small quantity when it's sitting in

    9   your hand; correct?

   10   A.    Yes.

   11   Q.    Okay.    I understand what you're saying, you're

   12   saying that the state statutes classify that as

   13   trafficking; correct?

   14                MR. SCHMITZ:        Objection.            Calls for a legal

   15   conclusion.

   16                MR. JOFFE:      He's already testified about it,

   17   Your Honor.

   18                THE COURT:      It's overruled.                Go ahead.

   19                THE WITNESS:        That is correct.

   20   BY MR. JOFFE:

   21   Q.    Okay.    But the amount goes in your hand,

   22   basically; correct?

   23   A.    Yes.

   24   Q.    Okay.    And at no time did Mr. Williams sell you a

   25   kilogram of cocaine; correct?



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    1   A.    That is correct.

    2   Q.    Okay.   At no time did you ask Mr. Williams to sell

    3   you a kilogram of cocaine; is that correct?

    4   A.    That is correct.

    5   Q.    And when you met with Mr. Williams on one of the

    6   transactions we don't see him; is that correct?                      That's

    7   the time when you state that Mr. Williams bumped into

    8   your car; correct?

    9   A.    That is the third time.

   10   Q.    The third time; that's correct.                      We don't see

   11   Mr. Williams; correct?

   12   A.    Correct.

   13   Q.    Okay.   We hear a woman's voice; correct?

   14   A.    Yes.

   15   Q.    And you have identified her as a local law

   16   enforcement officer; correct?

   17   A.    Yes.

   18   Q.    Now, is there a reason why we see -- purportedly

   19   see Mr. Williams on two transactions but not the third?

   20   A.    Just the positioning of the camera device.

   21   Q.    Is there a reason why on the third transaction you

   22   don't have Mr. Williams get into your vehicle?

   23   A.    There was somebody else in my vehicle at the time.

   24   Q.    Okay.   Was that preplanned?

   25   A.    Yes.



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    1   Q.    Okay.   And when you met with Mr. Williams the

    2   first time, he sold you, what, seven grams?

    3   A.    Yes.

    4   Q.    Okay.   And that's $700 worth; is that correct?

    5   A.    Well, the deal was for 700, he actually brought

    6   14.

    7   Q.    Okay.   But you paid Mr. Williams $700; correct?

    8   A.    That is correct.

    9   Q.    And Mr. Williams fronted you an additional seven

   10   grams; correct?

   11   A.    Yes.

   12   Q.    And, again, seven grams would fit in the palm of

   13   your hand; correct?

   14   A.    Yes.

   15   Q.    And it would fit easily; correct?

   16   A.    Yes, it would.

   17   Q.    Okay.   It's not as if Mr. Williams is giving you a

   18   kilogram of cocaine which you've testified is a brick;

   19   correct?

   20   A.    Yes, I have.

   21   Q.    And how many grams in a kilogram -- I keep saying

   22   cocaine, heroin.      How many grams in a kilogram of

   23   heroin?

   24   A.    Thousands.

   25   Q.    Thousands?



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    1   A.    Yes.

    2   Q.    Okay.    And how many ounces in a kilogram of

    3   heroin?

    4   A.    36.

    5   Q.    So the amounts, if we look at it in that context,

    6   the amounts of heroin that Mr. Williams is selling you

    7   are relatively small amounts; correct?

    8   A.    Compared to a kilo, yes.

    9   Q.    And the reason that you -- let me ask you this,

   10   what's your reasoning or your rationale for continuing

   11   to have Mr. Williams sell you heroin?

   12   A.    I was just following the instructions of the case

   13   agent.

   14   Q.    Okay.    And did the case agent -- was the case

   15   agent the one that made the decision as to the quantity

   16   of heroin that you were to purchase on each

   17   transaction?

   18                MR. SCHMITZ:        Objection, Your Honor,

   19   relevance.

   20                THE COURT:      Overruled.            If he can answer the

   21   question.

   22                THE WITNESS:        It was the case agent's

   23   decision.

   24   BY MR. JOFFE:

   25   Q.    Okay.    And when we see these transactions occur on



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    1   the video, you testified that there had been prior

    2   discussions with Mr. Williams; is that correct?

    3   A.     Yes.

    4   Q.     Okay.   Discussions about amounts; correct?

    5   A.     Yes.

    6   Q.     And would it be fair to say that you as the buyer

    7   of the heroin were telling Mr. Williams how much you

    8   wanted?

    9   A.     Yes.

   10   Q.     Okay.   And when we see these three transactions

   11   that you're initially -- that you've testified about,

   12   how many days does it typically take Mr. Williams to

   13   obtain the heroin that he's selling to you on the

   14   video?

   15   A.     That I can't answer.              I don't know how long it

   16   takes him.     Every time I called he was ready to go that

   17   day.

   18   Q.     Okay.   And when the heroin was handed to you, did

   19   you ever do what's called a presumptive test of the

   20   heroin?

   21   A.     I did not.

   22   Q.     Okay.   Do you know if any other law enforcement

   23   officers did that once you handed it to them?

   24   A.     I do not.

   25   Q.     Okay.   And as you sit here today, do you know what



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    1   the quality of that heroin was?

    2   A.    No, I do not.

    3   Q.    And when I say quality, do you know what that

    4   means?

    5   A.    Yes, I do.

    6   Q.    Could you explain to the members of the jury what

    7   that is?

    8   A.    Basically the purity of the heroin, its potency.

    9   Q.    Because heroin can be cut; is that correct?

   10   A.    Yes, it can.

   11   Q.    Okay.   And what are the agents that are

   12   typically -- when I say agents, chemical agents that

   13   are typically used to cut heroin?

   14   A.    There's several, they use laxatives, they've

   15   used -- I mean, I've seen a lot in my experience, a lot

   16   of different chemicals that could be added.

   17   Q.    Okay.   And when you purchase this heroin, would it

   18   be fair to say that each time it was a different color,

   19   if you recall?

   20   A.    I don't recall.

   21   Q.    Okay.   And typically what color is heroin?

   22   A.    It's usually brown, light brown.                       It varies.   If

   23   you get into black tar heroin it's completely black, so

   24   there's different variations, but typically you're

   25   getting a light brown powder.



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    1   Q.      Okay.     And does the cutting agent affect the color

    2   of the heroin?

    3   A.      It can.

    4   Q.      Okay.     Does it make it lighter or darker, if you

    5   know?

    6   A.      Depending on what it's cut with.                        It would vary.

    7   Q.      Okay.     And in this particular case, the three

    8   transactions that you did in this case with

    9   Mr. Williams, what was the quality of that heroin, if

   10   you know?

   11   A.      I do not know the quality.

   12   Q.      As to the weight of each transaction that

   13   occurred, were you responsible for weighing the heroin

   14   when you purchased it from Mr. Williams?

   15   A.      No, I was not.

   16   Q.      Whose job was that?

   17   A.      It was the case agent.

   18   Q.      Okay.     And the case agent's job is to then turn it

   19   over to where, to an evidence locker?

   20               MR. SCHMITZ:            Objection, Your Honor, hearsay,

   21   lack of foundation.

   22               THE COURT:          Sustained.

   23   BY MR. JOFFE:

   24   Q.      What's the standard protocol once you receive

   25   narcotics in a transaction in this case?                            Who do you



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    1   give it to?

    2   A.    I provided the purchased narcotics to the case

    3   agent.

    4   Q.    And the case agent was whom?

    5   A.    Agent Strang.

    6   Q.    And what's the normal course of business for law

    7   enforcement at that point?              What does Agent Strang do

    8   with the narcotics?

    9              MR. SCHMITZ:          Objection.            Calls for

   10   speculation lack of foundation.

   11   BY MR. JOFFE:

   12   Q.    If you know?

   13              THE COURT:        Overruled.            You can answer the

   14   question, if you can.

   15              THE WITNESS:          I provided to Agent Strang via

   16   chain of custody.       I don't know what the DEA protocol

   17   is from that point on.

   18   BY MR. JOFFE:

   19   Q.    Okay.   Have you had an opportunity to review the

   20   DEA laboratory reports before testifying here today?

   21   A.    No, I have not.

   22   Q.    Okay.   We hear on one of the transactions

   23   Mr. Williams saying, that's what I tell Berto.                       Do you

   24   remember that?

   25   A.    Yes, I do.



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    1   Q.      Was Berto also an undercover agent?

    2   A.      No.

    3   Q.      Okay.     Now, in the three transactions involved in

    4   this case involving Mr. Williams, does Mr. Williams

    5   ever attempt to front you a kilogram of heroin?

    6   A.      No.

    7   Q.      Does Mr. Williams ever attempt to front you a half

    8   kilogram of heroin?

    9   A.      No.

   10   Q.      And the amounts of money that you're dealing with

   11   with Mr. Williams consist of what, $700, $1,400; is

   12   that correct?

   13   A.      Yes.

   14   Q.      Okay.     What's the total amount of money for these

   15   three transactions that you provided to Mr. Williams,

   16   if you recall?

   17   A.      Probably close to 5,000.

   18   Q.      $5,000?

   19   A.      Close to that range total.

   20   Q.      That's significantly less than $70,000; is that

   21   correct?

   22   A.      That is.

   23   Q.      Okay.     And as you sit here today, do you know what

   24   the street value of a kilogram of heroin is at this

   25   time?



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    1   A.    75,000.

    2   Q.    Okay.     And does that price vary?

    3   A.    It does.

    4   Q.    What causes the price to vary?

    5   A.    Location, different parts of the United States, it

    6   varies.

    7   Q.    Demand?

    8   A.    Demand.

    9   Q.    Transportation costs?

   10   A.    Sure.

   11   Q.    Quality?

   12   A.    Sure.

   13   Q.    Okay.     And were you involved in any way with the

   14   provision of the kilogram of heroin to Mr. Williams in

   15   this case?

   16   A.    No, I was not.

   17   Q.    After that third transaction with Mr. Williams,

   18   your function ceases in this case; correct?

   19   A.    Yes.

   20   Q.    Okay.     And that's because you're dealing with

   21   relatively small quanties of heroin; correct?

   22   A.    No, not necessarily, no.

   23   Q.    Well, you're relating it back to state court, but

   24   the individual that deals with the kilogram amount is

   25   not you; correct?



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    1   A.    That is correct.

    2   Q.    Okay.   That gets transferred to a federal law

    3   enforcement officer; correct?

    4   A.    The reason I basically bowed out of the case was I

    5   was promoted, and just stopped doing undercover work.

    6   That's the reason I didn't continue in the case.

    7   Q.    Okay.   And when were you promoted during the

    8   course of this case?

    9   A.    I was promoted in February.

   10   Q.    After this third transaction?

   11   A.    Just prior.      I did this February 11th transaction

   12   and then I was done.

   13   Q.    So you had nothing to do with the provision of the

   14   kilogram of heroin; correct?

   15   A.    Correct.

   16   Q.    Okay.   But had you had any discussions with

   17   Mr. Williams regarding him purchasing a kilogram of

   18   heroin?

   19   A.    No, not at that point.

   20   Q.    And during these three transactions, it's always

   21   Mr. Williams providing the heroin; correct?

   22   A.    Yes.

   23   Q.    And Mr. Williams is providing these ounce amounts

   24   and these gram amounts; correct?

   25   A.    That is correct.



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    1              MR. JOFFE:        Thank you, sir.                I have no

    2   further questions of this witness, Your Honor.

    3              THE COURT:        Thank you.            Any redirect?

    4              MR. SCHMITZ:          Your Honor, just give me a

    5   moment, please.

    6              THE COURT:        Yes.

    7                         REDIRECT EXAMINATION

    8   BY MR. SCHMITZ:

    9   Q.    All right.     Sergeant Gonzalez, why was Lori

   10   inserted into the case in the last buy?

   11   A.    The agent decided because I was promoted he wanted

   12   to have me introduce her as the potential buyer for the

   13   ongoing investigation.

   14              MR. SCHMITZ:          No more questions, Your Honor.

   15              THE COURT:        Anything, Mr. Joffe?

   16              MR. JOFFE:        No, Your Honor.                Nothing further.

   17              THE COURT:        Thank you.            May this witness be

   18   excused?

   19              MR. SCHMITZ:          Yes, Your Honor.

   20              MR. JOFFE:        Yes, Your Honor.

   21              THE COURT:        All right.            Then you may be

   22   excused.   Thank you.        Call your next witness.

   23              MR. SCHMITZ:          Your Honor, the United States

   24   calls Drug Enforcement Administration agent Mark

   25   Strang.



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    1   THEREUPON,

    2                                 MARK STRANG,

    3   a witness, having been first duly sworn, upon his oath,

    4   testified as follows:

    5                THE WITNESS:        I do.

    6                COURTROOM DEPUTY:            Please state and spell

    7   your name for the record.

    8                THE WITNESS:        My name is Mark Strang,

    9   S-T-R-A-N-G.

   10                           DIRECT EXAMINATION

   11   BY MR. SCHMITZ:

   12   Q.    Good afternoon, Agent Strang.                    How are you

   13   employed?

   14   A.    I'm a special agent with the U.S. Drug Enforcement

   15   Administration.

   16   Q.    How long have you been with DEA?

   17   A.    Approximately 29 years.

   18   Q.    How many narcotics investigations have you been

   19   involved with in your time with DEA?

   20   A.    I would say hundreds.

   21   Q.    As part of your job, do you conduct surveillance?

   22   A.    Yes, I do.

   23   Q.    Do you conduct surveillance of undercover buys?

   24   A.    Yes, I do.

   25   Q.    Do you participate -- facilitate controlled



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    1   purchases in narcotics?

    2   A.    Yes, I do.

    3   Q.    Is it part of your job duties to handle evidence?

    4   A.    Yes.

    5   Q.    Have you been trained in how to handle evidence?

    6   A.    Yes, I have.

    7   Q.    Did there come a time when you became involved in

    8   the investigation into whether Norris Williams

    9   purchased and sold heroin?

   10   A.    Yes.

   11   Q.    Do you recognize -- do you know what Mr. Williams

   12   looks like from the surveillance you conducted of those

   13   purchases?

   14   A.    Yes, I do.

   15   Q.    Do you see him sitting in the courtroom here

   16   today?

   17   A.    Yes, I do.

   18   Q.    Can you please point to him and identify an

   19   article of clothing?

   20   A.    He's seated at the defense table with a dark suit.

   21   Q.    If I refer to Norris Williams as the defendant,

   22   will you know what I'm talking about?

   23   A.    Yes.

   24   Q.    I want to direct your attention to the role you

   25   played with respect to the evidence in this case.                    What



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    1   generally was your role with respect to the evidence in

    2   this case?

    3   A.    I was responsible for receiving the evidence from

    4   the undercover agent, Sammy Gonzalez, and sealing it in

    5   an evidence bag for submission to the southeast

    6   laboratory for analysis.

    7   Q.    Did you receive the heroin from Sammy Gonzalez

    8   after the deal?

    9   A.    I did.

   10   Q.    And generally speaking, what did you do with the

   11   heroin that you received after the deals?

   12   A.    Well, I would place it in a DEA evidence bag and

   13   seal it and write in the appropriate markings or

   14   witness another agent who may do the same thing.

   15                MR. SCHMITZ:        Your Honor, may I approach the

   16   witness freely?

   17                THE COURT:      Yes, you may.

   18   BY MR. SCHMITZ:

   19   Q.    Did you receive from then detective now sergeant

   20   Gonzalez heroin on November 18th, 2014, that Detective

   21   Gonzalez had purchased from the defendant?

   22   A.    I did.

   23   Q.    Please take a look at Exhibit 2A1.                        Do you

   24   recognize that?

   25   A.    Yes.



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    1   Q.    What is that?

    2   A.    That's a photograph of the heroin evidence that

    3   was purchased on 11/18/14.

    4   Q.    Is that a fair and accurate depiction of the

    5   drugs, the heroin you received from Detective Gonzalez

    6   on November 18th, 2014?

    7   A.    Yes.

    8                MR. SCHMITZ:        Your Honor, the government

    9   moves for admission of Government's Exhibit 2A1.

   10                MR. JOFFE:      No objection, Your Honor.

   11                THE COURT:      Government's Exhibit 2A1 will be

   12   introduced at this time.

   13                MR. SCHMITZ:        May we publish?

   14                THE COURT:      Yes, you may.

   15                (Government's Exhibit Number 2A1 was admitted

   16         into evidence.)

   17   BY MR. SCHMITZ:

   18   Q.    Again, is that the heroin that Detective Gonzalez

   19   gave you on November 8th, 2014?

   20   A.    Yes, it is.

   21   Q.    Was it in that packaging?

   22   A.    Yes.

   23   Q.    All right.     Now, were you tasked with handling the

   24   heroin that the defendant sold to -- that heroin that

   25   the defendant had sold on November 18th?



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    1   A.      Yes.

    2   Q.      When you received that evidence, what did you do

    3   with it?

    4   A.      Well, I seal it in a DEA -- what's called a

    5   self-sealing evidence envelope and fill out the

    6   appropriate markings.          There are two people that do the

    7   sealing and the marking, so either sealed it or

    8   witnessed the sealing it.             And I either filled out the

    9   appropriate information that was needed or witnessed

   10   that.

   11   Q.      Did you maintain possession of that heroin at all

   12   times from the time you got it from Detective Gonzalez

   13   to the time you sealed it in that bag or witnessed it

   14   sealed in that bag?

   15   A.      Yes, I did.

   16   Q.      All right.    I'm showing you what's been marked for

   17   identification as Government's Exhibit 2.                            Do you

   18   recognize that?

   19   A.      Yes, I do.

   20   Q.      What is it?

   21   A.      This is the evidence bag, the original evidence

   22   bag and the heroin that we sealed in this bag on

   23   November 18th, 2014.

   24   Q.      Do you recognize the handwriting on that bag?

   25   A.      Yes, I do.



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    1   Q.    Is some of that handwriting your handwriting?

    2   A.    Yes.

    3   Q.    Is that your name on the seal?

    4   A.    Yes, it is.

    5   Q.    Is that the same bag in which you sealed that

    6   heroin after you received it from Detective Gonzalez on

    7   November 18th, 2014?

    8   A.    Yes.

    9   Q.    Again, did you keep and maintain possession of

   10   that heroin that Detective Gonzalez gave you at all

   11   times before it was sealed in the bag?

   12   A.    Yes, I did.

   13   Q.    Did anyone tamper with the heroin?

   14   A.    No.

   15   Q.    Did anyone that you know of tamper with that bag?

   16   A.    No one tampered with it.                At the laboratory the

   17   forensic chemist --

   18   Q.    Right, until it got to the laboratory, did anyone

   19   tamper with that bag?

   20   A.    No, it was sealed.            It was sealed by me and Adam

   21   Heinlein, and that's the way it was sent out.

   22   Q.    And where is evidence stored at DEA after you seal

   23   it?

   24   A.    We have a special room that's called the drug

   25   evidence vault, and it's designed for storing,



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    1   temporary storage of drug evidence.

    2   Q.      Where did that evidence go after it was placed in

    3   the vault?      Where if anywhere?

    4   A.      It went to the south -- the DEA southeast

    5   laboratory in Miami, Florida.

    6   Q.      And just one more question about Government's

    7   Exhibit 2 there, that's the bag I was just asking you

    8   about.     Is that bag in the same condition as when you

    9   sealed it?

   10   A.      Not entirely.       It's been opened and resealed.

   11   Q.      Do you know as you sit here today who opened and

   12   resealed that?

   13   A.      That was the forensic chemist, DEA forensic

   14   chemist.

   15   Q.      Okay.

   16   A.      I don't know which one.

   17   Q.      Can you take a look at Government's Exhibit 4A1

   18   that I just showed you.             What is that?

   19   A.      That's a photograph of Exhibit -- DEA Exhibit 7,

   20   which was the second -- or undercover purchase of

   21   heroin.

   22   Q.      And when you say the second undercover purchase,

   23   is that the purchase that occurred on December 17th,

   24   2014?

   25   A.      That's correct.



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    1   Q.    Does that photograph fairly and accurately depict

    2   the drugs as you received them from Detective Gonzalez

    3   after purchased them?

    4   A.    Yes.

    5   Q.    From the defendant?

    6   A.    Yes.

    7   Q.    Did you take that picture?

    8   A.    I did.

    9                MR. SCHMITZ:        Your Honor, the government

   10   moves for the admission of Government's Exhibit 4A1.

   11                THE COURT:      Any objection?

   12                MR. JOFFE:      No, Your Honor.

   13                THE COURT:      Government's Exhibit 4A1 will be

   14   introduced at this time.

   15                (Government's Exhibit Number 4A1 was admitted

   16         into evidence.)

   17                MR. SCHMITZ:        May we publish?

   18                THE COURT:      You may.

   19   BY MR. SCHMITZ:

   20   Q.    Again, is that the heroin that you received from

   21   Detective Gonzalez on December 17th, 2014?

   22   A.    It is.

   23   Q.    Now, were you tasked with handling the heroin that

   24   the defendant sold to Detective Gonzalez on

   25   December 17th, 2014?



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    1   A.    Yes, I was.

    2   Q.    When you received that evidence, what did you do

    3   with it?

    4   A.    Myself and task force agent Adam Heinlein sealed

    5   it in a self-sealing evidence envelope.

    6   Q.    Did you write your name on it?

    7   A.    I did.

    8   Q.    I'm showing you what's been marked for

    9   identification as Government's Exhibit 6.                            Do you

   10   recognize that?

   11   A.    I have Government's Exhibit 4.

   12   Q.    Good.    I intended to give you Government's

   13   Exhibit 4.     I am showing you what's been marked as

   14   Government's Exhibit 4.            Do you recognize that?

   15   A.    Yes, I do.

   16   Q.    What is it?

   17   A.    This is the self-sealing evidence envelope which I

   18   sealed.    The heroin that was purchased on

   19   December 17th, 2014.

   20   Q.    Is that your handwriting on the bag?

   21   A.    Some of it is, yes.

   22   Q.    Now, there appear to be two bags.                       Is your

   23   handwriting on both of those bags or just one of them?

   24   A.    Just on one bag.

   25   Q.    Did you create the other bag, the bag that's



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    1   without your handwriting on it?

    2   A.     I did not.

    3   Q.     The bag with your handwriting on it, was that the

    4   only bag that you sealed the evidence in?

    5   A.     Yes.

    6   Q.     Did you maintain possession of that heroin when

    7   you got it from the -- from the time you got it from

    8   Detective Gonzalez to the time you sealed it in that

    9   bag?

   10   A.     Yes, I did.

   11   Q.     Is that bag in the same exact condition as when

   12   you sealed it?

   13   A.     No, it's not.

   14   Q.     How is it different?

   15   A.     It was opened at the bottom edge and resealed and

   16   relabeled.

   17   Q.     Do you know who did that?

   18   A.     Yes.

   19   Q.     Who did that?

   20   A.     Senior forensic chemist Deepa Vanmali.

   21   Q.     Now, after you had sealed that heroin in that bag,

   22   where was that bag stored?

   23   A.     Again, in the Fort Myers office temporary drug

   24   storage vault.

   25   Q.     Where did the sealed bag go to after it was in the



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    1   sealed vault in DEA?

    2   A.    To the DEA southeast laboratory in Miami.

    3   Q.    Now, were you tasked with handling the heroin that

    4   the defendant sold to Detective Gonzalez on February

    5   11th, 2015?

    6   A.    Yes, I was.

    7   Q.    When you received that evidence from Detective

    8   Gonzalez, what did you do with it?

    9   A.    Adam Heinlein, task force agent Adam Heinlein and

   10   myself sealed it in a different, another self-sealing

   11   evidence envelope.

   12   Q.    Did you write your name on that self-sealing

   13   envelope?

   14   A.    I did.

   15   Q.    I'm showing you what's been marked for

   16   identification as Government's Exhibit 6.                            Do you

   17   recognize that?

   18   A.    Yes, I do.

   19   Q.    What is that?

   20   A.    This is the evidence envelope and the drug

   21   evidence from the February 11th, 2015, purchase.

   22   Q.    Is that your name on the seal?

   23   A.    Yes.

   24   Q.    Is that your handwriting on the bag?

   25   A.    Some of it.



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    1   Q.    Okay.   And is that the same bag in which you and

    2   Detective Heinlein sealed the heroin you received from

    3   Detective Gonzalez on February 11, 2015?

    4   A.    Yes.

    5   Q.    Did you keep and maintain possession of all that

    6   heroin that Detective Gonzalez gave you before you put

    7   it -- you and detective -- excuse me, you and agent

    8   Heinlein sealed it in that bag?

    9   A.    Yes, Gonzalez gave it to me and Heinlein, Heinlein

   10   and I, and we sealed it in this bag on that date.

   11   Q.    Where was that bag sealed -- excuse me, where was

   12   that bag sent after it was sealed?

   13   A.    It was also sent to the DEA southeast laboratory

   14   in Miami for analysis and permanent storage.

   15   Q.    Before it was sent there, was it stored in the DEA

   16   vault?

   17   A.    Yes.

   18   Q.    Now, there's a second bag.                  Do you recognize

   19   what's in that second bag with respect to Exhibit 6?

   20   A.    Yes.

   21   Q.    What is it?

   22   A.    It's the original packaging, the original

   23   packaging that contained the heroin.

   24   Q.    And is that the original packaging that Detective

   25   Gonzalez -- in which Detective Gonzalez gave you the



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    1   heroin?

    2   A.    Yes.

    3   Q.    On February 11th, 2015?

    4   A.    Yes.

    5   Q.    Okay.   I want to direct your attention back to

    6   Government's Exhibit 4.            The second bag there that we

    7   talked about, the one without your handwriting on it,

    8   do you recognize what's in that bag?

    9   A.    Yes.

   10   Q.    What is that?

   11   A.    It's also the original packaging that contained

   12   the heroin that was purchased on December 17th, 2014.

   13   Q.    Now, I want to direct your attention to the sale

   14   of heroin that occurred or attempted purchase of heroin

   15   that occurred on October 2015.                 Before that occurred,

   16   did you surveil what was commonly referred to as a

   17   flash?

   18   A.    Yes.

   19   Q.    What date did that flash occur?

   20   A.    That was July 22nd, 2015.

   21   Q.    Can you please explain for the jury what a flash

   22   is?

   23   A.    It's an undercover operation, usually in

   24   conjunction with a reverse undercover operation where

   25   law enforcement will display a controlled substance in



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    1   a surprise situation or unexpectedly to a suspect.

    2   Q.    Why is it surprise?

    3   A.    We do it in surprise for safety.

    4   Q.    And what is the purpose of a flash?

    5   A.    Well, there's several.               It's to show that the

    6   undercover personnel is a legitimate drug trafficker,

    7   it's for safety so that the people we're dealing with

    8   know that we actually have access to real drugs and not

    9   some fake material that could lead to the thought of a

   10   rip-off or -- it's also done to build credibility in

   11   the undercover scenario, to clarify and make clear what

   12   we're talking about in the undercover scenario, in case

   13   that code words are being used or careful language is

   14   being employed.

   15   Q.    Okay.    Does it put the parties on the same page

   16   about what's being sold?

   17   A.    Yes.

   18   Q.    Were you tasked with requesting heroin to use

   19   during the flash that occurred on July 22nd?

   20   A.    I was.

   21   Q.    Where did you request it from?

   22   A.    I requested it from the northeast laboratory in

   23   New York City.

   24   Q.    What quantity of heroin did you request?

   25   A.    I requested one kilogram of heroin in a brick



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    1   form.

    2   Q.      Did they send you heroin?

    3   A.      They did.

    4   Q.      Was that the heroin that you later used in the

    5   flash on July 22nd?

    6   A.      It was.

    7   Q.      All right.      I'm showing you what's been marked for

    8   identification as Government's Exhibit 10A3.                            Do you

    9   recognize that, Agent Strang?

   10   A.      Yes, I do.

   11   Q.      What is that?

   12   A.      That's the kilo of heroin that I received from the

   13   northeast laboratory.

   14   Q.      Is it the kilo or is it a picture of the kilo?

   15   A.      It's a picture of the kilo.

   16   Q.      And does that picture truly and accurately depict

   17   the brick of heroin that you received and used in the

   18   flash on July 22nd?

   19   A.      Yes, it does.

   20   Q.      And when I say you used, I mean that Detective

   21   Chica used?

   22   A.      Yes, it does.

   23               MR. SCHMITZ:            Your Honor, we move for the

   24   admission of Government's Exhibit 10A3.

   25               THE COURT:          Any objection?



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    1              MR. JOFFE:        No, Your Honor.

    2              THE COURT:        Government's Exhibit 10A3 will be

    3   introduced at this time.

    4               (Government's Exhibit Number 10A3 was admitted

    5         into evidence.)

    6              MR. SCHMITZ:          May we publish, Your Honor?

    7              THE COURT:        Yes, you may.

    8   BY MR. SCHMITZ:

    9   Q.    So, again, does this truly -- does Government's

   10   Exhibit 10A3 truly and accurately depict the brick that

   11   was used in the flash on the 2nd?

   12   A.    Yes, it does.

   13              MR. SCHMITZ:          Your Honor, may I have a

   14   moment?

   15              THE COURT:        Yes.

   16              MR. SCHMITZ:          Your Honor, no more questions

   17   from the government.

   18              THE COURT:        Mr. Joffe?

   19              MR. JOFFE:        Yes, thank you, Your Honor.

   20                            CROSS-EXAMINATION

   21   BY MR. JOFFE:

   22   Q.    Agent Strang, good afternoon, sir.

   23   A.    Good afternoon.

   24   Q.    Now, were you involved with the three prior

   25   transactions that we saw in the beginning of this case



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    1   with Mr. Norris Williams?

    2   A.    Yes, I was.

    3   Q.    And you were involved as the receiver of the

    4   narcotics that were purchased by Detective Samuel

    5   Gonzalez; correct?

    6   A.    Yes.

    7   Q.    And once you received those items, you placed

    8   those in an evidence bag; is that correct?

    9   A.    Yes.

   10   Q.    Okay.   And you initialled the evidence bag?

   11   A.    Yes.

   12   Q.    After you sealed the evidence bag?

   13   A.    Well, I write -- we write our names on the

   14   evidence bag before we put the seal over it.

   15   Q.    Okay.   And the evidence bag goes in what you

   16   define as a temporary locker; is that correct?

   17   A.    Well, it's really more than a locker.                          That

   18   doesn't describe it.         It's a separate room which is

   19   alarmed and locked and there's a drop door in it and a

   20   safe in it so it's controlled access and secure.

   21   Q.    Okay.   And how do those items as it relates to

   22   this particular case, how does the evidentiary -- how

   23   do the evidentiary items, in this case the heroin, make

   24   it from your office to the southeastern laboratory

   25   located in Miami, Florida?



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    1   A.    In this case they were sent by commercial courier

    2   service.     I believe it was FedEx.

    3   Q.    So the heroin that detective Samuel Gonzalez

    4   purchased was sent from your office via Federal

    5   Express; is that correct?

    6   A.    I believe it was Federal Express.

    7   Q.    Okay.    So DEA does not have its own courier

    8   service that would transfer the narcotics; is that

    9   correct?

   10   A.    We don't have a personal service.                       We use the

   11   commercial services.         I started in 1987, and we've been

   12   doing it that way.

   13   Q.    Okay.    And in this case you're certain you used

   14   Federal Express; is that correct?

   15   A.    I believe that's the courier.

   16   Q.    Okay.

   17   A.    I'm not certain.

   18   Q.    I'm sorry?

   19   A.    I'm not certain.          I would have to look at the

   20   documents.

   21   Q.    And who is responsible from your office to make

   22   sure that the items that were actually seized from

   23   Mr. Williams -- or I'm sorry, that were allegedly

   24   purchased from Mr. Williams actually went to FedEx?

   25   A.    Well, there's one agent what's in charge of



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    1   shipping out in a case like this, and that's Steve

    2   Duquette, agent Steve Duquette.

    3   Q.    And Agent Duquette is responsible for handing the

    4   packages of heroin to a Federal Express driver; is that

    5   correct?

    6   A.    Well, it's in a FedEx box at that point, but he

    7   handles that.    That's one of his collateral duties.

    8   Q.    And does Agent Duquette deliver the FedEx box of

    9   heroin to a FedEx office or station?

   10   A.    Yes.

   11   Q.    And he drops it off; is that correct?

   12   A.    Transfers custody to the FedEx people.

   13   Q.    Okay.   So Agent Duquette would give it to a man or

   14   woman who was at the counter at the FedEx store; is

   15   that correct?

   16   A.    Correct.

   17   Q.    With a slip from DEA that says it's going to a

   18   certain location; correct?

   19   A.    Correct.

   20   Q.    Okay.   And who's responsible for the care, custody

   21   and/or control of those narcotics once it's in the

   22   possession of Federal Express?

   23   A.    Well, FedEx delivers them to the lab where it's

   24   opened.

   25   Q.    I understand that, but while the narcotics are in



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    1   the care, custody, and control of Federal Express, who

    2   specifically at Federal Express, as it relates to this

    3   case, are responsible for the narcotics?

    4   A.    Well, there's not one particular person that's

    5   responsible.    It's sealed by me in this case and when

    6   it arrives in Miami they check it to make sure it

    7   hasn't been tampered with and it's unbroken.

    8   Q.    But once the narcotics are given to Federal

    9   Express, it's no longer in your care, custody, or

   10   control; correct?

   11   A.    No, we gave it to Federal Express for delivery to

   12   Miami.

   13   Q.    Okay.    And how do you know that anyone at FedEx

   14   doesn't open the box and looks at the narcotics?

   15   A.    Opens the box and looks at the narcotics?

   16   Q.    Yes.

   17   A.    Well, the box arrives in Miami and upon arrival

   18   it's inspected.     The evidence bag is inspected for any

   19   tampering.     If there's tampering, we're notified.                 I

   20   have never been notified.             I know of no cases where

   21   that's happened.

   22   Q.    Okay.    And do you know why DEA uses a commercial

   23   carrier to transport what are purportedly illegal

   24   narcotics?

   25   A.    It's an efficient system that works.



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    1   Q.      Okay.   And did you have a discussion with anyone

    2   at the Miami laboratory to confirm that the narcotics

    3   that were purportedly sold from Mr. Norris Williams to

    4   detective Samuel Gonzalez arrived?

    5   A.      I didn't have a discussion, no.

    6   Q.      Okay.   Do those narcotics eventually get sent back

    7   to you?

    8   A.      They do in preparation for this trial.

    9   Q.      Okay.   And are the narcotics that were now in

   10   Miami get mailed back to you via Federal Express as

   11   well?

   12   A.      They did in this case.

   13   Q.      Okay.   And you know for a fact it was Federal

   14   Express; correct?

   15   A.      I can't say for 100 percent without looking at the

   16   documents, but I think that's what we used in this

   17   case.

   18   Q.      Okay.   And as part of your case file, you have all

   19   the Federal Express receipts; correct?

   20   A.      Yes.

   21   Q.      And those are all provided to the U.S. Attorney's

   22   Office; correct, as part of the chain of custody?

   23   A.      The laboratory submission report has a notation as

   24   to how it arrived.

   25   Q.      Okay.   Well, but my question to you is the Federal



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    1   Express receipts, the documents, you're responsible for

    2   providing those to the U.S. Attorney's Office; correct?

    3                MR. SCHMITZ:        Objection, Your Honor,

    4   relevance.

    5                MR. JOFFE:      It goes to chain of custody, Your

    6   Honor.

    7                THE COURT:      I'm going to overrule.

    8                THE WITNESS:        I don't know that we're

    9   responsible for providing them.                  If somebody needs to

   10   see them, we have them.            It's also I have the reports

   11   at my desk there that show which company we shipped it,

   12   the label number, and the fact that these were all

   13   received unbroken.

   14   BY MR. JOFFE:

   15   Q.    But that was all provided to the U.S. Attorney's

   16   Office; correct?

   17   A.    I can't say if it was or wasn't.

   18   Q.    You're the case agent in this case; correct?

   19   A.    Correct.

   20   Q.    You're considered the lead case agent; correct?

   21   A.    Partners, I would say equal.

   22   Q.    Okay.    Who is the other equal partner?

   23   A.    Adam Heinlein.

   24   Q.    But you're the case agent, you're sitting here in

   25   court; correct?



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    1   A.    Of course.

    2   Q.    And now you're testifying; correct?

    3   A.    Of course.

    4   Q.    So it's your responsibility to turn those Federal

    5   Express over to the U.S. Attorney's Office; correct?

    6   A.    No.

    7   Q.    Whose responsibility is it?

    8   A.    I've not heard of that before.

    9   Q.    Okay.   That certainly is an issue regarding chain

   10   of custody, is it not?

   11               MR. SCHMITZ:         Objection.            Calls for a legal

   12   conclusion, Your Honor.

   13               THE COURT:       Sustained.

   14   BY MR. JOFFE:

   15   Q.    In any of the cases that you've handled over your

   16   almost 30 years, do you ever provide those Federal

   17   Express receipts to counsel for the government?

   18               MR. SCHMITZ:         Objection, relevance, Your

   19   Honor.

   20               THE COURT:       Overruled.

   21               THE WITNESS:         I have not provided them nor

   22   have been asked.

   23   BY MR. JOFFE:

   24   Q.    Okay.   Have you reviewed those receipts with

   25   counsel for the government in this case?



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    1   A.    I have not.

    2   Q.    Okay.    Now, you testified about a kilogram of

    3   heroin that you requested from the New York Drug

    4   Enforcement Administration; is that correct?

    5   A.    The northeastern laboratory, yes.

    6   Q.    Okay.    And that's located in New York; correct?

    7   A.    Yes.

    8   Q.    And how does that kilogram of heroin arrive at

    9   your office?

   10   A.    Again, through a commercial courier service, such

   11   as Federal Express.

   12   Q.    And in this particular case, which courier service

   13   was used, if you know?

   14   A.    I don't know off the top of my head.                           Don't

   15   recall.

   16   Q.    Okay.    And who was responsible for weighing that

   17   kilogram of heroin before it left New York?

   18   A.    There's a group of personnel called the reverse

   19   undercover operations custodians, and they're charged

   20   with taking care of items such as this.

   21   Q.    And when you say items such as this, meaning the

   22   kilogram of heroin; is that correct?

   23   A.    Such as heroin, we use cocaine, other drugs at

   24   times.

   25   Q.    Okay.    And the heroin that was Federal Expressed



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    1   or commercial carrier to your office was purportedly

    2   seized by DEA in New York or somewhere else; is that

    3   correct?

    4   A.    I don't know the full history of the seizure of

    5   this heroin, but I can speak typically that's how we

    6   get this.

    7   Q.    Okay.    And when the heroin arrives to you, do you

    8   weigh it?

    9                MR. SCHMITZ:        Objection, Your Honor,

   10   relevance.     We haven't introduced this piece of

   11   evidence.

   12                MR. JOFFE:      Not yet.

   13                THE COURT:      I'm overruling.                Go ahead.

   14                THE WITNESS:        I don't weigh it, no.

   15   BY MR. JOFFE:

   16   Q.    Okay.    Does anyone in your office weigh the

   17   kilogram of heroin?

   18                MR. SCHMITZ:        Objection, Your Honor, and may

   19   we approach?

   20                THE COURT:      Yes.

   21                (Bench conference was held within the

   22   presence of the jury.)

   23                MR. SCHMITZ:        Your Honor, the relevance --

   24   the weight of this brick, this flash brick, is not

   25   relevant here.     Okay?       First of all, this is beyond the



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    1   scope of direct examination.                I know you have already

    2   overruled us on that, but the point is there's no

    3   relevance to what this brick actually weighed because

    4   that is not what's relevant here.                    What's relevant is

    5   what the defendant believed it weighed.                        He didn't

    6   weigh this at the meet.            What's relevant, as I said --

    7   he didn't have a scale there.                What's relevant is what

    8   he believed it weighed, so what it actually weighed or

    9   even if it's sawdust and not heroin, it's completely

   10   irrelevant.    This case is about attempt.

   11               And the second argument, Your Honor, is even

   12   if it was relevant, which it's not and even if he

   13   weighed it, which he didn't, the relevance of the

   14   weight at the time is at the time of the flash.                         Okay?

   15   Not afterwards.     I think what defense counsel is

   16   getting at and what the evidence is going to show in

   17   this case is that -- and he's already mentioned this in

   18   his opening, that the defendant took some heroin out of

   19   that brick before it was ultimately weighed at the lab.

   20   We don't intend to call that lab analyst, we don't

   21   intend to introduce how much it weighed.                         But the point

   22   is there's no relevance, number one, and number two, if

   23   there was relevance, it's at the time of the flash

   24   before heroin is taken out of that brick.

   25              MR. JOFFE:        I don't really understand the



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    1   government's objection.            Of course it's relevant.

    2   They've admitted a photograph of what purports to be a

    3   brick of heroin.      I'm entitled to a full

    4   cross-examination about the heroin.                     They're bringing

    5   images of chain of custody, they're arguing amounts,

    6   weights, et cetera.         It's all relevant.

    7               MR. SCHMITZ:         Your Honor.

    8               THE COURT:       Go ahead.

    9               MR. SCHMITZ:         What's relevant here is what it

   10   looked like, not what it was.                What's relevant is what

   11   he thought it was, not what it actually was.

   12               THE COURT:       Okay.        I'm going to overrule the

   13   question.

   14               MR. JOFFE:       Thank you, Judge.

   15               THE COURT:       Proceed.          Overruled.

   16               (Bench conference concluded and proceedings

   17   continued as follows:)

   18               MR. JOFFE:       Your Honor, can I ask madam court

   19   reporter to read the last question?

   20               THE COURT:       You may.

   21               (The requested portion of the record was

   22   read.)

   23   BY MR. JOFFE:

   24   Q.      Either prior to or after the transaction in this

   25   case?



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    1   A.    As far as I know, no one weighed it prior to.                  I

    2   saw a photograph of it weighed after the 7/22/15 flash.

    3   Q.    Okay.    And the July 22nd, 2015, surprise or flash,

    4   was that conducted -- you looked like you were

    5   thinking.     Go ahead.

    6   A.    Was it conducted?

    7   Q.    Have you finished your prior answer?

    8   A.    (Witness nodded head.)

    9   Q.    Okay.    The July 22nd, 2015, flash or the surprise,

   10   as you reference it, did you conduct that yourself?

   11   A.    Well, I was part of a group that conducted it.

   12   Q.    Okay.    Were you the individual that actually met

   13   with Norris Williams?

   14   A.    I was not.

   15   Q.    Okay.    Who was the case agent that actually met

   16   with Mr. Williams?

   17   A.    Well, there were two undercover DEA task force

   18   personnel that met with him.                One was Victor Chica and

   19   one was Edwin Pagan.

   20   Q.    And did those individuals have an occasion to

   21   weigh that purported kilogram either prior to or after

   22   the transaction?

   23   A.    Yes, Edwin Pagan was present when it was weighed

   24   after the transaction.

   25   Q.    And when this item was weighed after the



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    1   transaction, do you weigh the wrapping as well, or just

    2   the purported heroin?

    3   A.    I saw a picture where they weighed the whole kilo

    4   with the wrapping and everything and took a photograph

    5   of it.

    6   Q.    Okay.     So the weighing that they did involves the

    7   wrapping as well; correct?

    8   A.    Yes.

    9   Q.    And this July 22nd, 2015, flash was videotaped;

   10   correct?

   11   A.    Yes.

   12   Q.    Okay.     Have you viewed that videotape?

   13   A.    I have.

   14   Q.    Okay.     And is it legible?

   15   A.    It's good.

   16   Q.    You can hear what's happening?

   17   A.    Yes.

   18   Q.    And there's a small cut, like a triangle that's

   19   made into this purported kilogram of heroin; is that

   20   correct?

   21   A.    Yes, there is, during the flash it's called a

   22   window that's cut into it, yes.

   23   Q.    Who cuts the window into that item?

   24   A.    The defendant.

   25   Q.    Okay.     That's highly unusual, would that be fair



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    1   to say?

    2   A.    Not at all.

    3   Q.    Okay.    Does that not take control away from the

    4   undercover agents and give it to this individual that

    5   you're trying to sell an item to?

    6   A.    No, it's part of the flash.                   We want to see the

    7   material that's inside the wrapper.

    8   Q.    Okay.    But you and the undercover agents already

    9   allegedly know what's inside the wrapper; correct?

   10   A.    We do.

   11   Q.    Okay.    And the individual that's cutting this

   12   open, does this individual actually take a portion of

   13   what's in there out?

   14   A.    Yes.

   15   Q.    And does that individual test it?

   16   A.    That's the idea, yes.

   17   Q.    In this case, on July 22nd, 2015, when the flash

   18   occurs, does the individual purportedly being Norris

   19   Williams actually test the item with a Valtox or

   20   anything else?

   21   A.    I didn't see that, no.

   22   Q.    Okay.    And the material that's allegedly taken out

   23   of that brick, where is it placed, does it disperse

   24   inside the car, is it dropped, is it lost?                           Where does

   25   it go?



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    1   A.    They placed that sample in a piece of plastic it

    2   looked like.

    3   Q.    Who placed it in the plastic?

    4   A.    The defendant and I think it was Edwin Pagan.

    5   Q.    Edwin Pagan who is acting in an undercover

    6   capacity as a law enforcement officer; correct?

    7   A.    Yes.

    8   Q.    So Officer Pagan assists Mr. Williams in placing

    9   that heroin in a separate plastic container; is that

   10   correct?

   11   A.    I believe he did.           He was involved in it somehow,

   12   maybe the defendant did himself, but that's just kind

   13   of my recollection.

   14   Q.    And was that a giveaway, meaning it wasn't paid

   15   for at the time?

   16   A.    That was a sample for testing purposes.

   17   Q.    Okay.    So that's your -- that's DEA standard

   18   operating procedure to provide samples free of charge

   19   for potential buyers?

   20   A.    In a reverse undercover operation, we're allowed

   21   to provide a small sample of the product sufficient for

   22   testing.

   23   Q.    Okay.    And testing could be use, resale; correct?

   24   A.    It's for testing.

   25   Q.    What did --



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    1   A.      It's not for resale, absolutely, no.

    2   Q.      What did Mr. Williams do with that item, do you

    3   know?

    4   A.      No.

    5   Q.      Did you ask him what he intended to do with it?

    6   A.      He said he was going to test it.

    7   Q.      Okay.   And did the agents on the video ask

    8   Mr. Williams how he intended to test it?

    9   A.      Not that I recall.

   10   Q.      Okay.   And how many grams or ounces were removed

   11   from the item?

   12   A.      I don't know.

   13   Q.      Okay.   And did the undercover agents who were in

   14   the car with Mr. Williams know how much it weighed, the

   15   item that was removed, I'm sorry?

   16   A.      It was a small amount sufficient for testing

   17   purposes.

   18   Q.      Okay.

   19                 MR. JOFFE:      Your Honor, I have no further

   20   questions of this witness at this time.                         Thank you.

   21                 THE COURT:      All right.            Redirect?

   22                 MR. SCHMITZ:        Briefly, Your Honor.                Thank

   23   you.

   24                          REDIRECT EXAMINATION

   25   BY MR. SCHMITZ:



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    1   Q.    Good afternoon, Agent Strang.                    Why are you allowed

    2   to provide a drug dealer with a sample before that drug

    3   dealer is going to purchase a large quantity for a

    4   large amount of money?

    5               MR. JOFFE:       Objection.            Asked and answered.

    6               THE COURT:       Overruled.

    7               THE WITNESS:         Well, it's permitted as part

    8   of -- this is called a reverse undercover operation,

    9   and in these situations, I guess over the years it's

   10   been determined that, you know, it's part of the

   11   process of negotiating and testing of -- sampling of

   12   narcotics is typically done in large scale transactions

   13   and that's what happens.

   14   BY MR. SCHMITZ:

   15   Q.    Okay.   Now, you alluded to this before and you got

   16   asked some questions about FedEx.                    Is it normal to send

   17   evidence via FedEx?

   18               MR. JOFFE:       I'm going to object to the term

   19   normal.

   20               THE COURT:       Go ahead and rephrase your

   21   question.

   22   BY MR. SCHMITZ:

   23   Q.    Is it typical for DEA to send evidence via FedEx?

   24               MR. JOFFE:       Objection.            This has been asked

   25   and answered.



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    1               THE COURT:       Overruled.

    2               THE WITNESS:         Yes, it is typical, and, in

    3   fact, it's used all over the country by DEA.                         And when

    4   I was hired in 1987, they were shipping drugs through

    5   the mail.   And I thought I was surprised to learn that

    6   at that time, but it works and that's what we do.

    7   BY MR. SCHMITZ:

    8   Q.    Would it be cost effective for DEA to operate its

    9   own postal system?

   10               MR. JOFFE:       I'm going to object, Your Honor,

   11   this is beyond the scope of direct or cross, this is

   12   not relevant, this clearly calls for speculation.

   13               THE COURT:       Sustained.            Sustained.        Go ahead.

   14   BY MR. SCHMITZ:

   15   Q.    Would you consider the shipping of this evidence

   16   to be ministerial?

   17               MR. JOFFE:       Your Honor, it's not relevant

   18   what he thinks.

   19               THE COURT:       Overruled.

   20               THE WITNESS:         Can you rephrase that for me?

   21   BY MR. SCHMITZ:

   22   Q.    Sure, is this an administrative duty, is this a

   23   ministerial duty in terms of handling evidence?

   24               MR. JOFFE:       Your Honor, I'm going to object,

   25   I don't believe this witness has been qualified to



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    1   testify about ministerial or administrative duties

    2   within the Drug Enforcement Administration.

    3               THE COURT:         Overruled.

    4               THE WITNESS:           It's our policy and it's used

    5   all the time.

    6   BY MR. SCHMITZ:

    7   Q.      And what condition is the heroin in when it's

    8   sent?

    9               MR. JOFFE:         I'm going to object to the form

   10   of the question.

   11   BY MR. SCHMITZ:

   12   Q.      Is the heroin sealed before it's sent?

   13   A.      Yes, it is.      It's sealed in a self-sealing

   14   evidence envelope.

   15   Q.      And when it's received on the other end, does the

   16   person who receives it determine whether that has been

   17   tampered with?

   18   A.      They do.

   19               MR. SCHMITZ:           May I have a moment, Your

   20   Honor?

   21               THE COURT:         Yes.

   22               MR. SCHMITZ:           No further questions, Your

   23   Honor.    Thank you.

   24               THE COURT:         Mr. Joffe, anything following up?

   25               MR. JOFFE:         No, Your Honor.



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    1                THE COURT:      All right.            Agent, you may step

    2   down.   Ladies and gentlemen, we're going to take our

    3   afternoon recess.       Please do not discuss this case

    4   amongst yourselves or with anyone else.                        We'll be in

    5   recess for 15 minutes so that would be 20 after 3:00.

    6   Thank you.

    7                (Jury out at 3:04 p.m.)

    8                THE COURT:      Let the record reflect the jurors

    9   are outside the courtroom.              We'll be in recess until

   10   3:20.

   11                (A break was taken.)

   12                THE COURT:      Let the record reflect the

   13   defendant is present with counsel.                    You can bring the

   14   jury in.

   15                (Jury in at 3:20 p.m.)

   16                THE COURT:      Ladies and gentlemen, did you

   17   follow the Court's instructions and not discuss this

   18   case amongst yourselves or with anyone else?

   19                ALL JURORS:       Yes.

   20                THE COURT:      Okay.        Thank you.            If you would

   21   like to call your next witness, please.

   22                MR. SCHMITZ:        Thank you, Your Honor.                The

   23   United States calls DEA chemist Carlos Diaz.

   24                THE COURT:      Sir, if you would step forward to

   25   the witness stand and I'll have you turn and face the



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    1   clerk and she'll swear you in.                 Counsel, I think

    2   there's an item of evidence yet on the stand.                        Thank

    3   you.

    4   THEREUPON,

    5                                 CARLOS DIAZ,

    6   a witness, having been first duly sworn, upon his oath,

    7   testified as follows:

    8                THE WITNESS:        I do.

    9                COURTROOM DEPUTY:            Please have a seat.

   10   Please state and spell your name for the record also.

   11                THE WITNESS:        Carlos J. Diaz, C-A-R-L-O-S,

   12   D-I-A-Z.

   13                           DIRECT EXAMINATION

   14   BY MR. SCHMITZ:

   15   Q.     Good afternoon, Mr. Diaz.                How are you employed?

   16   A.     I'm employed by the Drug Enforcement

   17   Administration.

   18   Q.     And where are you currently employed?

   19   A.     Miami, Florida.

   20   Q.     How long have you been employed as a -- well, what

   21   do you do with DEA?

   22   A.     I'm a forensic chemist.

   23   Q.     How long have you been a forensic chemist for DEA?

   24   A.     Approximately 12 and a half years.

   25   Q.     What are your duties as a forensic chemist for



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    1   DEA?

    2   A.     My duties as a forensic chemist is to analyze

    3   evidence, submit it into the laboratory, testify in

    4   court as to those findings, and assist law enforcement

    5   in the seizure of clandestine labs.

    6   Q.     What education have you had to prepare for this

    7   job?

    8   A.     I have a bachelor's of science degree in criminal

    9   justice and a bachelor of science degree in chemistry.

   10   Q.     What kind of training or experience have you had

   11   to prepare for this job?

   12   A.     I completed an in-depth training at a southeast

   13   lab which included standard laboratory operating

   14   procedures, instrumentation, and analysis of controlled

   15   and noncontrolled substances.

   16   Q.     In the course of your duties, do you perform tests

   17   that will detect and identify the presence of

   18   controlled substances, including heroin?

   19   A.     Yes.

   20   Q.     How many times have you performed a test to

   21   identify the presence of a controlled substance?

   22   A.     A very rough estimate, a couple thousand.

   23   Q.     Are such tests a routine part of your job?

   24   A.     Yes.

   25   Q.     Have you had the occasion to testify as an expert



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    1   in court before?

    2   A.    Yes.

    3   Q.    How many times?

    4   A.    Over 36 times.

    5                MR. SCHMITZ:        Your Honor, I would tender the

    6   witness on qualifications.

    7                THE COURT:      Any questions, Mr. Joffe?

    8                MR. JOFFE:      No, Your Honor.

    9                THE COURT:      You may proceed.

   10   BY MR. SCHMITZ:

   11   Q.    Thank you, Your Honor.               What is the procedure in

   12   your laboratory concerning the submission of evidence?

   13   A.    Evidence is submitted to the lab either through

   14   Federal Express, certified mail, or hand delivered by

   15   the agents.    It is put into a computerized tracking

   16   system and stored in the vault.

   17   Q.    What happens to it after it leaves the vault?

   18   A.    I request the evidence and then the evidence

   19   custodian gives me the evidence.

   20                MR. SCHMITZ:        May I approach freely, Your

   21   Honor?

   22                THE COURT:      You may.

   23   BY MR. SCHMITZ:

   24   Q.    I'm showing you what's been marked for

   25   identification as Government's Exhibit 2.                            Do you



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    1   recognize that, Mr. Diaz?

    2   A.    Yes, I do.

    3   Q.    What is that?

    4   A.    This is a heat seal evidence envelope.

    5   Q.    Is your handwriting on that envelope?

    6   A.    Yes, my handwriting is here and on the seal on the

    7   bottom.

    8   Q.    Now, did you test the material inside that

    9   envelope?

   10   A.    Yes, I did.

   11   Q.    Is that material now in the same or substantially

   12   similar condition to when you got done testing it?

   13   A.    Yes, it is.

   14   Q.    When did you first see that exhibit?

   15   A.    I opened this exhibit on January 28th, 2015.

   16   Q.    Where did you see the exhibit?

   17   A.    At the southeast lab.

   18   Q.    When you first saw that exhibit, in what condition

   19   was it?

   20   A.    This had factory seals on three sides and the

   21   agent seal on the top.

   22   Q.    Was it the seal broken?

   23   A.    No, it was not.

   24   Q.    Did it appear to be tampered with in any way?

   25   A.    No.



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    1                  MR. SCHMITZ:        Your Honor, the government

    2   moves for the admission of Government's Exhibit 2.

    3                  MR. JOFFE:      May I voir dire the witness, Your

    4   Honor?

    5                  THE COURT:      Yes, you may.

    6                          VOIR DIRE EXAMINATION

    7   BY MR. JOFFE:

    8   Q.      Mr. Diaz, good afternoon, sir.

    9   A.      Good afternoon.

   10   Q.      Did you have a safe trip from Miami?

   11   A.      Yes, I did.

   12   Q.      Good.    This item, Government's Exhibit Number 2,

   13   arrived to you on what date specifically, January 28th,

   14   2015?

   15   A.      I opened it on January 28th, 2015.

   16   Q.      What date did Government's Exhibit Number 2 get to

   17   your lab, if you know?

   18   A.      I do not know that.            I don't have that information

   19   with me.

   20   Q.      Okay.    Who was responsible for receiving this item

   21   in your lab?

   22   A.      That would be the evidence custodian.

   23   Q.      Who was the evidence custodian?

   24   A.      In this particular case?

   25   Q.      Yes.



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    1   A.      I'm not sure.        It's one of three.

    2   Q.      Okay.   And Government's Exhibit Number 2 was

    3   delivered to the southeastern laboratory in Miami,

    4   Florida, by what vehicle?               Was it Federal Express, was

    5   it certified mail, was it the case agent?

    6   A.      I have a copy of the study, may I refer to the

    7   DEA7?

    8   Q.      Certainly.

    9               THE COURT:         Yes, you may.

   10   BY MR. JOFFE:

   11   Q.      And for purposes of the record, could you explain

   12   to the members of the jury what a DEA7 is?

   13   A.      DEA7 is a copy of a drug records, this is a form

   14   that is submitted by the agent to the lab, and on the 7

   15   it does say who received the evidence.

   16   Q.      Who received it?

   17   A.      Evidence custodian Claudio Fernandez.

   18   Q.      And where is Claudio Fernandez located?

   19   A.      At the southeast lab.

   20   Q.      What date is on your DEA7?

   21   A.      It says here 11/20/2014 that he signed.

   22   Q.      So November of 2014; is that correct?

   23   A.      Correct.

   24   Q.      It was almost two months before you saw this;

   25   correct?



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    1   A.    I opened it on January the 28th of '15.

    2   Q.    Okay.   And does your DEA7, is that a report that

    3   you wrote yourself?

    4   A.    No. No, I didn't.

    5   Q.    Who wrote that report?

    6   A.    It was submitted by the agent.

    7   Q.    Which agent?

    8   A.    According to this the person who submitted this

    9   was Adam Heinlein.

   10   Q.    How do you spell the last name?

   11   A.    H-E-I-N-L-E-I-N.

   12   Q.    What was the date that that report was submitted?

   13   A.    It states here that he signed this form on

   14   11/18/2014.

   15   Q.    Okay.   And was that signed in your office in

   16   Miami?

   17   A.    I do not know.

   18   Q.    Okay.   And does your DEA7 report delineate or

   19   state with a reasonable degree of specificity which

   20   courier was used to send this item to your lab?

   21   A.    If you can give me a second to read.

   22   Q.    Sure, of course.

   23   A.    I believe it was Federal Express.

   24   Q.    Is there a tracking number on that DEA7?

   25   A.    I believe there is, yes.



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    1   Q.    What is that tracking number?

    2   A.    It says FE805531877981.

    3              MR. JOFFE:        Your Honor, I would still object

    4   to the admission of Government's Exhibit Number 2 and

    5   state that the proper foundation has not yet been

    6   provided for the admission of this item.

    7              THE COURT:        Overruled.            Government's Exhibit,

    8   are you seeking to introduce it, I believe you said?

    9              MR. SCHMITZ:          Yes, Your Honor, the government

   10   moves for the admission of what's been currently marked

   11   for identification as Government's Exhibit 2.

   12              THE COURT:        Government's Exhibit 2 will be

   13   introduced into evidence at this time.

   14               (Government's Exhibit Number 2 was admitted

   15         into evidence.)

   16              MR. SCHMITZ:          May we publish, Your Honor?

   17              THE COURT:        Yes, you may.

   18                    CONTINUED DIRECT EXAMINATION

   19   BY MR. SCHMITZ:

   20   Q.    Again, Mr. Diaz, how did you receive this exhibit?

   21   A.    DEA7 states Federal Express.

   22   Q.    And is that some of your handwriting on there?

   23   A.    Correct.

   24   Q.    After you received Government's Exhibit 2, what

   25   did you do with it?



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    1   A.    I proceeded to get a gross weight, a gross weight,

    2   which is the weight of everything, packaging and

    3   everything.

    4   Q.    And then what did you do?

    5   A.    I got a net weight.

    6   Q.    Okay.

    7   A.    Which is a weight of the actual substance.

    8   Q.    All right.     And then what did you do with the

    9   substance after that?

   10   A.    I proceeded to test the substance.

   11   Q.    What tests -- what if any tests did you perform on

   12   the substance?

   13   A.    I performed a technique called gas chromatography,

   14   GC, I performed gas chromatography mass spectometry

   15   GCMS, and I performed IR, infrared spectroscopy.

   16   Q.    The infrared spectroscopy, what' the abbreviation

   17   for that?

   18   A.    IR.

   19   Q.    Can you describe briefly in general terms what a

   20   GCMS test does?

   21   A.    It is a technique used to identify the different

   22   components in a mixture.

   23   Q.    And the same thing for an IR test, what is that,

   24   briefly, what does that do?

   25   A.    IR identifies a component in a mixture.



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    1   Q.    Do you regularly check the instruments that you

    2   use to make sure they're working properly?

    3   A.    The instruments are checked, yes, they are.

    4   Q.    Is the GCMS test and the IR test, are those

    5   methods that are generally accepted in the field?

    6   A.    Yes, they are.

    7   Q.    Are they accurate?

    8   A.    Yes, they are.

    9   Q.    Now, what were your conclusions based upon those

   10   tests with respect to Government's Exhibit 2?

   11   A.    May I refer to the notes?

   12              THE COURT:        Yes, you may.

   13              THE WITNESS:          Government's Exhibit 2 contains

   14   heroin hydrochloride as a net weight of 13.7 grams.

   15   BY MR. SCHMITZ:

   16   Q.    And the net weight of -- excuse me.                            Can you give

   17   that to me again, a net weight of how much?

   18   A.    13.7 grams.

   19   Q.    What substance did it contain?

   20   A.    Heroin hydrochloride.

   21   Q.    And what percentage purity was it?

   22   A.    25.1 percent.

   23              MR. SCHMITZ:          No further questions, Your

   24   Honor.

   25              THE COURT:        Mr. Joffe, cross-examination?



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    1              MR. JOFFE:        Thank you.

    2                            CROSS-EXAMINATION

    3   BY MR. JOFFE:

    4   Q.    Mr. Diaz, again, good afternoon, sir.

    5   A.    Good afternoon.

    6   Q.    You testified on direct examination about factory

    7   seals on three sides; is that correct?

    8   A.    Correct.

    9   Q.    What is a factory seal?

   10   A.    The seals that the bag comes with.

   11   Q.    So when the bag is purchased by the Drug

   12   Enforcement Administration, the bag is already

   13   constructed with those closures; correct?

   14   A.    Correct.

   15   Q.    Okay.   And the final closure is the one

   16   purportedly done by the case agent; correct?

   17   A.    Correct.

   18   Q.    Okay.   And for you to get access to the items that

   19   are inside the bag, you have to open the bag; is that

   20   correct?

   21   A.    Correct.

   22   Q.    Okay.   And when you open the bag, is there a bag

   23   inside the bag in this particular case?

   24   A.    There was a plastic bag inside the bag containing

   25   the powder substance.



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    1   Q.    Okay.   And you testified on direct examination you

    2   conducted a gross weight; is that correct?

    3   A.    Correct.

    4   Q.    Okay.   And you can read from your report, does

    5   your report reflect the gross weight, which includes

    6   the packaging?

    7   A.    Correct.

    8   Q.    What is the gross weight?

    9   A.    44.6 grams.

   10   Q.    Okay.   And to get the net weight, you remove the

   11   substance inside that bag; correct?

   12   A.    Correct.

   13   Q.    And does any of the substance get retained by DEA

   14   for further use?

   15   A.    No.

   16   Q.    Not in this particular case?

   17   A.    Correct, you mean like by us, the chemist?

   18   Q.    Yes.

   19   A.    No.

   20   Q.    Okay.   Do you know if DEA retained any of the net

   21   weight material in this case?

   22   A.    No.

   23   Q.    Okay.   No, you don't know, or, no, it was not

   24   retained?

   25   A.    It was not retained.



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    1   Q.    And you testified on direct examination that the

    2   purity was 25.1 percent.            What does that mean?

    3   A.    That out of the 13.7 grams, 25.1 was heroin

    4   hydrochloride.

    5   Q.    And the other 79.1 percent was what?

    6   A.    There could be a lot of different things, there

    7   are things that are used to cut up to mix into with the

    8   heroin.     We don't report those, but in my -- I did find

    9   some mannitol, which is -- I did find some mannitol.

   10   Q.    What is mannitol?

   11   A.    Mannitol I believe is a sugar, a type of sugar.

   12   Q.    Is mannitol actual sugar that was mixed with the

   13   heroin?

   14   A.    Mannitol is -- mannitol was mixed with the heroin.

   15   Q.    Okay.    What is mannitol typically used for?

   16   A.    I really don't know.             I don't know, factually, I

   17   don't know.

   18   Q.    Is mannitol considered illegal in and of itself to

   19   possess?

   20   A.    Not that I know of.

   21   Q.    Okay.    Can mannitol be purchased over the counter?

   22   A.    I believe so.

   23   Q.    Okay.    What type of products is mannitol typically

   24   found in?

   25   A.    I don't know.        I really can't give you a direct



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    1   answer to that because I do not know.                        I believe it is

    2   a sugar type of product, but I'm not sure.

    3   Q.    Okay.   And so the other 74.9 percent of this net

    4   weight was mannitol; is that correct?

    5   A.    Could be, could also be an alkaloid of the opium

    6   plant, which is a different component of the opium

    7   plant.

    8   Q.    Okay.   You said it could be; correct?

    9   A.    Correct.

   10   Q.    Well, as you sit here testifying under oath, can

   11   you say beyond a reasonable doubt that it actually is?

   12   A.    That what actually is?

   13   Q.    That the other item that's used to cut the pure

   14   heroin was what you just said it was, another opium --

   15   A.    What I'm stating is that this substance contains

   16   heroin at a percent of 25.1 percent.

   17   Q.    And my question to you is what is the other

   18   74.9 percent?

   19   A.    It could be a mixture of the things -- it could be

   20   a mixture of different other things.

   21   Q.    Okay.   Could it be a sugar?

   22   A.    Possibly.

   23   Q.    Could it be caffeine?

   24   A.    Well, we would see caffeine.

   25   Q.    Did you see --



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    1   A.    In this particular case, I did see very low

    2   amounts of caffeine, which were not reported because

    3   they were extremely low.

    4   Q.    Okay.    So you did see caffeine, but it's not

    5   reflected on your report; is that correct?

    6   A.    Correct -- well, possible caffeine.                            It was at a

    7   very low level.

    8   Q.    Okay.    But it's not reflected within the four

    9   corners of your report; correct?

   10   A.    Correct.

   11   Q.    Why not?

   12   A.    Because it is DEA policy that if it's at a very

   13   low level, below roughly one percent, we do not report

   14   it.   We don't have to report it.

   15   Q.    And what percentage of the total 100 percent was

   16   mannitol?

   17   A.    I do not test for that.

   18   Q.    Okay.    Why not?

   19   A.    Because it is not required.                   It is not a

   20   requirement.

   21   Q.    Okay.    But you know that almost 75 percent of the

   22   item that you tested is not heroin; correct?

   23   A.    Correct.

   24               MR. JOFFE:       I have no further questions of

   25   this witness at this time, Your Honor.



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    1                THE COURT:      Follow-up questions?

    2                MR. SCHMITZ:        Just one, Your Honor.

    3                THE COURT:      All right.

    4                         REDIRECT EXAMINATION

    5   BY MR. SCHMITZ:

    6   Q.    Mr. Diaz, does a purity of 25.1 percent and a net

    7   weight of 13.7 grams mean that the Government's

    8   Exhibit 2 that you tested was a mixture or substance

    9   containing a detectable amount of heroin?

   10   A.    Correct.

   11                MR. SCHMITZ:        No further questions, Your

   12   Honor.

   13                THE COURT:      Mr. Joffe, anything?

   14                MR. JOFFE:      No, Your Honor.

   15                THE COURT:      May this witness be excused?

   16                MR. SCHMITZ:        Yes, Your Honor.

   17                MR. JOFFE:      Yes, Your Honor.

   18                THE COURT:      You may be excused.                     Thank you.

   19   You can call your next witness.

   20                MR. SCHMITZ:        The United States calls DEA

   21   chemist Deepa Vanmali.

   22   THEREUPON,

   23                                DEEPA VANMALI,

   24   a witness, having been first duly sworn, upon her oath,

   25   testified as follows:



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    1              THE WITNESS:            Yes, I do.

    2              COURTROOM DEPUTY:                Please state and spell

    3   your name for the record.

    4              THE WITNESS:            Deepa Vanmali, D-E-E-P-A,

    5   V-A-N-M-A-L-I.

    6              THE COURT:          You may inquire.

    7                             DIRECT EXAMINATION

    8   BY MR. SCHMITZ:

    9   Q.     Good afternoon, Ms. Vanmali.                    How are you

   10   currently employed?

   11   A.     I'm currently employed as a forensic chemist.

   12   Q.     With who?

   13   A.     With the Drug Enforcement Administration southeast

   14   laboratory in Miami, Florida.

   15   Q.     How long have you been employed as a forensic

   16   chemist for DEA?

   17   A.     Approximately 12 years.

   18   Q.     What are your duties as a forensic chemist for

   19   DEA?

   20   A.     I'm responsible for the analysis of evidence

   21   that's submitted to the laboratory for the presence of

   22   controlled and noncontrolled substances.                           I also

   23   testify in court to my findings, and occasionally

   24   assist law enforcement in the seizure of clandestine

   25   laboratories.



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    1   Q.     What education have you had to prepare for this

    2   job?

    3   A.     I received a bachelor of science degree in

    4   forensic science with a minor in chemistry from the

    5   University of Central Florida in Orlando.

    6   Q.     What kind of training and experience have you had

    7   to prepare for this job?

    8   A.     I've had approximately seven months of on the job

    9   training at the southeast laboratory, and that focused

   10   on standard laboratory operating procedures,

   11   instrumentation, and analysis of evidence.                           I've also

   12   received a month long training in Quantico, Virginia

   13   which focused on DEA laboratories and procedures and

   14   also throughout my 12 years at the southeast laboratory

   15   I received continuing education and training.

   16   Q.     In the course of your duties, do you perform tests

   17   that will detect and identify the presence of

   18   controlled substances including heroin?

   19   A.     Yes.

   20   Q.     How many times have you performed tests to

   21   determine the presence of controlled substances?

   22   A.     Over a thousand times.

   23   Q.     Is that a routine part of your job?

   24   A.     Yes, it is.

   25   Q.     Have you had the occasion to be qualified as an



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    1   expert in court before?

    2   A.    Yes, I have.

    3   Q.    How many times?

    4   A.    Close to 50 times.

    5               MR. SCHMITZ:         Your Honor, I tender the

    6   witness for qualifications.

    7               THE COURT:       Mr. Joffe, any questions?

    8               MR. JOFFE:       No objection, Your Honor.

    9               THE COURT:       All right.            You may proceed.

   10   BY MR. SCHMITZ:

   11   Q.    Ms. Vanmali, what is the procedure that your

   12   laboratory uses concerning the submission of evidence?

   13   A.    Well, evidence is submitted to the laboratory

   14   either through the mail, either through Federal Express

   15   or registered mail, or it could be delivered by the

   16   agent.   Once it is received, the seals are checked, the

   17   information on the evidence is checked against the

   18   information on the form that is submitted with the

   19   evidence itself.      This form is known as the DEA7.                 Once

   20   that is verified, it is then assigned a unique

   21   laboratory identification number, and then it's stored

   22   in our secured vault awaiting analysis.

   23   Q.    And then how do you actually receive that

   24   evidence?

   25   A.    It's actually assigned to me by my supervisor, and



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    1   at some point I will go to the vault and retrieve it

    2   from the evidence technician.

    3                  MR. SCHMITZ:        Your Honor, may I approach

    4   freely?

    5                  THE COURT:      Yes, you may.

    6   BY MR. SCHMITZ:

    7   Q.      I'm showing you what's been identified as

    8   Government's Exhibit 4.              Do you recognize that?

    9   A.      Yes, I do.

   10   Q.      What is it?

   11   A.      This is a DEA self-sealing evidence envelope, and

   12   I recognize it by my handwriting that's on the evidence

   13   label.    After I complete an analysis I filled out the

   14   evidence label.       I also recognize it by the seal and my

   15   handwriting on the seal that I placed at the bottom of

   16   the evidence envelope after the analysis was completed.

   17   And I recognize it by my handwriting on the interior

   18   packaging.

   19   Q.      When you receive that, was that -- there's two

   20   bags there?

   21   A.      Yes.

   22   Q.      When you received that, was it in one bag or two

   23   bags?

   24   A.      It was just in one bag.

   25   Q.      Was that bag that you received it in, was that bag



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    1   sealed?

    2   A.    Yes, it was.

    3   Q.    Was it factory sealed on three sides?

    4   A.    Yes, it was.

    5   Q.    Did it look like anybody had tampered with it?

    6   A.    No.

    7   Q.    That second bag, did you create that bag?

    8   A.    Yes, I did.

    9   Q.    Why did you create that bag?

   10   A.    Fingerprint analysis requested -- was requested

   11   for the packaging, so once I removed the material to be

   12   analyzed from the packaging, I separated the packaging

   13   and placed it into a second evidence envelope to be

   14   submitted for fingerprint examination.

   15   Q.    Okay.   And did you ultimately wind up cutting open

   16   the sealed bag that you received?

   17   A.    Yes.

   18   Q.    Did you maintain control or custody or control

   19   after that bag was cut open?

   20   A.    Yes.

   21   Q.    Did you personally seal that bag back up?

   22   A.    Yes, I did.

   23   Q.    Did you seal it back up before you sent it back to

   24   DEA in Fort Myers?

   25   A.    Yes, I actually seal it up after my analysis is



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    1   completed and before returning it to the vault for

    2   storage.

    3               MR. SCHMITZ:          Your Honor, the government

    4   moves for the admission of what's been marked as

    5   identification as Government's Exhibit 4.

    6               MR. JOFFE:        Your Honor, I would object and

    7   ask to voir dire the witness.

    8               THE COURT:        You may.

    9                         VOIR DIRE EXAMINATION

   10   BY MR. JOFFE:

   11   Q.    Is it Ms. Vanmali or Ms. Mali?

   12   A.    Vanmali.

   13   Q.    Ms. Vanmali, good afternoon, ma'am.

   14   A.    Good afternoon.

   15   Q.    The item when you received it, do you know how

   16   that item got to your agency in Miami, Florida, whether

   17   it was registered mail, courier, Federal Express, UPS,

   18   DHL, UPS?

   19   A.    Yes, I do because it's actually written on the

   20   DEA7 that is submitted with the evidence itself.

   21   Q.    All right.      Do you have that in front of you?

   22   A.    I do not.

   23   Q.    Have you reviewed the DEA7 prior to testifying

   24   here today?

   25   A.    Briefly, yes.



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    1   Q.    Do you recall from that document how that item was

    2   sent to your agency in Miami, Florida?

    3   A.    No.

    4   Q.    Okay.   And how long was Government's Exhibit

    5   Number 4 at your laboratory in Miami Florida prior to

    6   the date you examined the item?

    7   A.    I don't know.        I would have to actually refer to

    8   the report.

    9   Q.    Okay.   And that's the DEA7; is that correct?

   10   A.    Just to rephrase your question, were you asking me

   11   how long it was submitted to the laboratory between the

   12   time it was submitted to the laboratory and analyzed?

   13   Q.    Yes.

   14   A.    Yes, that would be on the DEA113.

   15   Q.    Okay.   Do you have that with you today?

   16   A.    No, I do not.

   17   Q.    Okay.   And that DEA113 would tell us the date that

   18   that item was received in your lab; correct?

   19   A.    Yes.

   20   Q.    Okay.   And would that DEA113 also tell us the date

   21   that you analyzed the substance?

   22   A.    No, it will tell you the date that the analysis

   23   was completed.

   24   Q.    Okay.   And do you know the date that the analysis

   25   was completed on this item?



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    1   A.    I believe it was March 6th of 2015.

    2   Q.    Can you say that beyond a reasonable doubt?

    3   A.    I would have to refer to the report just to make

    4   sure I don't make a mistake.

    5              MR. JOFFE:        May I approach the witness, Your

    6   Honor?

    7              THE COURT:        Yes, you may.

    8   BY MR. JOFFE:

    9   Q.    Ma'am, let me show you what I've been handed,

   10   which is a chemical analysis report created by the

   11   United States Department of Justice Drug Enforcement

   12   Administration.     Why don't you tell us if this is the

   13   document you need.        Okay?

   14   A.    Okay.

   15   Q.    Thank you.

   16   A.    Okay.   So the date accepted by the laboratory was

   17   December 23rd, 2014, and the date that this report was

   18   prepared was March 9th of 2015.

   19   Q.    Okay.   And just so we're clear, that document that

   20   I've shown you is known as what?

   21   A.    The DEA113.

   22   Q.    So that's the moniker that DEA provides to this

   23   type of document; correct?

   24   A.    That is --

   25   Q.    Well, DEA tends to provide numerical denominators



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    1   to certain documents, a DEA6 a DEA7, this is a DEA113;

    2   correct?

    3   A.    Yes.

    4   Q.    And did you create this form?

    5   A.    I did.

    6   Q.    What date did you create this form?

    7   A.    The date that the report was created was

    8   March 9th, 2015.

    9   Q.    Okay.    And is that the same date that you analyzed

   10   the substance?

   11   A.    No, it might have been a couple days before that,

   12   before actually submitting the report.

   13   Q.    Okay.    And when you analyzed the substance, do you

   14   take handwritten notes?

   15   A.    No, we have an electronic system now, so it's

   16   actually done on the computer.

   17   Q.    Okay.    So the items that are in the computer, do

   18   you print those out and save those?

   19   A.    I can print them out, but it's actually stored on

   20   a drive.

   21   Q.    Okay.    So when you go back to create the report,

   22   what do you do?     Do you go back into the computer to

   23   retrieve that information?

   24   A.    Yes, in order to print this, I go and look up the

   25   case and print the report.



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    1   Q.    Okay.   And you have to fill in the blanks; is that

    2   correct?

    3   A.    No, this has already been -- you're talking about

    4   after the fact this has already been filled out, so I

    5   just go ahead and look up the report, search it, and

    6   print.

    7   Q.    Are you required to sign that document?

    8   A.    No.

    9   Q.    So that report was generated by you; is that

   10   correct?

   11   A.    Yes.

   12   Q.    Okay.   So the items were received in December; is

   13   that correct?

   14   A.    Yes.

   15   Q.    Of 2015?

   16   A.    2014.

   17   Q.    '14, I'm sorry.         And were analyzed by you in March

   18   of 2015; is that correct?

   19   A.    Yes.

   20   Q.    So approximately three months?

   21   A.    Approximately, yes.

   22   Q.    Okay.   And the items are stored where in your

   23   southeastern laboratory in Miami?

   24   A.    They're stored in our vault.                   It's an evidence

   25   vault where all the evidence is kept.



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    1   Q.    Okay.    And how does the item get to you when

    2   you're ready to analyze that item?

    3   A.    I request it through this electronic system, I

    4   request to pick it up, and I select the date that I'm

    5   going to pick it up.          It's usually that same day or the

    6   very next day, and I go to the evidence technician and

    7   they've already, you know, pulled the evidence for that

    8   day, they fulfill the request for that day, and I'll

    9   ask them, hey, can I please accept my evidence and

   10   they'll give it to me.

   11   Q.    Okay.    Now, that form that you're reading from,

   12   the DEA 113, does that tell you how that -- how

   13   Government's Exhibit 4 came to be at your southeastern

   14   laboratory?

   15   A.    No, not this report.

   16   Q.    What report does?

   17   A.    The DEA7.

   18               MR. JOFFE:        Your Honor, at this point I would

   19   object to the admission of Government's Exhibit

   20   Number 4.     No foundation -- no proper foundation has

   21   been admitted for the chain of custody or the

   22   submission of this document -- or their Exhibit 4 at

   23   this point.

   24               THE COURT:        Overruled.            Government's Exhibit

   25   Number 4 will be introduced.



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    1                (Government's Exhibit Number 4 was admitted

    2         into evidence.)

    3                    CONTINUED DIRECT EXAMINATION

    4   BY MR. SCHMITZ:

    5   Q.    Your Honor, may we publish?

    6                THE COURT:      Yes, you may.

    7   BY MR. SCHMITZ:

    8   Q.    All right.     Is this the heroin you tested,

    9   Ms. Vanmali?

   10   A.    This is the exhibit that I analyzed, yes.

   11   Q.    After you received Government's Exhibit 4, what

   12   did you do with it?

   13   A.    I also verified the information on the evidence

   14   label, just to make sure it also matched the

   15   evidence -- excuse me, the information on the DEA7, I

   16   checked that the seals were intact, and then I obtained

   17   a gross weight of the entire package as received by me.

   18   Q.    Did you perform any tests -- did you obtain a net

   19   weight as well?

   20   A.    I did.    I opened up the evidence envelope at the

   21   bottom and I retrieved the contents and I determined

   22   the net weight.

   23   Q.    Did you perform any tests on the portion you

   24   removed from the Government's Exhibit 4?

   25   A.    Yes.



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    1   Q.    What tests did you perform?

    2   A.    I performed gas chromatography, flame ionization

    3   detection, gas chromatography mass spectroscopy, and

    4   infrared spectroscopy.

    5   Q.    And the first test you mentioned, can you just

    6   very briefly explain what that is for the jury?

    7   A.    Yes.

    8   Q.    What does it test for?

    9   A.    Gas chromatography, flame ionization detection is

   10   a technique used to separate the components in a

   11   mixture, and also it's used to determine the purity.

   12   Q.    And the second test you mentioned, gas

   13   chromatography?

   14   A.    Mass spectrometry.

   15   Q.    What generally does that do?

   16   A.    It's also a separation technique, it separates the

   17   compounds in a mixture, and then it's also an

   18   identification technique, which allows me to identify

   19   what those separated compounds are.

   20   Q.    The IR test, what does that do?

   21   A.    That's also an identification technique, and it's

   22   also used to determine the salt form of controlled

   23   substances.

   24   Q.    What were your conclusions based upon those tests?

   25   A.    I determined that Government's Exhibit 4 contained



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    1   heroin hydrochloride, cocaine and caffeine with a net

    2   weight of 10.8 grams and a purity of 31.4 percent.

    3   That would be the purity of the heroin.

    4   Q.    Okay.   After the tests, what did you do with

    5   Government's Exhibit 4?

    6   A.    I placed the material that was analyzed back into

    7   the original evidence envelope and the original

    8   packaging that was submitted with the original material

    9   was separated and placed into a second envelope for

   10   fingerprint examination, and then I sealed both those

   11   evidence envelopes, determined a weight after analysis

   12   of the packages, and I submit it back to the evidence

   13   technician for storage.

   14   Q.    Is Government's Exhibit 4 in the same condition

   15   today as when you last saw it?

   16   A.    Yes, it is.

   17   Q.    Now, does --

   18   A.    Excuse me, sorry, the second envelope is not

   19   because the fingerprint analysis was performed after I

   20   sealed that evidence envelope.

   21   Q.    Is this the second envelope?

   22   A.    Yes, it is.

   23   Q.    Is that what you're referring to?

   24   A.    Yes.

   25   Q.    And the seal on the bottom, is that your seal?



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    1   A.    No, the seal at the top is mine, after I place the

    2   packaging in, I place the seal on the top.                           And then

    3   when it's handed over to the fingerprint analyst, they

    4   open the envelope at the bottom and remove the contents

    5   and then reseal it at the bottom.

    6   Q.    Okay.    Now, does the purity of 31.4 percent and a

    7   net weight of 10.8 percent mean that the substance that

    8   you tested, that Government's Exhibit 4, was a mixture

    9   or substance containing a detectable amount of heroin?

   10   A.    Yes.

   11                MR. SCHMITZ:        Nothing further, Your Honor.

   12                THE COURT:      Cross-examination?

   13                MR. JOFFE:      Yes, thank you, Your Honor.

   14                            CROSS-EXAMINATION

   15   BY MR. JOFFE:

   16   Q.    Ms. Vanmali, you testified that the purity was

   17   31.4 percent; is that correct?

   18   A.    Yes.

   19   Q.    Okay.    And were you able to determine what the

   20   other 68.6 percent was?

   21   A.    Well, this also contained some cocaine and

   22   caffeine and there's possibly other substances that we

   23   don't report and also other naturally occurring

   24   substances that are usually detected in heroin samples.

   25   Q.    When you say naturally detected, what type of



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    1   substances are naturally detected?

    2   A.    For example, acetylcholine, that's not something

    3   we routinely report.

    4   Q.    What about mannitol?

    5   A.    Mannitol also could be one of those that we don't

    6   routinely report but could be present.

    7   Q.    And what is mannitol?

    8   A.    It's a sugar.

    9   Q.    What is it typically found in?

   10   A.    I don't routinely identify those, so I don't know.

   11   I just know it's used as a cutting agent.

   12   Q.    The mannitol?

   13   A.    Yes.

   14   Q.    Okay.   Is mannitol a stimulant?

   15   A.    I don't know.

   16   Q.    Now, let me show you what's been previously

   17   admitted as Government's Exhibit 4.                     Let me ask you, on

   18   the right-hand corner it says 47.1 gross grams.                      Do you

   19   see that?

   20   A.    Yes, I do.

   21   Q.    Okay.   And that's a different numerical amount

   22   than the gross weight after analysis, the 44.05 grams;

   23   is that correct?

   24   A.    Yes.

   25   Q.    So the item is weighed before it's analyzed and



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    1   after it's analyzed; correct?

    2   A.    That's correct.

    3   Q.    So what's happened to the other two point some odd

    4   percent grams?

    5   A.    Remember this exhibit was submitted in packaging,

    6   and that packaging was removed and separated for

    7   fingerprint examination.

    8   Q.    Okay.   The question that I want to ask is when you

    9   do your analysis of the substance, does any of the

   10   substance get destroyed?

   11   A.    Yes, it gets used in the analysis.

   12   Q.    Okay.   How many ounces or grams do you use in the

   13   analysis?

   14   A.    Well, according to the 113, the DEA 113, I started

   15   with a net weight of 10.8 grams and my reserve weight

   16   after analysis was 9.9 grams, so just under a gram I

   17   used for analysis.

   18   Q.    Okay.   So the actual net weight after testing is

   19   9.9 grams; is that correct?

   20   A.    That would be the reserve weight, yes.

   21   Q.    And the other grams is destroyed; is that correct?

   22   As a result of your testing?

   23   A.    Yes.

   24   Q.    Okay.   And are any of those grams kept by DEA for

   25   future use or DNA analysis or anything like that?



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    1   A.    No.

    2   Q.    Okay.   Who requested a fingerprint analysis, if

    3   you know?

    4   A.    It's on the -- the request is on the DEA7.                     It's a

    5   check box on the DEA7, if it's checked it means it's

    6   checked for fingerprint analysis.

    7   Q.    Okay.   But as you sit here today, do you know why

    8   in this particular case it was requested?

    9   A.    No, I do not.

   10   Q.    Okay.   And as you sit here today, you don't know

   11   who requested it; correct?

   12   A.    No, I do not.

   13   Q.    Okay.   You yourself, you were not asked to conduct

   14   a fingerprint analysis; correct?

   15   A.    No, I can't do a fingerprint analysis.

   16   Q.    That's not what you do?

   17   A.    No.

   18   Q.    Okay.   Do you know if a fingerprint analysis was

   19   done on this as well?

   20   A.    I believe, yes, it was.

   21   Q.    Do you know what the results of that was?

   22   A.    No.

   23               MR. JOFFE:       Your Honor, I have no further

   24   questions of this witness at this time.

   25               THE COURT:       Redirect?



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    1                MR. SCHMITZ:        Nothing from the government,

    2   Your Honor.

    3                THE COURT:      May this witness be excused?

    4                MR. SCHMITZ:        Yes, Your Honor.

    5                MR. JOFFE:      Yes, Your Honor.

    6                THE COURT:      You may be excused.                     Thank you.

    7   Call your next witness.

    8                MR. SCHMITZ:        Your Honor, the United States

    9   calls DEA chemist Alexandra Gongora.

   10   THEREUPON,

   11                            ALEXANDRA GONGORA,

   12   a witness, having been first duly sworn, upon her oath,

   13   testified as follows:

   14                THE WITNESS:        I do.

   15                COURTROOM DEPUTY:            If you can have a seat and

   16   state and spell your name for the record.

   17                THE WITNESS:        Alexandra Gongora,

   18   G-O-N-G-O-R-A.

   19                THE COURT:      You may inquire.

   20                MR. SCHMITZ:        Thank you, Your Honor.

   21                           DIRECT EXAMINATION

   22   BY MR. SCHMITZ:

   23   Q.    Good afternoon, Ms. Gongora, how are you employed?

   24   A.    I'm employed as a quality assurance specialist at

   25   the Drug Enforcement Administration in southeast



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    1   Florida.

    2   Q.     And during -- were you always employed as a

    3   quality assurance specialist?

    4   A.     No, I was not.

    5   Q.     What were you employed as immediately before that?

    6   A.     Immediately before that I was a senior forensic

    7   chemist at the Drug Enforcement Administration.

    8   Q.     How long were you employed as a senior forensic

    9   chemist at the DEA?

   10   A.     I was employed as a senior forensic chemist for

   11   ten years and as a forensic chemist for seven years.

   12   Q.     Were you a forensic chemist in 2015?

   13   A.     Yes, I was.

   14   Q.     How long -- okay.          So what were your duties when

   15   you were a forensic chemist for the DEA?

   16   A.     I would analyze evidence that would come into the

   17   southeast laboratory, and I would testify as to my

   18   findings in a court of law.

   19   Q.     What education did you have to prepare for the

   20   job?

   21   A.     I have a bachelor of science in chemistry from

   22   Florida International University, I also have a master

   23   of science in chemistry from Florida International

   24   University as well.         I also underwent six months of

   25   training in Quantico, Virginia, in the field of



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    1   forensic chemistry, and I have had continuing education

    2   courses yearly.

    3   Q.    Okay.    In the course of your duties, do you

    4   perform tests to detect and identify the presence of

    5   controlled substances?

    6   A.    Yes, I did.

    7   Q.    Do you conduct tests to detect the presence of

    8   heroin?

    9   A.    Yes, I do.

   10   Q.    How many times would you say you perform those

   11   tests as a forensic chemist?

   12   A.    I would say roughly into the thousands.

   13   Q.    Is that a routine part of your job?

   14   A.    Yes, it was.

   15   Q.    Have you had the occasion to be qualified as an

   16   expert in court before?

   17   A.    Yes.

   18   Q.    How many times?

   19   A.    Approximately 70 times now.

   20                MR. SCHMITZ:        Your Honor, I tender the

   21   witness on qualifications.

   22                MR. JOFFE:      No objection, Your Honor.

   23                THE COURT:      You may proceed.

   24   BY MR. SCHMITZ:

   25   Q.    Ms. Gongora, what's the procedure that your



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    1   laboratory uses concerning the submission of evidence?

    2   A.    Evidence is generally received in two ways, it's

    3   either hand delivered by the agent or delivered by

    4   Federal Express to the laboratory.                    It's received by an

    5   evidence custodian who logs it into our system and

    6   gives it a unique identifier, and then places that

    7   evidence into an evidentiary vault.

    8   Q.    How do you obtain the evidence from the

    9   evidentiary vault?

   10   A.    It's assigned to me by my supervisor, and then I

   11   request the evidence to be obtained from the

   12   evidentiary vault, and the evidence custodian transfers

   13   that evidence to me, to my possession.

   14   Q.    Okay.

   15              MR. SCHMITZ:          May I approach the witness

   16   freely, Your Honor?

   17              THE COURT:        Yes, you may.

   18   BY MR. SCHMITZ:

   19   Q.    I'm showing you what's been marked for

   20   identification as Government's Exhibit 6.                            Do you

   21   recognize that?

   22   A.    Yes, I do.

   23   Q.    What is it?

   24   A.    It's a self-sealed evidence envelope containing a

   25   unique identifier generated by the southeast



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    1   laboratory, and at the bottom it has my signature and

    2   seal.

    3   Q.      When did you first see Government's Exhibit 4?

    4   A.      I first saw Exhibit 4 on March 10th of 2015.

    5   Q.      Where did you first see Government's Exhibit 4?

    6   A.      I saw it at the southeast laboratory in Miami,

    7   Florida.

    8   Q.      What condition was Government's Exhibit 4 when you

    9   first saw it?

   10   A.      It was factory sealed on three sides and had the

   11   agent seal at the top.

   12   Q.      And there are two bags there, was it sent to you

   13   in one bag or two bags?

   14   A.      It was sent to me in one bag.

   15   Q.      And, again, was that bag sealed when you received

   16   it?

   17   A.      Yes, it was.

   18   Q.      Did it appear to be tampered with in any way?

   19   A.      No, it did not.

   20               MR. SCHMITZ:         Your Honor, the government

   21   moves for the admission of Government's Exhibit 6.

   22   Excuse me, did I refer to it as four, Your Honor?

   23               THE COURT:       You have been.

   24               MR. SCHMITZ:         I apologize.

   25               THE COURT:       You may wish to reinquire.



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    1                MR. SCHMITZ:        I apologize.

    2                THE COURT:      That's all right.

    3   BY MR. SCHMITZ:

    4   Q.    I have showed you what's been marked as

    5   Government's Exhibit 4.            Do you -- excuse me.

    6   Government's Exhibit 6.            Do you recognize Government's

    7   Exhibit 6?

    8   A.    Yes, I do.

    9   Q.    All right.     How do you recognize that?

   10   A.    It's a heat sealed evidence envelope containing my

   11   signature and seal at the bottom.

   12   Q.    And when did you first see Government's Exhibit 6?

   13   A.    I saw it on March 10th of 2015.

   14   Q.    And did you analyze the contents of Government's

   15   Exhibit 6?

   16   A.    Yes, I did.

   17   Q.    Where did you first see this exhibit?

   18   A.    It was on March 10th of 2015.

   19   Q.    What was the condition of Government's Exhibit 6

   20   when you first saw it?

   21   A.    It was in a sealed condition.

   22   Q.    There are two bags in there, was it sent to you in

   23   one bag or two bags?

   24   A.    It was in one bag.

   25   Q.    And how was it sealed?



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    1   A.    It was factory sealed on three sides and had the

    2   agent seal at the top.

    3   Q.    Who did you receive the exhibit from?

    4   A.    I received it from Rodney Brown, who is an

    5   evidence custodian.

    6              MR. SCHMITZ:          Your Honor, the government

    7   moves for the admission of Government's Exhibit 6.

    8              MR. JOFFE:        I would like an opportunity to

    9   voir dire the witness, Your Honor.

   10              THE COURT:        You may.

   11                        VOIR DIRE EXAMINATION

   12   BY MR. JOFFE:

   13   Q.    Ms. Gongora, good afternoon, ma'am.

   14   A.    Good afternoon.

   15   Q.    This item was received by the southeastern

   16   laboratory in Miami, Florida.                Was it hand delivered,

   17   do you know?

   18   A.    It was delivered by Federal Express.

   19   Q.    And approximately what date did it arrive at your

   20   address?

   21   A.    February 12th of 2015.

   22   Q.    And how do you know that?

   23   A.    There is paperwork that accompanies every evidence

   24   submission to the laboratory.

   25   Q.    And you had an opportunity to review that prior to



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    1   testifying here today?

    2   A.    Yes, I have.

    3   Q.    Okay.     When did you last review it?

    4   A.    Before entering into the courtroom.

    5   Q.    Someone ask you to review it?

    6   A.    No, it's standard procedure for me to review it.

    7   Q.    Okay.

    8                MR. JOFFE:       I have no further questions, Your

    9   Honor.   Still maintain my objection.

   10                THE COURT:       Government's Exhibit Number 6

   11   will be introduced at this time.

   12                 (Government's Exhibit Number 6 was admitted

   13         into evidence.)

   14                MR. SCHMITZ:         Your Honor, may we publish?

   15                THE COURT:       Yes, you may.

   16                    CONTINUED DIRECT EXAMINATION

   17   BY MR. SCHMITZ:

   18   Q.    All right, Ms. Gongora.                 After you received

   19   Government's Exhibit 6 -- let me take a step back.                    Is

   20   some of that handwriting on that package yours?

   21   A.    Yes.

   22   Q.    What handwriting is yours?

   23   A.    From the laboratory number all the way down to the

   24   portion that says resealed.

   25   Q.    From the laboratory number down to the portion



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    1   that says resealed?

    2   A.    That's correct.

    3   Q.    Okay.

    4                 Now, did you perform any tests on

    5   Government's Exhibit 6?

    6   A.    Yes, I did.

    7   Q.    And actually before you performed those tests, did

    8   you do anything else with it?

    9   A.    After determining that the seals were intact, I

   10   determined a weight of the drug material.

   11   Q.    Did you term a gross weight?

   12   A.    Yes, I did.

   13   Q.    Did you determine a net weight?

   14   A.    Yes.

   15   Q.    And after that, did you perform any tests on

   16   Government's Exhibit 6?

   17   A.    I did.

   18   Q.    What test did you perform?

   19   A.    A gas chromatography mass spectometry test, a gas

   20   chromatography flame ionization detection test and

   21   Fourier transform infrared test.

   22   Q.    And do those tests test for the presence of

   23   controlled substance?

   24   A.    They do.

   25   Q.    Do they test for the presence of heroin?



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    1   A.    Yes, they do.

    2   Q.    Are those tests commonly used in the field?

    3   A.    Yes, they are.

    4   Q.    Are those tests accurate?

    5   A.    Yes.

    6   Q.    After your test, what did you conclude about

    7   Government's Exhibit 6?

    8   A.    It contained heroin and cocaine with a net weight

    9   of 27.8 grams and a purity of 21.8 percent.

   10   Q.    Now, is Government's Exhibit 6 in the same

   11   condition today as when you saw it last?

   12   A.    Yes, it is.

   13   Q.    With a purity -- so with a purity of 21.8 percent

   14   and a net weight of 27.8 grams, did you conclude that

   15   the Government's Exhibit 2 -- excuse me, Government's

   16   Exhibit 6 was a mixture or substance containing a

   17   detectable amount of heroin?

   18   A.    Yes, I did.

   19                MR. SCHMITZ:        No further questions, Your

   20   Honor.

   21                THE COURT:      Mr. Joffe.

   22                MR. JOFFE:      Yes, Your Honor.

   23                            CROSS-EXAMINATION

   24   BY MR. JOFFE:

   25   Q.    Ms. Gongora, the purity was 21.8 percent; is that



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    1   correct?

    2   A.    That's correct.

    3   Q.    Do you recall as you sit here today what the other

    4   78.2 percent was?

    5   A.    There was also benzocaine and caffeine present,

    6   and there are other cutting agents that we actually do

    7   not detect with the tests we perform.

    8   Q.    And benzocaine is a stimulant?

    9   A.    It is what we consider an adulterant.

   10   Q.    Is it a numbing agent?

   11   A.    I can't answer that.

   12   Q.    Okay.   And if we look at this bag, I'm going to

   13   ask you to take a look at what's been admitted as

   14   Government's Exhibit 6.            Do you see that on the screen?

   15   A.    Yes, I do.

   16   Q.    In this portion of the sticker it says 57.9TPW.

   17   What does TPW mean?

   18   A.    I wouldn't know, that's not my handwriting.

   19   Q.    Whose handwriting is that?

   20   A.    I don't know.

   21   Q.    Is that a 57.9 or 51.9?

   22   A.    I wouldn't be able to tell you that.                           That's not

   23   my handwriting.

   24   Q.    And then there is a gross weight after analysis of

   25   61.64 grams; is that correct?



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    1   A.    That's correct.

    2   Q.    Is that your handwriting?

    3   A.    Yes, it is.

    4   Q.    Any idea why the weight here would be different

    5   than the weight here?

    6   A.    Yes, I had to add what is a new Ziploc plastic bag

    7   in order to determine the net weight, so there is

    8   actually an additional Ziploc plastic bag incorporated

    9   into this exhibit.

   10   Q.    Okay.   So it would be fair to say that someone

   11   else wrote this down as the gross weight prior to your

   12   analysis; is that correct?

   13   A.    I couldn't really speculate as to that.

   14   Q.    I'm not asking you to speculate.                       But what's the

   15   normal course of business within your lab, someone else

   16   writes down this weight?

   17   A.    No, that's not correct.

   18   Q.    Okay.   So who wrote this on here?

   19   A.    I could not tell you that.

   20   Q.    Okay.   Well, why would it be written on there?

   21   A.    I can't -- I did not produce that, so I can't tell

   22   you why it's there.

   23   Q.    I know you didn't produce it, but why would it be

   24   there?

   25              MR. SCHMITZ:          Your Honor, I'll object to



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    1   speculation.

    2                THE COURT:      Speculation, argumentative,

    3   sustained.

    4                MR. JOFFE:      I have no further questions of

    5   this witness, Your Honor.             Thank you.

    6                THE COURT:      Redirect?

    7                MR. SCHMITZ:        None from the government, Your

    8   Honor.

    9                THE COURT:      May this witness be excused?

   10                MR. SCHMITZ:        Yes, Your Honor.

   11                MR. JOFFE:      Yes, Your Honor.

   12                THE COURT:      You may be excused.                     Thank you.

   13                MR. SCHMITZ:        Your Honor, may we approach

   14   about scheduling?

   15                THE COURT:      Yes.

   16                (Bench conference was held within the

   17   presence of the jury.)

   18                MR. JOFFE:      So we've put on most -- the only

   19   witness we intend now to call in direct -- in our case

   20   in chief is going to be Victor Chica.                       There's no way

   21   he's going to be done by the end of the day.                           He's

   22   going to be, like I said, our last witness, I believe,

   23   in our case in chief.          And assuming no issues get

   24   raised that we need to call anybody else, so it would

   25   break up his testimony.            We can start him now, but it



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    1   would break it up halfway through, I think, depending

    2   on what the defense case is and how long cross goes.                            I

    3   would assume, you know, we would be able to finish by

    4   tomorrow either way.         But that's just my thoughts.

    5               So is the government asking that we recess

    6   until tomorrow morning?            Is that what you're

    7   requesting?    I just want to be clear.

    8               MR. SCHMITZ:         Well, I think it would be best

    9   as a scheduling matter to recess and reconvene tomorrow

   10   morning.    I think we would be safe to do that is my

   11   point.

   12               THE COURT:       We can probably just talk about

   13   some other types of things.               We can use the time

   14   wisely, if we recess now.

   15               MR. SCHMITZ:         Okay.

   16               THE COURT:       All right.            Have him back at

   17   9:00.    Any objection to that?

   18               MR. JOFFE:       No, Your Honor.

   19               THE COURT:       Okay.

   20               (Bench conference concluded and proceedings

   21   continued as follows:)

   22               THE COURT:       Ladies and gentlemen, based upon

   23   scheduling, I think it's probably our best time to

   24   recess now.    We would not be able to complete the next

   25   witness before I would need to leave you go.                         So we'll



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    1   go ahead and recess for the day now, and I would just,

    2   again, admonish you, please do not discuss this case

    3   amongst yourselves or with anyone else.                        We'll

    4   reconvene tomorrow morning at 9:00 a.m., so please be

    5   here at 9:00 a.m. and we'll start the testimony at that

    6   time.   Thank you.

    7               (Jury out at 4:15 p.m.)

    8              THE COURT:        Let the record reflect the jurors

    9   are outside the courtroom.              Counsel, you indicated that

   10   at least at this point it appears you have one more

   11   witness to present.         Mr. Joffe, you had listed the same

   12   witnesses, basically, or indicated you have the same

   13   witnesses as the government and then obviously we have

   14   the potential of the defendant testifying.                           I believe

   15   the government did file an amended verdict form.                           I

   16   don't know if we want to look at that at all or if

   17   there's anything that we wanted to talk about in regard

   18   to that.

   19              MR. LAZARUS:          Your Honor, may I just inform

   20   the Court and counsel to the material change to the

   21   verdict form?

   22              THE COURT:        Yes, please.

   23              MR. LAZARUS:          Essentially -- not essentially,

   24   in fact, it only changes Count 4, Your Honor.                           What we

   25   did for the verdict form was we made an effort just to



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    1   conform our filing to the pattern jury instruction.

    2   Basically as the Court is aware, the Court will very

    3   likely be charging the jury that they need to determine

    4   first whether or not the defendant attempted to possess

    5   with intent to distribute the heroin, I'll abbreviate

    6   that, if the Court doesn't mind, the heroin.                         And

    7   second the jury needs to decide, if they find the

    8   defendant guilty of the attempt to possess with intent

    9   to distribute, then the jury needs to make a

   10   determination as to the weight, an additional unanimous

   11   finding.

   12               And so what we did was the first form we

   13   filed didn't have the necessary language to explain

   14   that clearly to the jury, so we took out of paragraph A

   15   reference to the weight, we made paragraph A refer only

   16   to the offense of knowingly attempting to possess with

   17   intent to distribute the mixture or substance

   18   containing heroin on that date and if they find the

   19   defendant guilty on that, then they proceed to B where

   20   they then have to find the weight of the mixture or

   21   substance is either one kilogram or more, 100 grams or

   22   more, or less than 100 grams, those being the various

   23   statutory limits that are outlined, Your Honor, and so

   24   we propose this.      It conforms in large part to the

   25   standard pattern instruction.



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    1               The pattern instruction that I saw in A it

    2   actually just says we find the defendant guilty of the

    3   offense as charged in the indictment, words to that

    4   effect, so I elaborated a little more just to make it

    5   clear to the jury what they had to unanimously agree

    6   upon, and then the second part, as I said, just ask

    7   them to determine the weight that they unanimously

    8   agree the defendant distributed.                   Otherwise the way it

    9   had been written they would only be finding first that

   10   he attempted to possess or distribute a kilogram or

   11   more, but then immediately below they were being asked

   12   to decide how much weight it was.                    So if they had

   13   returned, for example, less than 100 grams having found

   14   him guilty as written of the first one, it would appear

   15   to be internally inconsistent is that's what we were

   16   trying to avoid.

   17              THE COURT:        Mr. Joffe, do you have any

   18   comment on that?

   19              MR. JOFFE:        I agree with the government, Your

   20   Honor.

   21              THE COURT:        Okay.        My only other question

   22   then is in Count 1, Count 2, and Count 3, do we need to

   23   break down whether or not -- let's see, maybe they did.

   24   Like in Count 1, rather than asking A and B, would it

   25   be -- or a second part of it, would it be prudent to



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    1   just ask question one and then ask the jury to find the

    2   appropriate box or boxes not guilty, guilty of

    3   possession with intent to distribute, or guilty of

    4   distribution?

    5              MR. LAZARUS:          In other words, just

    6   consolidating A and B, Your Honor, the same questions

    7   but just consolidate it?

    8              THE COURT:        Yes.

    9              MR. SI, we have no objection to that, Your

   10   Honor.   Because otherwise in A you have -- you kind of

   11   have both and not guilty or guilty, so you really don't

   12   know which one, if either, or and then you go to B and

   13   then you say, well, is it possession with intent to

   14   distribute or distribution.

   15              MR. LAZARUS:          I think it's actually a similar

   16   issue that we tried to fix with Count 4, Your Honor, I

   17   think the Court's point is well taken, we would request

   18   that the first three counts be provided to the jury

   19   more along the lines of what, Your Honor, is proposing.

   20   And we can draft that if the Court would like and

   21   circulate that and have that filed this evening,

   22   whatever the Court's preference would be.

   23              THE COURT:        All right.            Let me have the clerk

   24   go ahead and give you copies of the court's proposed

   25   then for that.     I didn't look at -- and maybe our



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    1   amendment is the same as what -- or ours is the same as

    2   what your amended is, I'm not sure, but maybe you can

    3   just look at this and see if you see an issue with how

    4   this was done.

    5              MR. JOFFE:        And, Your Honor, the Court's

    6   proposed verdict form is what the Court is suggesting.

    7              THE COURT:        That's what I was, now that we're

    8   discussing and, again, that's something, I'm not

    9   married to the idea; I just wanted to throw that out.

   10              MR. LAZARUS:          Your Honor, I believe for

   11   Counts 1, two and three should it perhaps read, or my

   12   request would be, did knowingly possess with intent to

   13   distribute or distribute, we've charged it in the --

   14   there's the instruction the Court will give and forgive

   15   me with that in front of me, I always flip flop them,

   16   but we charge in the conjunctive and prove in the

   17   disjunctive.     So even though it alleges both, we're

   18   asking them only to find either or.

   19              THE COURT:        Right, but we normally don't

   20   change how it reads in the actual -- we usually mirror

   21   the indictment, I read the instruction.

   22              MR. LAZARUS:          Thank you, Your Honor, and

   23   we're free to reference the instruction in our closing

   24   if we think it's important.

   25              THE COURT:        Yes.



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    1              MR. JOFFE:        Your Honor, page three of the

    2   verdict form.

    3              THE COURT:        Yes.

    4              MR. JOFFE:        Number five, my client has

    5   brought an issue to me, which I'll bring to the Court.

    6   It seems to make sense to me that under the boxes the

    7   first one is one kilogram or more of a mixture or

    8   substance containing a detectable amount of heroin.                  Is

    9   it possible to insert a box that says one half kilogram

   10   or less of a mixture or substance containing a

   11   detectable amount of heroin?

   12              THE COURT:        This mirrors what -- because

   13   basically this is for purposes of sentencing.

   14              MR. JOFFE:        Right.

   15              THE COURT:        This mirrors the sentencing

   16   guidelines, so that's why it was done that way.

   17              MR. JOFFE:        Right.

   18              MR. LAZARUS:          We would oppose that request,

   19   Your Honor, for the reasons the Court stated, that the

   20   defendant is free to make whatever argument you want as

   21   to which box they should check, if they believe his

   22   theory of the case, but we ask that jury instructions

   23   conform with the law, not the argument.

   24              THE COURT:        Mr. Joffe, if you want an

   25   opportunity to speak more with the defendant more about



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    1   this and look at it overnight --

    2               MR. JOFFE:       I understand.

    3               THE COURT:       -- I just mirrored what the

    4   sentencing guidelines say.

    5               MR. JOFFE:       I think for purposes of the

    6   record, I just want to make sure it's clear that I have

    7   articulated what my client has requested, he's

    8   requesting it again, I've made the request, should the

    9   Court grant it, wonderful, should the Court not grant

   10   it, it is what it is.          That's our request for the

   11   defense.

   12               THE COURT:       All right.

   13               MR. JOFFE:       So if the Court chooses to do

   14   that, that's the Court's discretion.

   15               THE COURT:       All right.            Thank you.

   16               MR. JOFFE:       But I would, I guess, object if

   17   that happens.

   18               THE COURT:       Okay.        I understand that this is

   19   something that Mr. Williams wants.                    Let me look at the

   20   sentencing guidelines again, but my recollection is we

   21   went ahead and listed exactly what the sentencing

   22   guidelines say.     And I know what his argument is in

   23   this case, obviously it's very clear that the amount is

   24   what's the most important, the most controversial, if

   25   you will.



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    1              MR. JOFFE:        That's correct.

    2              MR. LAZARUS:          And, Your Honor, we would just

    3   also note that those amounts that are in your proposed

    4   verdict form also mirror the language in 21 U.S.C. 841.

    5   And so the numbers that are here are important because

    6   they trigger certain mandatory minimum sentences, so we

    7   would, again, we would just ask that it remain that

    8   way.

    9               As to Count 4 of the indictment in paragraph

   10   four, and I apologize if the Court has already answered

   11   this with respect to Counts 1, 2, and 3, but the way

   12   paragraph four is written on page two at the bottom, it

   13   asks them to find that the defendant did knowingly

   14   attempt to possess the kilogram or more and then it

   15   asks for the particularized finding underneath.                      What

   16   we have proposed in our amended verdict form is to

   17   strike the language from paragraph four, a kilogram or

   18   more of, so that it would read did knowingly attempt to

   19   possess with intent to distribute a quantity.

   20              THE COURT:        Okay.

   21              MR. LAZARUS:          And then the rest of it and

   22   then the amount would follow.

   23              MR. JOFFE:        I would object, Your Honor, only

   24   because the way it's pled within the four corners of

   25   the indictment is that it specifically says kilogram or



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    1   more.

    2              THE COURT:        All right.            I'll look at that,

    3   and then I also note that we will need to say we the

    4   jury find defendant Norris Williams, and then check the

    5   appropriate box because there's only one plausible,

    6   you're either guilty or not guilty, and then if they do

    7   that they're instructed how to move on.                        And then,

    8   again, it would be check the appropriate box.

    9               All right.        I think I understand the

   10   different objections.          Let me go ahead and look at this

   11   again overnight and I'll give you the final verdict

   12   form.   Do we want to look over the jury instructions

   13   given the testimony at this point?

   14              MR. JOFFE:        That's fine, Your Honor.

   15              THE COURT:        If nothing else we can decide on

   16   the ones that are clearly going to be read, and if

   17   there's an issue, we can --

   18              MR. JOFFE:        That's fine.

   19              MR. SCHMITZ:          Your Honor, can we release the

   20   witness we had?

   21              THE COURT:        Yes, you may.

   22              MR. SCHMITZ:          Your Honor, just so the record

   23   is clear, if the defendant is going to be asking for

   24   the entrapment instruction, we're going to oppose that.

   25   The testimony tomorrow I believe is going to be crucial



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    1   in determining.

    2              THE COURT:        And we won't ultimately decide on

    3   that at this point.         I think we can just decide on

    4   those that our standard instructions and then we can go

    5   from there once the other testimony has been completed.

    6   But at least it gives us kind of an idea where we're at

    7   and using our time wisely today.                   Under the Court's

    8   proposed instructions E1 it's just the members of the

    9   jury and it's my duty to instruct you.                        Any objection

   10   to that?

   11              MR. JOFFE:        No, Your Honor.

   12              MR. SCHMITZ:          None from the government, Your

   13   Honor.

   14              THE COURT:        The duty to follow instructions

   15   and the presumption of innocence, B 2.1?

   16              MR. JOFFE:        No objection, Your Honor.

   17              MR. SCHMITZ:          No objection from the

   18   government, Your Honor.

   19              THE COURT:        All right.            Then there's B 2.2

   20   and obviously that's when the defendant does not

   21   testify.   So we would have to -- I think it's basically

   22   the same, but the one paragraph is just changed if he

   23   does testify.     So it would be something to decide on

   24   yet.

   25              MR. JOFFE:        If Mr. Williams chooses not to



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    1   testify, Your Honor, I would accept B 2.2.

    2              THE COURT:        Okay.        And obviously there's an

    3   instruction if he does, so we can look at that.                      We'll

    4   revisit that.    Definition of reasonable doubt, B 3.

    5              MR. JOFFE:        No objection, Your Honor.

    6              MR. SCHMITZ:          No objection, Your Honor.

    7              THE COURT:        Consideration of direct and

    8   circumstantial evidence, arguments of counsel, comments

    9   by the Court, B 4?

   10              MR. JOFFE:        No objection, Your Honor.

   11              MR. SCHMITZ:          No objection, Your Honor.

   12              THE COURT:        Obviously these are all the

   13   standard instructions.           B 5, credibility of witnesses.

   14              MR. SCHMITZ:          No objection, Your Honor.

   15              MR. JOFFE:        No objection, Your Honor.

   16              THE COURT:        B 6.1 is impeachment of witness

   17   because of inconsistent statements.                     I don't think

   18   we've had that issue yet.             Or B 6.2 impeachment of

   19   witness because of inconsistent statement or felony

   20   conviction, we have not had that, 6.3, these are all

   21   the impeachment ones, and so far 6.4, 6.5, it's really

   22   just going to depend upon -- 6.7, it will just depend

   23   upon many of these whether or not the defendant

   24   testifies or whether or not there's any witnesses are

   25   impeached because of prior inconsistent statements.                      So



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    1   I don't think we can really decide anything on those at

    2   this point.     B 7 is expert witness.

    3              MR. JOFFE:        No objection, Your Honor.

    4              MR. SCHMITZ:          No objection, Your Honor.

    5              THE COURT:        Then there's a basic witnesses.

    6   I think the prosecution, that was the government's

    7   request, basic witness.

    8              MR. JOFFE:        Your Honor, I would object to the

    9   basic witnesses instructions.                I don't think it's

   10   relevant, and I don't think it's needed.

   11              THE COURT:        Are you still requesting this

   12   one?

   13              MR. SCHMITZ:          Yes, Your Honor, we are still

   14   requesting this one.

   15              THE COURT:        All right.            At this point it

   16   would be my intention to leave this one out.                         If

   17   there's anything that comes up, we can revisit it.

   18               Testimony of accomplice or co-defendant with

   19   plea agreement.     Maybe I don't understand the case, S

   20   1.2.

   21              MR. SCHMITZ:          Your Honor, as of now we don't

   22   need it.   If we put on a rebuttal case, we may need it.

   23              THE COURT:        Okay.        So it's something we can

   24   revisit then.     S 3, identification testimony, both

   25   parties requested that.



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    1              MR. JOFFE:        No objection, Your Honor.

    2              MR. SCHMITZ:          No objection, Your Honor.

    3              THE COURT:        All right.            Note taking, S 5.

    4              MR. JOFFE:        No objection.

    5              MR. SCHMITZ:          No objection.

    6              THE COURT:        B as in boy 8, introduction to

    7   offense instructions.

    8              MR. JOFFE:        No objection, Your Honor.

    9              MR. SCHMITZ:          No objection, Your Honor.

   10              THE COURT:        B 9.1 A, on or about, knowingly,

   11   willfully, generally.

   12              MR. JOFFE:        No objection, Your Honor.

   13              MR. SCHMITZ:          No objection, Your Honor.

   14              THE COURT:        Conjunctive charge.

   15              MR. JOFFE:        Your Honor, I would object.                    It's

   16   not relevant.

   17              THE COURT:        The case was charged using the

   18   word and, so I believe it is relevant.                        And the

   19   government is entitled to the instruction.                           Controlled

   20   substances, possession with intent to distribute?

   21              MR. JOFFE:        No objection, Your Honor.

   22              MR. SCHMITZ:          No objection, Your Honor.

   23              THE COURT:        Possession, S 6.

   24              MR. JOFFE:        No objection.

   25              MR. SCHMITZ:          No objection, Judge.



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    1               THE COURT:       S 12 is character evidence.             We

    2   can't decide on that.          S 13.2 was, Mr. Joffe, were you

    3   requesting that?      The government actually --

    4               MR. JOFFE:       I think Mr. Barclift.

    5               THE COURT:       Mr. Barclift did put it in.

    6               MR. JOFFE:       Right.         I think Mr. Barclift

    7   believes this is highly relevant and should be

    8   included.     We should probably get Mr. Barclift down

    9   here immediately, but I would agree with this

   10   instruction, if there's a scintilla of evidence and I

   11   think there is based upon the evidence that's been

   12   presented so far.       And the government requested this.

   13               THE COURT:       Clearly it must be relevant.

   14               MR. SCHMITZ:         Your Honor, we're prepared to

   15   argue about this, but like I said, we need more

   16   evidence to come in tomorrow.                We obviously don't think

   17   it applies.     It requires both inducement and a lack of

   18   predisposition.     We don't think there's either here.

   19               THE COURT:       Do you have any cases that you

   20   want the Court to look at over the --

   21               MR. SCHMITZ:         Yes, Your Honor.

   22               THE COURT:       Do you want to just send those in

   23   the chambers inbox?

   24               MR. SCHMITZ:         Can I give you copies?

   25               THE COURT:       Sure.



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    1              MR. SCHMITZ:          Would you prefer the e-mail,

    2   Your Honor?

    3              THE COURT:        No, you can give me copies.                I

    4   didn't know what you had.

    5              MR. SCHMITZ:          And there's actually, I think,

    6   two distinct issues here, Your Honor, the cases relate

    7   to one issue and that is is it legally appropriate

    8   here, I think there's also a factual question here.

    9              THE COURT:        Okay.        And obviously I'll allow

   10   argument on that.       This will just give me an

   11   opportunity to look at what you have in that regard.

   12              MR. SCHMITZ:          And obviously these cases have

   13   argument to go with them.             They may or may not speak

   14   for themselves.

   15              THE COURT:        Okay.        I just like to have an

   16   opportunity to read it ahead of time.                       That way when

   17   you're arguing it, I -- and just finally there's B10.2

   18   caution, punishment of single defendant, multiple

   19   counts.

   20              MR. JOFFE:        Objection, Your Honor.

   21              MR. SCHMITZ:          May I approach, Your Honor?

   22              THE COURT:        Yes.       10.2 to the government,

   23   caution, single defendant, multiple counts.

   24              MR. SCHMITZ:          No objection, Your Honor.

   25              MR. JOFFE:        No objection, Your Honor.



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    1                THE COURT:      B 11, duty to deliberate.

    2                MR. JOFFE:      No objection from the defense.

    3                MR. SCHMITZ:        No objection from the

    4   government, Your Honor.

    5                THE COURT:      And B 12, verdict?

    6                MR. JOFFE:      No objection.

    7                MR. SCHMITZ:        No objection, Your Honor.

    8                THE COURT:      Okay.        So then what we need to

    9   finalize would be the verdict form and then whether the

   10   entrapment issue applies and then obviously there's the

   11   impeachment issues that may also come up and the

   12   defendant testifying or not testifying.

   13                Mr. Williams, I'm just going to talk to you a

   14   little bit about testifying.                It's certainly not

   15   something that you have to tell me at this point.                             It's

   16   something you can discuss with your attorney.                          You do

   17   have an absolute right to testify during the course of

   18   your case.    On the other hand, you have an absolute

   19   right not to testify.          The choice is yours.                  At no time

   20   can anyone force you to testify in your case.                          You

   21   should consult with your attorney and carefully

   22   consider his advice.         However, the decision is

   23   ultimately yours and it's an important decision.                             If

   24   you decide not to testify, then upon your request the

   25   jury will be instructed that a defendant has a right



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    1   not to testify and the fact that you chose not to

    2   testify cannot be used against you.                     And I read that to

    3   them in the preliminary instructions, I would again

    4   read that to them in the final instructions.                         So it's

    5   something to think about.             I will be asking you prior

    6   to -- once the government finishes their case I'll be

    7   asking you during the course of your part of the case

    8   if you wish to testify, so that's something you'll have

    9   to let me know at that time.                All right?

   10              THE DEFENDANT:            Yes.

   11              THE COURT:        Anything else we need to discuss

   12   at this time?

   13              MR. SCHMITZ:          No, Your Honor, nothing from

   14   the government.

   15              MR. JOFFE:        No, Your Honor.

   16              THE COURT:        All right.            Then we'll start at

   17   9:00 tomorrow morning.           You can be in place maybe by

   18   8:45 just in case there's anything to discuss before

   19   the jury comes in.        Otherwise we'll receive them at

   20   9:00.

   21              MR. SCHMITZ:          Your Honor, when do you want us

   22   here?

   23              THE COURT:        8:45, if you can be in place,

   24   just in case there's anything we need to discuss, and

   25   then we'll bring the jury in right after that, right at



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    1   9:00.

    2               Agent Strang, you are in possession of

    3   Exhibits 2, 4, and 6; right?

    4               AGENT STRANG:          I will be.

    5               THE COURT:       And, counsel, get with the clerk

    6   to make sure she has all the exhibits that were

    7   introduced, correctly introduced.

    8                       (Continued in Volume 2.)

    9               (Proceedings were concluded at 4:41 p.m. on

   10           April 6, 2016, to be resumed at 8:30 a.m. on

   11           April 7, 2016.)

   12   UNITED STATES DISTRICT COURT )
                                     )
   13   MIDDLE DISTRICT OF FLORIDA   )

   14                         C E R T I F I C A T E

   15       I, Lori L. Bundy, Official Court Reporter for the

   16   United States District Court, Middle District of Florida,

   17   do hereby certify that pursuant to Section 753, Title 28,

   18   United States Code that the foregoing is a true and

   19   correct transcript from the stenographic notes taken in

   20   the above-entitled matter by the undersigned and that the

   21   transcript page format is in conformance with the

   22   regulations of the Judicial Conference of the United

   23   States.

   24   ______/S/Lori L. Bundy______
        LORI L. BUNDY, RMR, CRR, FPR                      Date:        June 29, 2016
   25   Official Federal Court Reporter



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